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                                                                                                           2020 Oct-30 PM 09:59
                                                                                                           U.S. DISTRICT COURT
                                                                                                               N.D. OF ALABAMA




                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                                  SOUTHERN DIVISION

IN RE: BLUE CROSS BLUE SHIELD                              :
ANTITRUST LITIGATION                                       :      Master File No. 2:13-cv-20000-RDP
MDL 2406                                                   :
                                                           :
                                                           :
                                                           :      This document relates to
                                                           :      Subscriber Track cases


                          DECLARATION OF JENNIFER M. KEOUGH
                           REGARDING PROPOSED NOTICE PLAN


I, JENNIFER M. KEOUGH, declare as follows:

                                        I.       INTRODUCTION

        1.       I am Chief Executive Officer (“CEO”) of JND Legal Administration LLC (“JND”).

I have more than 20 years of legal experience creating and supervising notice and claims

administration programs and have personally overseen well over 1000 matters, and will oversee

this matter personally as well. As CEO, I am regularly called upon to submit declarations in

connection with JND’s notice and administration work. A comprehensive description of my

experience is attached as Exhibit A.

        2.       I submit this Declaration based on my personal knowledge, as well as upon

information provided to me by experienced JND employees and counsel for the Plaintiffs and

Settling Defendants 1, to describe the proposed Notice Plan and address why it is consistent with

other class notice plans that courts have determined satisfy the requirements of Rule 23 of the




1
  Unless otherwise noted, capitalized terms have the same meaning as in the Settlement Agreement, a copy of which
is attached to the Preliminary Approval Motion as Exhibit A.
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Federal Rules of Civil Procedure, the Due Process Clause of the United States Constitution, and

any other applicable statute, law or rule, as well as the Federal Judicial Center (“FJC”) guidelines

for best practicable due process notice.

       3.      I understand that Settlement Class Counsel and Self-Funded Sub-Class Settlement

Counsel have decided to recommend that this Court appoint JND as the Claims Administrator in

this case. JND engaged in an extensive, several months long, competitive bidding process to

secure this recommendation.

                     II.    EXPERIENCE RELEVANT TO THIS CASE

       4.      JND is a legal administration services provider with headquarters located in

Seattle, Washington. We employ over 175 people in multiple offices throughout the United

States. JND’s class action division provides all services necessary for the effective

implementation of class action settlements, including: (1) all facets of providing legal notice to

potential class members, such as outbound mailing, email notification, and the design and

implementation of media programs, including through digital and social media platforms;

(2) website design and deployment, including on-line claim filing capabilities; (3) call center

and other contact support; (4) secure class member data management; (5) paper and electronic

claims processing; (6) review of claims submission supporting documentation; (7) calculation

design and programming; (8) payment disbursements through check, wire, PayPal, merchandise

credits, and other means; (9) qualified settlement fund management and tax reporting;

(10) banking services and reporting; and (11) all other functions related to the secure and

accurate administration of class action settlements.

       5.      JND is an approved vendor for the United States Securities and Exchange

Commission (“SEC”) as well as for the Federal Trade Commission (“FTC”) and it has worked




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with a number of other government agencies including: the U.S. Equal Employment Opportunity

Commission (“EEOC”), the Office of the Comptroller of the Currency (“OCC”), the Consumer

Financial Protection Bureau (“CFPB”), the Federal Deposit Insurance Corporation (“FDIC”), the

Federal Communications Commission (“FCC”), the Department of Justice (“DOJ”) and the

Department of Labor (“DOL”). We also have Master Services Agreements with various

corporations, banks, and other government agencies, which were only awarded after JND

underwent rigorous reviews of our systems, privacy policies, and procedures. JND has also been

certified as SOC 2 compliant 2 by noted accounting firm Moss Adams. Finally, JND has been

recognized by various publications, including, among others, the National Law Journal, the Legal

Times and the New York Law Journal, for excellence in class action administration.

           6.      The principals of JND, including me, collectively have over 75 years of experience

in class action legal and administrative fields. We have overseen claims processes for some of the

largest legal claims administration matters in the country’s history and regularly prepare and

implement court approved notice and administration campaigns throughout the United States. For

example, my team and I handled all aspects of mailed notice, website activities, call center

operations, claim intake, scanning and data entry, and check distribution for the $20 billion Gulf

Coast Claims Facility. In the $10+ billion BP Deepwater Horizon Settlement, I worked directly

for Patrick Juneau, the Court-appointed claims administrator, in overseeing all inbound and

outbound mail activities, all call center operations, all claim intake, scanning and data entry and

all check distributions for the program. I oversaw the entire administration process in the

$3.4 billion Cobell Indian Trust Settlement (the largest U.S. government class action settlement

ever). Recently, JND has been handling the settlement administration of the $1.3 billion Equifax



2
    As a SOC 2 Compliant organization, JND has passed an audit under AICPA criteria for providing data security.


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Data Breach Settlement, the largest class action ever in terms of the number of claims received, a

voluntary remediation program in Canada on behalf of over 30 million people, the $1.5 billion

Mercedes-Benz Emissions Settlement, the $120 million GM Ignition class action economic

settlement, where we sent notice to nearly 30 million class members, and the $215 million USC

Student Health Center Settlement on behalf of women who were sexually abused by a doctor at

USC, as well as hundreds of other matters. The notice campaigns JND designs are regularly

approved by courts throughout the United States.

       7.      JND’s Legal Notice Team, which operates under my direct supervision, researches,

designs, develops, and implements a wide array of legal notice programs to meet the requirements

of Rule 23 of the Federal Rules of Civil Procedure and relevant state court rules. In addition to

providing notice directly to potential class members through direct mail and email, our media

campaigns have used a variety of media to effectively reach potential class members, including

newspapers, press releases, magazines, trade journals, radio, television, social media and the

internet depending on the circumstances and allegations of the case, the demographics of the class,

and the habits of its members, as reported by various research and analytics tools. During my

career, I have submitted several hundred affidavits to courts throughout the country attesting to

our role in the creation and launch of various media programs.

                                III.    CASE BACKGROUND

       8.      I have been asked by Settlement Class Counsel and Self-Funded Sub-Class Counsel

to prepare a Notice Plan to reach Class Members and inform them about their rights and options

in the proposed Settlement.




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       9.      The Settlement Agreement provides for two proposed Settlement Classes, a

Damages Class (which includes a Self-Funded Sub-Class) and an Injunctive Relief Class (referred

to collectively as the “Class Members”).

       10.     The proposed Damages Class, which I am advised is currently estimated to number

in the tens of millions of members, is comprised of all Individual Members (excluding dependents

and beneficiaries), Insured Groups (including employees, but excluding non-employee Members),

and Self-Funded Accounts (including employees, but excluding non-employee Members) that

purchased or were enrolled in a Blue-Branded Commercial Health Benefit Product (unless the

person’s or entity’s only Blue-Branded Commercial Health Benefit Product during the Settlement

Class Period was a stand-alone vision or dental product) sold, underwritten, insured, administered,

or issued by any Settling Individual Blue Plan from February 7, 2008, through October 16, 2020

(in the case of all Damages Class Members other than the Self-Funded Sub-Class, for whom the

Class Period is September 1, 2015 through October 16, 2020) (“Settlement Class Period”).

       11.     Excluded from the Damages Class are:

               •   Government Accounts and individuals covered under them;

               •   Medicare Accounts of any kind;

               •   Settling Defendants themselves, and any parent or subsidiary of any Settling

                   Defendant (and their covered or enrolled employees);

               •   Opt Outs; and

               •   the Judge presiding over this matter, and any members of his judicial staff, to

                   the extent such staff were covered by a Commercial Health Benefit Product not

                   purchased by a Government Account during the Settlement Class Period.




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       12.     The Self-Funded Sub-Class consists of Self-Funded Accounts and their employees.

It encompasses any account, employer, health benefit plan, ERISA plan, non-ERISA plan, or

group, including all sponsors, administrators, fiduciaries, and Members thereof, that purchased,

was covered by, participated in, or was enrolled in a Self-Funded Health Benefit Plan from

September 1, 2015 through October 16, 2020 (“Sub-Class Settlement Class Period”). A Self-

Funded Health Benefit Plan is any Commercial Health Benefit Product other than Commercial

Health Insurance, including administrative services only (“ASO”) contracts or accounts,

administrative services contracts or accounts (“ASC”), and jointly administered administrative

services contracts or accounts (“JAA”).

       13.     For associational entities (e.g., trade associations, unions, etc.), this includes any

entity which is covered by, enrolled in, or included in the associational entity's Blue-Branded

Commercial Health Benefit Product. A Self-Funded Account that purchases a Blue-Branded Self-

Funded Health Benefit Plan and Blue-Branded stop-loss coverage remains a Self-Funded Account.

For clarity, a Self-Funded Account also excludes all Government Accounts.

       14.     The Injunctive Relief Class is comprised of all Individual Members, Insured

Groups, Self-Funded Accounts, and Members that purchased or were enrolled in a Blue-Branded

Commercial Health Benefit Product sold, underwritten, insured, administered, or issued by any

Settling Individual Blue Plan during the applicable Settlement Class Period.

                             IV.     NOTICE PLAN SUMMARY

       15.     The proposed Notice Plan, attached as Exhibit B, has been designed to provide the

best notice practicable, consistent with the methods and tools employed in other court-approved




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notice programs. The FJC’s Judges’ Class Action Notice and Claims Process Checklist and Plain

Language Guide considers a notice plan with a 70%-95% reach effective. 3

        Direct Notice

        16.      JND will send direct notice to all Damages Class Members for whom the Settling

Defendants provide contact information. Direct notice will be provided through email and postcard

mailings, depending on the Class Member Data produced by the Settling Defendants.

        Media Campaign

        17.      In addition to direct notice, the Notice Plan provides for an extensive media campaign

to reach all Class Members, including digital advertising, print publications, television, radio, industry

media, third-party outreach, an internet search campaign, and a multichannel news release.

        18.      More specifically, the proposed media campaign includes: (a) a combination of

digital ads placed on the leading digital network (Google Display Network) and the top social media

platform (Facebook); (b) full-page color notice in two popular magazines (People and Better Homes

& Gardens) with a large subscription and circulation base; (c) 30-second radio spots to be broadcast

through a leading satellite radio provider, two radio networks, top syndicated programming in the

top ten African American markets, and two leading Spanish radio providers in the top ten Hispanic

markets; and (d) 30-second television spots broadcast on a variety of popular cable and syndicated

networks, and on network morning news programming.

        Supplemental Entity Effort

        19.      In addition, JND will implement a supplemental industry media campaign to extend

notice specifically targeted to entity Class Members. The effort includes targeting key employees



3
 Reach is the percentage of a specific population group exposed to a media vehicle or a combination of media vehicles
containing a notice at least once over the course of a campaign. Reach factors out duplication, representing total
different net persons.


                                                         7
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and owners of these entities, by placing notice on the leading professional social media platform

(LinkedIn); arranging for notice placements on top business websites and the leading human

resources industry websites; and sending e-newsletters targeting business owners and the human

resources industry. A direct notice effort will also be sent to a purchased list of HR/employee

benefit and health/accident insurance broker job titles.

       Additional Efforts

       20.     Extended efforts will include a third-party outreach effort, a specially designed

internet search campaign, a multichannel news release that will work in tandem with the media

campaign to increase awareness of the Settlement, as well as a link to the Settlement website that

will be placed on BCBSA.com by Settling Defendants.

       Claims Stimulation Effort

       21.     Additionally, JND has designed a claims stimulation effort that will utilize a

targeted digital effort and a multichannel news release to remind potential Damages Class

Members of the approaching claims deadline. JND staff will monitor the deliverable success

rate of the Notice Plan and bolster the claims stimulation effort, if necessary.

       Settlement Website

       22.     JND will establish and maintain a dedicated Settlement website where

information about the Settlement, as well as copies of relevant case documentation, including

but not limited to the Settlement Agreement, a report of Monitoring Committee Activities, the

Plan of Distribution, the Long Form Notice (attached as Exhibit C), and the Claim Form

(attached as Exhibit D), will be accessible to Class Members. Damages Class Members will

also be encouraged to file claims online through a secure portal on the website.




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        Dedicated Toll-Free Number and Contact Center

        23.     JND will also establish and maintain a toll-free telephone number with an

Interactive Voice Recording system (“IVR”), in addition to available Customer Service

Representatives, that Class Members may call to obtain more information about the Settlement

and request copies of the notice and claim form.

        QR Code

        24.     JND will create a QR Code (a matrix barcode) that will allow quick and direct

access to the Settlement website through a mobile device.

        25.     Based on my experience in developing and implementing class notice programs, I

believe the proposed Notice Plan will meet, and in fact exceed, the standards for providing the best

practicable notice in class action settlements.

                                V.      NOTICE PLAN ELEMENTS

        Subsections A thru I below explain in greater detail all Notice Plan efforts.

        A.      DIRECT INDIVIDUAL NOTICE

        26.     For this Settlement, at my direction, JND staff will effectuate direct individual

notice to all members of the Damages Class for whom Settling Defendants provide contact

information. The direct notice will include a personal identifier number (“Unique ID”) 4 assigned

to each potential claimant.

        27.     Settling Defendants have represented that they have email addresses for a certain

percentage of the Damages Class and that where they have such email addresses, it is because those

email addresses have been provided to the Settling Defendants in the ordinary course of business




4
 The Unique ID is linked to all relevant data pertaining to claimants and is used for tracking and processing
each claim.


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with Damages Class Members. As such, our plan is to provide all those Damages Class Members

with notice via email in the first instance.

        28.     Courts, including this one, have approved notice programs in which email is a

primary method of delivering notice to class members.

        29.     For those Damages Class Members where an email address is unavailable or

where the email bounces back and cannot be ultimately delivered, JND proposes sending a color

Postcard Notice. Postcard notices are widely used for delivering direct notice to avoid the

expense of sending a full notice and claim form to the entire class.

        30.     Here, based on the size of the Class, the postage savings alone in using the

Postcard Notice will be in the tens of millions of dollars. The Postcard Notice will direct

Damages Class Members to the website, which provides all the information a potential claimant

needs and is the easiest and most efficient way to file a claim.

        31.     Both the Email Notice, attached as Exhibit E, and the Postcard Notice, attached as

Exhibit F, identify and direct Damages Class Members to an interactive Settlement website where

they can review the Settlement Agreement, and other key documents in the case, and initiate the

claims process (a hard copy claim form may also be requested).

        32.     Both the Email Notice and the Postcard Notice include a Spanish-language tag

that will direct Spanish-speaking Damages Class Members to the Settlement website which will

be available in Spanish.

        33.     Importantly, whether a Damages Class Member is sent direct notice by email or

postcard, the notice will satisfy the Federal Rules of Civil Procedure and due process.




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       Email Notice

       34.     JND uses industry-leading email solutions to achieve the most efficient email

notification campaigns. Our Data Team is staffed with email experts and software solution teams

to conform the email notice program to the particulars of the Settlement.             JND provides

individualized support during the program and manages our sender reputation with the Internet

Service Providers (“ISPs”). For each of our programs, we analyze the program’s data and monitor

the ongoing effectiveness of the notification campaign, adjusting the campaign as needed. These

actions ensure the highest possible deliverability of the email campaign so that more potential

Damages Class Members receive notice of the proposed Settlement.

       35.     JND has worked with Settlement Class Counsel and Self-Funded Sub-Class

Settlement Counsel to craft the Email Notice here to avoid spam language to improve

deliverability. This process includes running the email through spam testing software, DKIM for

sender identification and authorization, and hostname evaluation. Additionally, we will check the

send domain against the 25 most common IPv4 blacklists.

       36.     As is JND’s standard email notification process, JND will utilize a verification

program to eliminate invalid email and spam traps that would otherwise negatively impact

deliverability. We will then clean the list of email addresses for formatting and incomplete

addresses to further identify all invalid email addresses. The email content will be formatted and

structured in a way that receiving servers expect, allowing the email to pass easily to the recipient.

       37.     Rather than using attachments, which can send an email right to spam, the Email

Notice here provides a call-to-action button (i.e., “File a Claim”), as well as direct links to the

Settlement website for more detailed information. In addition, the use of all capitalization,

exclamation points, colored font, case-caption boxes, excessive legalese, and common trigger




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words were avoided to reduce spam. The email subject line identifies the Defendant, with whom

the email recipient is very familiar, and the nature of the content. It provides a simple and short

identifier. The Damages Class Member’s name is included as the email opener to authenticate and

personalize the email.

       38.     To ensure readability of the Email Notice, our team will review and format the body

content into a structure that is applicable to all email platforms. Before commencing the email

notice campaign, we will send a test email to multiple ISPs and open the email on multiple devices

(iPhones, Android phones, desktop computers, tablets, etc.) to ensure the email opens as expected.

Additionally, JND will include an “unsubscribe” link at the bottom of the Email Notice to allow

Damages Class Members to opt out of any additional email notices from JND. This step is

essential to maintain JND’s good reputation among the ISPs and reduce complaints relating to the

email campaign. JND will also work with Counsel to identify email phishing campaigns and

fraudulent websites and will notify Counsel of fraud schemes as soon as discovered.

       39.     Emails that are returned to JND are generally characterized as either “Soft

Bounces” or “Hard Bounces.” Hard Bounces are when the ISP rejects the email due to a permanent

reason such as the email account in no longer active. Soft Bounces are when the email is rejected

for temporary reasons, such as the recipient’s email address inbox is full.

       40.     When an email is returned due to a soft bounce, JND attempts to re-email the email

notice up to three additional times in an attempt to secure deliverability. The email is considered

undeliverable if it is a Hard Bounce or a Soft Bounce that is returned after a third resend. For those

email notices that are deemed ultimately undeliverable, we will follow up with a postcard mailing,

as discussed below, to the extent that an address is contained in the Class Member Data.




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        Postcard Notice

        41.      JND will send the color Postcard Notice to those Damages Class Members for

whom the Class Member Data does not contain an email address or for whom the email notice was

deemed ultimately undeliverable. In my experience, use of color will help differentiate the

postcard from junk mail. Moreover, JND will use the Settling Defendants’ logos on the Postcard

Notice to add another indicia of reliability to the Postcard Notice. Prior to sending the Postcard

Notice, JND staff will run the mailing addresses through the United States Postal Service (“USPS”)

National Change of Address (“NCOA”) database. 5 At my direction, JND staff will track all

Postcard Notices returned undeliverable by the USPS and will promptly re-mail Postcard Notices

that are returned with a forwarding address. Also, with my oversight, JND staff will take

reasonable efforts to research and determine if it is possible to reach a Damages Class Member for

whom the Postcard Notice is returned without a forwarding address by mailing to a more recent

mailing address at which the potential Damages Class Member may be reached.

        B.       MEDIA CAMPAIGN 6

        42.      The direct notice will be supplemented by a robust media campaign, which alone

is expected to reach more than 85% of potential members of the Settlement Classes.

        43.      The media campaign is comprised of the following: (a) Digital Effort (Google,

Facebook); (b) Print Effort (People, Better Homes & Gardens); (c) Radio Effort (Sirius XM,

iHeart Radio, Pandora/Spotify audio streaming as well as leading syndicated programs in the top



5
  The NCOA database is the official USPS technology product which makes change of address information available
to mailers to help reduce undeliverable mail pieces before mail enters the mail stream. This product is an effective
tool to update address changes when a person has completed a change of address form with the USPS. The address
information is maintained on the database for 48 months.
6
  If for any reason an aspect of the Media Campaign is unadviseable or unavailable (due to COVID-19 circumstances
or otherwise), JND will use its own experience and discretion to determine if a comparable substitute is available
and necessary. Any decision that materially affects the conclusions and opinions herein shall be reported to the
Court by JND.


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ten African American markets and Spanish radio in the top ten Hispanic markets); and

(d) Television Effort (cable, syndicated, and network morning news).

       44.     JND utilizes the most reputable advertising media research tools to ensure that the

best media is selected and that our reach calculations can withstand the most critical review and

challenge. To create the Notice Plan, we utilized the following well-established and industry-

leading media research tools: (a) MRI / Simmons; (b) ComScore, Inc.; (c) Google Active View;

(d) Trust Metrics and (e) Nielsen. These tools are described below and form the basis of JND’s

reach calculations for the Notice Plan.

       45.     MRI / Simmons is the leading producer of media and consumer research in the

United States and is a nationally accredited research firm that provides consumer demographics,

product and brand usage and audience and exposure in all forms of advertising media. JND uses

MRI / Simmons to analyze the demographics and media usage of potential Class Members, as well

as to determine the reach of the proposed Print Effort.

       46.     JND uses ComScore Inc. data to analyze where potential Class Members are on the

internet, and for calculating the reach of the proposed Digital Effort. ComScore Inc.’s multi-reach

platform allows JND to analyze unduplicated audiences across desktop, smartphone and tablet

devices and to assess the effectiveness and efficiency of our media plans by reducing waste and

improving campaign performance across all devices.

       47.     Google Active View is accredited by the Media Rating Council and is used by JND

to measure viewable impressions across the web and in apps. At the time of implementation of

our Digital Effort, JND’s digital media placement experts, under my supervision and direction,

will take the steps necessary to ensure that all notice placements appear exactly as intended,




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meeting JND’s high standards of quality and positioning to achieve the highest number of possible

views and impressions.

       48.     Importantly, Google Active View supports the Interactive Advertising Bureau and

Media Rating Council’s definition of viewability, demanding that a minimum of 50% of the digital

ad is in view for a minimum of one second for display ads. By using Google Active View, JND

will be able to accurately monitor and enhance the Digital Effort, ensuring the broadest possible

reach for the Digital Effort.

       49.     Complementing Google Active View, JND uses Trust Metrics during the Digital

Effort implementation process to ensure that the banner impressions are not served to poor quality

sites and are only displayed on brand safe websites, further ensuring the greatest degree of visibility

and dissemination to the Class Members. Sites that are deemed “unsafe” are blocked during

implementation, using brand safety parameters such as site content and keywords.

       50.     Nielsen currently manages more television audience measurement panel

households than any other international television audience ratings provider. Nielsen, which has

been measuring radio tune-in since 1936 is the definitive source for comprehensive audio metrics

and insights. JND uses Nielsen to measure the reach of our tv and radio ads for the Television

Effort and the Radio Effort.

       Target Analysis

       51.     JND analyzed the demographics and media usage of potential Class Members to

determine how best to reach them. MRI data was studied among adults 18 years of age or older

(“Adults 18+”) who have Blue Cross Blue Shield medical insurance (“BCBS Insurance Members”).

       52.     MRI data indicates that most BCBS Insurance Members are: 25 years of age or older

(90%―however, given the class period, an even greater percentage are older today); white (83%);




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homeowners (75%); from higher income households (73% have a household income of $60,000+);

educated (69% attended college or beyond); working full time (61%); and married (61%).

        53.      JND considered these key demographics when selecting media. For instance, Better

Homes & Gardens extends reach to homeowners, Sirius XM radio extends reach among the higher

income and educated demographic segments, and network morning news extends reach among

older age groups. Other media were selected for their broad-based reach offering (People, Google),

while some for their niche focus (e.g., Spanish radio, entity digital).

        54.      MRI data also indicated that BCBS Insurance Members are active internet users,

with 92% using the internet and 69% visiting Facebook in a 30-day period. In terms of devices,

85% use their cellphone or smartphone to access the internet.

        55.      Considering this data and the large diverse Class, the Notice Plan was designed to

reach Class Members through multiple channels and sources.

        Digital Effort

        56.      The Digital Effort consists of digital ads, samples of which are attached as

Exhibit G, which will be placed on the Google Display Network (“GDN”), the leading digital

network, and Facebook, the top social media platform. The Digital Effort will target Adults 18+

with approximately 10% allocated to Spanish sites (GDN) and Spanish language accounts

(Facebook), as represented by MRI data. Digital ads will be served across all types of devices –

desktops, laptops, tablets and mobile, with an emphasis on mobile devices. The Digital Effort will

generate over 428 million impressions. 7




7
 Impressions or Exposures are the total number of opportunities to be exposed to a media vehicle or combination of
media vehicles containing a notice. Impressions are a gross or cumulative number that may include the same person
more than once. As a result, impressions can and often do exceed the population size.


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       Print Effort

       57.     The Print Effort consists of full-page color notice placements, an example of which

is attached as Exhibit H, in People and Better Homes & Gardens magazines. Both People and

Better Homes & Gardens are highly read consumer magazines.

       58.     People is a weekly entertainment magazine with a circulation in excess of

3.4 million and a readership of over 34.9 million. People reaches 14% of Adults 18+ and extends

notice to a broad demographic segment, including those Class Members who may not frequent the

internet, particularly older Class Members.

       59.     Better Homes & Gardens is a monthly lifestyle magazine with a circulation of over

7.6 million and a readership exceeding 29.8 million. It reaches 13% of Adults 18+ and extends

reach to older women who may not frequent the internet.

       Radio Effort

       60.     To extend notice further, the Notice Plan includes a Radio Effort which consists of

30-second radio advertisements simply announcing the size of the Settlement and providing the

website address and toll-free number.

       61.     JND will cause approximately 9,700 30-second radio spots to be broadcast

through Sirius XM, satellite radio; premier broadcast networks (iHeart Radio – the Scope and

Spectrum networks); as well as top syndicated programs among African Americans (e.g., Rickey

Smiley, Steve Harvey) and two dominant Hispanic radio providers (“SBS” and Univision Radio)

at a level proportionate to their demographic representation of likely Class Members based on

MRI data. A variety of formats (e.g., country, adult contemporary, pop contemporary hit radio,

class hits, urban contemporary) and programming are recommended to extend reach to diverse

demographic segments.




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       62.     Sirius XM is one of the largest subscription service radio providers, offering

exposure to over 32.7 million subscribers and reaching over 65.4 million radio listeners.

       63.     iHeart Radio’s the Scope has more than 575 station affiliates, comprised of a

weekly listenership of 28 million. The Spectrum has approximately 800 station affiliates and

weekly listenership of 30 million.

       Television Effort

       64.     The final element of the media campaign consists of the Television Effort, where

JND will effectuate over 950 30-second television spots to broadcast across a variety of cable and

syndicated networks, and network news programming. Just like the radio ads, the short television

ads will tell Class Members how to get more information about the Settlement.

       65.     Cable networks will include well known and highly viewed networks such as

A&E, AMC, BET, CMT, CNN, Fox Sports, Golf Channel, HGTV, Hallmark, History, Lifetime,

MSNBC, National Geographic, OWN, TV Land, and the Weather Channel. Syndicated

programming may include shows such as Family Feud, Wheel of Fortune, Tamron Hall,

Entertainment Tonight. Network news may include Good Morning America, Today Show and

CBS Morning News, among others.

       C.      SUPPLEMENTAL ENTITY EFFORT

       66.     To further extend efforts to entities/companies/businesses, JND will employ a

digital effort targeting individuals who will be responsible for filing claims on behalf of entity

Damages Class Members. These include senior level Human Resources employees who are

engaged in handling and managing employee benefits and health plan issues for Class Member

entities, as well as business owners and partners of Class Member entities.




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       67.     The entity digital effort will consist of 915,000 digital impressions on LinkedIn, the

leading professional social media platform, and 1,000,000 digital impressions, to be placed on

leading business websites, such as Yahoo Business; CNBC.com; FastCompany.com; Forbes.com;

Bloomberg.com; Entrepeneur.com, WSJ.com, BusinessInsider.com and AllBusiness.com. The

digital impressions on these sites will be very similar to the overall digital ads, albeit with images

that evoke a business setting. The key to these ads is their strategic placements.

       68.     JND will also cause 100,000 digital impressions to be placed on the Society for

Human Resource Management website (shrm.org); and approximately 100,000 digital impressions

on Human Resource Executive’s (hrexecutive.com) home page and 50,000 digital impressions on

its benefit category page. The Society for Human Resource Management (SHRM) is the largest

human resources organization with more than 275,000 members worldwide. It is dedicated to Human

Resources management and the needs of Human Resources professionals. Human Resource

Executive is a source for vice presidents and directors of human resources. We will also place ads

in the National Association of African Americans in Human Resource (NAAAHR), which provides

networking, career opportunities, and resources to over 15,000 HR members and affiliates.

       69.     In addition, JND will cause notices to be placed four times each in leading business

and healthcare and employee benefits e-newsletters including: Franchise Times; Entrepreneur;

Harvard Business Review Management Tip of the Day; SHRM; HREBenefits; Employee Benefit

News Healthcare; Benefits Pro Daily and the Healthcare Dive Top Player.

       70.     Samples of the Class Member entity digital ads are attached as Exhibit I.

       D.      ADDITIONAL EFFORTS

       71.     JND will undertake additional efforts to further disseminate notice to Class

Members, which will include a third-party outreach effort, a specially designed internet search




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campaign, and a multichannel news release that will work in tandem with the media campaign to

increase awareness of the Settlement. In addition, a link to the Settlement website will be placed

on BCBSA.com by Settling Defendants.

       72.     JND will purchase lists of HR/employment benefit employees and health and

accident insurance brokers through third-party outreach list providers. JND will utilize the

information on these lists to send notice, via mail and email, as applicable, to over 150,000

contacts, requesting their assistance in providing notice to Class Members.

       73.     JND will also implement a digital search effort on the following search engines:

Google, Yahoo, and Bing. Web browsers frequently default to a search engine page, making search

engines a common source to get to a specific website (i.e., as opposed to typing the desired URL

in the navigation bar). When purchased keywords related to the Settlement are searched, a paid ad

with a hyperlink to the Settlement website may appear on the search engine results page. Samples

of the internet search ads are attached as Exhibit J.

       74.     A multichannel news release will assist in getting “word of mouth” out about the

Settlement. At the launch of the notice campaign, a multichannel news release will be distributed

into newsrooms, online syndication, and PR Newswire for Journalists, an exclusive members-only

community of more than 41,000 influential journalists and bloggers.             This will encourage

journalists to visit a microsite and review a press release, the television spot, and other information

about the Settlement. A copy of the multichannel news release microsite is attached as Exhibit K.

       E.      CLAIMS STIMULATION EFFORT

       75.     Prior to the claim filing deadline, JND’s team will initiate a wide-ranging media

effort to encourage Damages Class Members to submit claims and to remind them of the

impending deadline.




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       76.       The claims stimulation effort will include a digital campaign consisting of (1) an

audience custom list, (2) retargeting and (3) look-alike targeting. Digital banner ads will also be

served to potential Damages Class Members who visited the Settlement website but did not

complete     a    claim    submission     (retargeting),   as    well   as    to   individuals    who

demographically/geographically match with those Damages Class Members who have already

filed online claims (look-alike targeting). JND will monitor the Settlement website traffic and

utilize that information when designing the claims stimulation effort.

       77.       In addition to these efforts, the multichannel news release will be updated to include

a claim deadline reminder message.

       78.       Based on the success of the initial media campaign, television and radio spots may

be added and broadcast to key markets with high claims filing results. Additional print insertions

may also be published.

       79.       The claims stimulation message will deliver a simple reminder of the approaching

claims deadline. Attached as Exhibit L are sample reminder digital ads.

       F. SETTLEMENT WEBSITE

       80.       An informational, interactive Settlement website, www.BCBSsettlement.com,

will be developed at my direction by JND staff so potential Class Members can obtain

information about their rights and options under the Settlement and submit claims. The website

will have an easy-to-navigate design and will be formatted to emphasize important information

and deadlines. The Settlement website will contain, among other things, information about the

Settlement, a Frequently Asked Questions section, a list of Important Dates and Important

Documents, the ability to download a Long Form Notice and Claim Form, the ability to submit

claims electronically through a secure claims filing portal, a report of Monitoring Committee




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Activities, and information about how Class Members can access the toll-free telephone number.

The Settlement website will also be available in Spanish.

       81.        The Settlement website will be mobile-enabled and ADA compliant, and will

undergo significant penetration testing to make sure that the site cannot be breached as well as

load testing to make sure that the site will be able to accommodate the expected traffic from a class

this large. It will also be designed to maximize search engine optimization through Google and

other search engines. Keywords and natural language search terms will be included in the site’s

metadata to maximize search engine rankings.

       G.         DEDICATED TOLL-FREE NUMBER AND CONTACT CENTER

       82.        JND will establish and maintain a dedicated toll-free telephone number with an

automated IVR, available 24 hours a day, seven days a week, that will provide Settlement-related

information to Class Members, and the ability to request and receive the notices and the Settlement

claim form by mail.

       83.        Class Members will also have the option to speak with Customer Service

Representatives five days a week during business hours, who will provide Settlement-related

information and can fulfill requests for notice. JND has multiple call center sites, all in the United

States, and can ensure enough staffing and redundancy to handle any volume of calls we receive

on this matter.

       H.         DEDICATED POST OFFICE BOXES

       84.        JND will establish two separate United States Post Office Boxes: one dedicated for

Class Members to submit letters, inquiries, and claim forms; and one dedicated strictly to receive

Objections and Opt-Out requests.




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       I.      QR CODE

       85.     JND will create a QR Code (a matrix barcode) that will allow quick and direct

access to the Settlement website through mobile devices. The QR Code is included, where

practicable, in printed notice documents.

                                           VI.   REACH

       86.     The proposed media campaign alone is designed to reach 85% of potential Class

Members. The direct notice effort, the supplemental industry media, the industry mailing effort,

the internet search campaign, the distribution of the national press release, and claims stimulation

efforts will extend reach further. The proposed notice effort is similar to and, indeed, more robust

than that of other court approved programs and meets the high reach standard set forth by the FJC.

                                    VII.     NOTICE DATES

       87.     JND cannot send direct notice until we receive contact information data from all

Settling Defendants. As a result, the Notice Plan will commence once JND receives adequate Class

Member data from the Settling Defendants (Day 1). The notice efforts will complete on Day 90.

The exclusion/objection deadline will be 60 days from the Notice Plan end date (Day 150). The

final fairness hearing could be on Day 230.

       88.     Claims stimulation efforts will run up until two weeks prior to the claims

filing deadline (Day 235). The Claim filing deadline will be on Day 250.

                          VIII. NOTICE DESIGN AND CONTENT

       89.     All notice documents were written to comply with the requirements of Fed. R. Civ.

P. 23, the Due Process Clause of the United States Constitution, and any other applicable statute,

law or rule. I have reviewed and provided input to Settlement Class Counsel and Self-Funded Sub-

Class Settlement Counsel on the form and content for each of the notice documents, specifically the




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Postcard Notice, the Email Notice, the Long Form Notice, the internet banner ads, the Publication

Notice for People and Better Homes & Gardens magazine, subject to any necessary formatting

changes needed for publication, the text of the radio and television ads, the content of the e-newsletter

notices, and the press release. Based on my experience designing court approved class notice

programs, in my opinion, each of these notice documents complies with the Fed. R. Civ. P. 23, the

Due Process Clause of the United States Constitution, and any other applicable statute, law, or rule,

as well as the FJC’s Class Action Notice and Plain Language Guide.

        90.     Each of these notice documents contain summaries of the Settlement and the

options that are available to Class Members. Additionally, the notice documents provide

instructions on how to obtain more information about the Settlement.

        91.     The Long Form Notice will be posted on the Settlement website and will be

available by mail if requested. It provides details regarding, among other things, the nature of the

action; who is in the Settlement Classes; general descriptions of the claims asserted and references

the defenses of Settling Defendants; the monetary and injunctive relief afforded by the Settlement

Agreement; the right of Class Members to obtain counsel, object to the Settlement, or exclude

themselves from the Settlement; and the binding effect of the Settlement on Class Members. The

Long Form Notice also provides, inter alia, details on when claims and objections are due, how

and when to opt-out, how and where to seek additional information, and how to submit a claim.

        92.     The Long Form Notice was used as the basis to create the summary forms of notice:

Email Notice, Postcard Notice, and Publication Notice. These short-form notices provide, among

other things, a summary of what the lawsuit is about, who is affected, what a Class Member may

receive from the Settlement, the deadline by which a claim should be submitted, other options

(opting out and objecting), and how and where to obtain more information.




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       93.     To the extent that some Class Members may speak Spanish as their primary

language, the print notice documents include a subheading in Spanish at the top directing Spanish

speaking Class Members to visit the Settlement website which will be available in Spanish.

                         IX.     CLAIM FORM AND PROCESSING

       94.     The Claim Form explains the claims process, is designed to ensure that filing a

claim is as simple as possible and will be sent to any individual who requests a written form.

However, the direct notice portion of the Notice Plan is designed to drive claimants to the

Settlement website where they can utilize an interactive process for claims submission. Online

claim forms not only save substantial money in postage but are generally favored by claimants

since the wizard feature of the process will walk them through the form step by step and will be

very user-friendly. The online claim form process will prevent claimants from submitting an

electronic claim without clicking necessary verifications such as signature. Electronic claims also

eliminate the step of manual data entry and generally make processing easier and less expensive.

       95.     The interactive Claim Form will be accessed through a secure portal and will

request the same information from claimants that is set forth in the printed Claim Form. The

interactive Claim Form will also be designed to ensure that required information is provided before

a claimant can move onto the next step of the Claim Form.

       96.     Broadly stated, to complete the Claim Form, the claimant (whether an employer,

self-insured, or an employee) will provide its name and contact information as well as identify, to

the extent possible, the claimant’s Blue health plan(s), group number(s), subscriber ID(s) (for

individuals), and coverage dates. The claimant has the option of selecting the default allocation

or seeking additional funds based on actual contribution by the claimant; where a selection is not

made, the default allocation will be utilized. Some additional information is required if the




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claimant seeks funds beyond the default allocation. The claimant also has the option of electing a

form of payment: check, prepaid card, Venmo, or PayPal. A signature is required.

        97.     All claimants may submit Claim Forms electronically through the Settlement website

or physically by mail to the established Settlement P.O. Box. In the event that a claimant submits a

Claim Form and also submits a letter opting out of the Settlement, JND will send a letter to the

claimant clarifying his/her/its intent. In the event that a claimant fails to respond to the letter within

thirty (30) days, the last submission JND received will control so long as the submissions were

received on or before the exclusion deadline. The Claim Forms must be submitted or postmarked

by a date to be established by the Court within 250 days of the commencement of the Notice Period.

JND will review, determine the validity of, and process all Claim Forms submitted by claimants.

JND will identify and flag any claims that are incomplete and will seek additional information from

the claimant as necessary. Examples of deficiencies that would require a deficiency letter include:

(i) a claimant who contests the default allocation but does not provide sufficient documentation to

substantiate their claimed percentage; (ii) a claimant who submits a mailed copy of the Claim Form

and fails to sign the Claim Form; (iii) a claimant who fails to state how he/she/it wishes to receive

payment; and (iv) other defects that make it impossible for the Claims Administrator to fully process

and/or pay the claim. If a claimant had multiple health insurance or administrative services plans at

any point during the Settlement Class Period, JND will combine the premium data and/or

administrative costs from the multiple plans into a single claim for that claimant.

        98.     Where a claimant selects the Alternative Option for determination of their

percentage of contribution to the overall premium or administrative fees paid, that claimant must

supply documentation in support of the requested percentage. Where the claimant supplies

documentation in support of that position, the JND team will review the documentation to




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determine if it is sufficient to support a greater contribution percentage. If the documentation is

sufficient, the JND team will contact any counterpart who has already filed a claim to be given the

opportunity to submit their own additional evidence should they so desire. Pursuant to the Plan of

Distribution, JND will provide the claimant information for the specific claimants whose

contribution percentage may be impacted by the claim invoking the alternative option to the

Settlement Administrator.     JND will work with the Settlement Administrator to the extent

necessary and will report the Settlement Administrator’s conclusions to the claimants as

applicable. JND’s team will also work with the claimants to answer any questions they may have

about the Alternative Option process.

       99.     Once a claim has been fully processed and all deficiencies are resolved, JND will

create a secure portal where claimants can view their information. A claimant may then, within

thirty (30) days, challenge our premium and/or administrative fees calculation. If a claimant wishes

to challenge a claim determination, the claimant must submit an explanation for why the premium

and/or administrative figures we provided are in error and provide documentation sufficient to

support their claim to a higher premium and/or administrative fees total during the Class Period.

       100.    In the event that the claimant does not challenge the claim determination within

thirty (30) days, the decision will be Final and will form the basis for the ultimate payment to the

claimant from the Net Settlement Fund. Or, if we agree with claimant’s revised premium and/or

administrative figures, we will modify the claim accordingly.

       101.    If JND disagrees with the claimant’s revised premium and/or administrative

figures, JND will explain why and request further documentation deemed appropriate or simply

make a final determination. In appropriate circumstances, JND may refer matters to the Settlement




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Administrator for final resolution.     The Settlement Administrator’s decision on applicable

premium and/or administrative value shall be final.

       102.    If the total final payment of a particular claim is equal to or less than $5.00, no

distribution will be made to that claimant, and the claimant will be notified by JND that there will

be no distribution given the de minimis payment. It is typical to provide for such a de minimis

threshold so that the costs of administration are not out of proportion to the size of the claim

payment. In my experience, there are often additional costs when small amounts are distributed

beyond the costs associated with the actual distribution. For example, a large percentage of class

members do not cash these small checks, resulting in additional time and effort in trying to get

claimants to cash the checks or to redistribute such checks to other claimants. In many cases, we

have seen de minimis thresholds at $5.00, $10.00 and even higher.

       103.    Damages Class Members who are eligible to receive an award from the Net

Settlement Fund will receive payment pursuant to the method specified on their Claim Form, i.e.,

Venmo, PayPal, prepaid card, or check. When mailing or emailing a payment, JND will send the

benefit to the address or email provided by the Damages Class Member on the Claim Form or to

the Damages Class Member's preferred address or email if provided to JND.

       104.    If a benefit is returned as undeliverable, JND will make all reasonable efforts to

deliver the benefit, including by attempting to contact the Damages Class Member in order to

obtain updated contact information. Any check or prepaid card will include its expiration date, if

applicable, and the Damages Class Member’s name. Checks not cashed within 90 days will no

longer be valid. Damages Class Members who have not yet cashed checks will be reminded to do

so between 30 and 40 days after the checks have been issued. Any funds which remain (exclusive

of the Notice and Administration Fund) will, subject to Court approval, be reallocated among




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Damages Class Members or in accordance with the Court-approved Plan of Distribution. To the

extent that any part of the Settlement Fund remains after JND has made the reallocation to

Authorized Claimants required under the Settlement Agreement, Settlement Class Counsel and

Self-Funded Sub-Class Counsel will jointly seek Court approval to disburse the remainder of the

Settlement Fund to an entity or entities closely associated with the harm alleged in the

Complaint. JND will follow the directions approved by the Court.

                                 X.       OBJECTIONS AND OPT-OUTS

         105.     Members of either Settlement Class may object to the Settlement. Damages Class

Members may also exclude themselves (“opt-out”) entirely. The Long Form Notice explains these

legal rights (and others) to Class Members. The deadline for either objecting to or opting-out from

the Settlement is 150 days from the date upon which JND receives adequate data from the Settling

Defendants to commence the Notice Plan.

         106.     Any member of either Settlement Class who wishes to object to any aspect of this

Agreement must send to JND, Settlement Class Counsel, Self-Funded Sub-Class Settlement

Counsel and Settling Defendants, and file with the Court, a written statement of its objection. The

objection must include:

                  a.     The name of this Action and a description of the objections, including any

                         evidence and applicable legal authority and any supporting evidence the

                         objector wishes to introduce;

                  b.     The objector’s full name, address, email address, telephone number, and the

                         plan name under which Blue Cross or Blue Shield was provided and dates of

                         such coverage; 8


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  At the request of Settlement Class Counsel, the objector shall also confidentially provide to Settlement Class Counsel
the policy number and/or Subscriber ID and date(s) of policy.


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              c.   Whether the objection applies only to the objector, a specific Settlement Class

                   or subset of a Settlement Class, or both Settlement Classes;

              d.   The identity of all counsel who represent the objector, if any, including former

                   or current counsel who may be entitled to compensation for any reason related

                   to the objection, along with a statement of the number of times in which that

                   counsel has objected to a class action within five years preceding the

                   submission of the objection, the caption of the case for each prior objection,

                   and a copy of any relevant orders addressing the objection;

              e.   Any and all agreements that relate to the objection or the process of objecting

                   – whether written or oral – between the objector, his or her counsel, and/or

                   any other person or entity;

              f.   The objector (and the objector’s attorney’s) signature on the written objection;

              g.   A statement indicating whether the objector intends to appear at the Final

                   Approval Hearing (either personally or through counsel); and

              h.   A declaration under penalty of perjury that the information provided by the

                   objector and objector’s counsel is true and correct.

       107.   Any Damages Class Member may also opt out of the Settlement. To do so,

Damages Class Members must submit a written request to JND stating their intent to exclude

themselves from the Settlement. The exclusion request must include the following:

              a.   the name of the claimant, the name of your business (if your business

                   purchased health insurance from a Blue Cross or Blue Shield entity during

                   the Class Period for employees), address, and telephone number;




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                b.     a statement that the claimant wants to be excluded from the Settlement Class

                       in In re: Blue Cross Blue Shield Antitrust Litigation; and

                c.     the claimant’s (or business representative’s) personal, physical signature.

        108.    Electronic signatures, including DocuSign, or PDF signatures are not permitted and

will not be considered personal signatures, and submissions signed solely by an individual’s or

business’s lawyer are not valid either.

                                       XI.     CONCLUSION

        109.    In my opinion, the Notice Program as described herein will provide the best notice

practicable and is consistent with, if not more robust than, other similar court-approved best notice

practicable notice programs, Rule 23 of the Federal Rules of Civil Procedure, and the FJC’s

guidelines for Best Practicable Due Process notice. It meets due process and Rule 23 requirements

to apprise Class Members of the pendency of the Subscriber Actions, the Settlement Agreement,

and their opportunity to be heard and to opt out. The Notice Program is designed to reach as many

Class Members as practicable and provide them with the opportunity to review a plain language

notice with the ability to easily take the next step and learn more about the Settlement.


I declare under penalty of perjury under the laws of the United States of America that the foregoing

is true and correct.

                                             Executed on October 30, 2020, in Seattle, Washington.



                                             ____________________________________________
                                             JENNIFER M. KEOUGH




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                    EXHIBIT A
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 JENNIFER
   KEOUGH
     CHIEF EXECUTIVE OFFICER AND CO-FOUNDER




I.        INTRODUCTION
          Jennifer Keough is Chief Executive Officer and a Founder of JND Legal Administration
          (“JND”). She is the only judicially recognized expert in all facets of class action
          administration - from notice through distribution. With more than 20 years of legal
          experience, Ms. Keough has directly worked on hundreds of high-profile and complex
          administration engagements, including such landmark matters as the $20 billion Gulf
          Coast Claims Facility, $10 billion BP Deepwater Horizon Settlement, $3.4 billion Cobell
          Indian Trust Settlement (the largest U.S. government class action settlement ever),
          $3.05 billion VisaCheck/MasterMoney Antitrust Settlement, $1.3 billion Equifax
          Data Breach Settlement, $1 billion Stryker Modular Hip Settlement, $600 million
          Engle Smokers Trust Fund, $215 million USC Student Health Center Settlement, and
          countless other high-profile matters. She has been appointed notice expert in many
          notable cases and has testified on settlement matters in numerous courts and before
          the Senate Committee for Indian Affairs.

          The only female CEO in the field, Ms. Keough oversees more than 200 employees
          at JND’s Seattle headquarters, as well as other office locations around the country.
          She manages all aspects of JND’s class action business from day-to-day processes to
          high-level strategies. Her comprehensive expertise with noticing, claims processing,



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     Systems and IT work, call center logistics, data analytics, recovery calculations,
     check distribution, and reporting gained her the reputation with attorneys on both
     sides of the aisle as the most dependable consultant for all legal administration
     needs. Ms. Keough also applies her knowledge and skills to other divisions of JND,
     including mass tort, lien resolution, government services, and eDiscovery. Given her
     extensive experience, Ms. Keough is often called upon to consult with parties prior
     to settlement, is frequently invited to speak on class action issues, and has authored
     numerous articles in her multiple areas of expertise.

     Ms. Keough launched JND with her partners in early 2016. Just a few months later,
     Ms. Keough was named as the Independent Claims Administrator (“ICA”) in a complex
     BP Solar Panel Settlement. Ms. Keough also started receiving numerous appointments
     as notice expert and in 2017 was chosen to oversee a restitution program in Canada
     where every adult in the country was eligible to participate. Also, in 2017, Ms. Keough
     was named a female entrepreneur of the year finalist in the 14th Annual Stevie Awards
     for Women in Business. In 2015 and 2017, she was recognized as a “Woman Worth
     Watching” by Profiles in Diversity Journal.

     Since JND’s launch, Mrs. Keough has also been featured in numerous news sources.
     In 2019, she was highlighted in an Authority Magazine article, “5 Things I wish
     someone told me before I became a CEO,” and a Moneyish article, “This is exactly
     how rampant ‘imposter syndrome’ is in the workforce.” In 2018, she was featured in
     several Fierce CEO articles, “JND Legal Administration CEO Jennifer Keough aids law
     firms in complicated settlements,” “Special Report―Women CEOs offer advice on
     defying preconceptions and blazing a trail to the top,” and “Companies stand out with
     organizational excellence,” as well as a Puget Sound Business Journal article, “JND
     Legal CEO Jennifer Keough handles law firms’ big business.” In 2013, Ms. Keough
     appeared in a CNN article, “What Changes with Women in the Boardroom.”

     Prior to forming JND, Ms. Keough was Chief Operating Officer and Executive Vice
     President for one of the then largest legal administration firms in the country, where
     she oversaw operations in several offices across the country and was responsible
     for all large and critical projects. Previously, Ms. Keough worked as a class action



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     business analyst at Perkins Coie, one of the country’s premier defense firms, where
     she managed complex class action settlements and remediation programs, including
     the selection, retention, and supervision of legal administration firms. While at
     Perkins she managed, among other matters, the administration of over $100 million
     in the claims-made Weyerhaeuser siding case, one of the largest building product
     class action settlements ever. In her role, she established a reputation as being fair in
     her ability to see both sides of a settlement program.

     Ms. Keough earned her J.D. from Seattle University. She graduated from Seattle
     University with a B.A. and M.S.F. with honors.




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II.        LANDMARK CASES
           Jennifer Keough has the distinction of personally overseeing the administration of
           more large class action programs than any other notice expert in the field. Some of
           her largest engagements include the following:


           1. Allagas v. BP Solar Int’l, Inc.
                No. 14-cv-00560 (N.D. Cal.)

                Ms. Keough was appointed by the United States District Court for the Northern
                District of California as the Independent Claims Administrator (“ICA”) supervising
                the notice and administration of this complex settlement involving inspection,
                remediation, and replacement of solar panels on homes and businesses
                throughout California and other parts of the United States. Ms. Keough and her
                team devised the administration protocol and built a network of inspectors and
                contractors to perform the various inspections and other work needed to assist
                claimants. She also built a program that included a team of operators to answer
                claimant questions, a fully interactive dedicated website with online claim filing
                capability, and a team trained in the very complex intricacies of solar panel
                mechanisms. In her role as ICA, Ms. Keough regularly reported to the parties and
                the Court regarding the progress of the case’s administration. In addition to her
                role as ICA, Ms. Keough also acted as mediator for those claimants who opted
                out of the settlement to pursue their claims individually against BP. Honorable
                Susan Illston, recognized the complexity of the settlement when appointing
                Ms. Keough the ICA (December 22, 2016):

                     The complexity, expense and likely duration of the litigation favors the
                     Settlement, which provides meaningful and substantial benefits on a much
                     shorter time frame than otherwise possible and avoids risk to class certification
                     and the Class’s case on the merits...The Court appoints Jennifer Keough of JND
                     Legal Administration to serve as the Independent Claims Administrator (“ICA”)
                     as provided under the Settlement.



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     2. Careathers v. Red Bull North America, Inc.
         No. 13-cv-0369 (KPF) (S.D.N.Y.)

         Due to the nature of this case, direct notice was impossible. Therefore,
         Ms. Keough assisted in the design of a publication notice and claims
         administration program intended to reach the greatest number of affected
         individuals. Due to the success of the notice program, the informational website
         designed by Ms. Keough and her team received an unprecedented 67 million
         hits in less than 24 hours. The Claims Administration program received over
         2 million claim forms submitted through the three available filing options:
         online, mail, and email. Judge Katherine Polk Failla approved the notice program
         (May 12, 2015) finding:

              …that the Notice to the Settlement Class… was collectively the best notice
              practicable under the circumstances of these proceedings of the matters set
              forth therein, and fully satisfies the requirements of Rule 23(c)(2)(B) of the
              Federal Rules of Civil Procedure, due process, and any other applicable laws.


     3. Chester v. The TJX Cos.
         No. 15-cv-01437 (C.D. Cal.)

         As the notice expert, Ms. Keough proposed a multi-faceted notice plan designed
         to reach over eight million class members. Where class member information was
         available, direct notice was sent via email and via postcard when an email was
         returned as undeliverable or for which there was no email address provided.
         Additionally, to reach the unknown class members, Ms. Keough’s plan included
         a summary notice in eight publications directed toward the California class and
         a tear-away notice posted in all TJ Maxx locations in California. The notice effort
         also included an informational and interactive website with online claim filing
         and a toll-free number that provided information 24 hours a day. Additionally,
         associates were available to answer class member questions in both English
         and Spanish during business hours. Honorable Otis D. Wright, II approved the
         plan (May 14, 2018):




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              ...the Court finds and determines that the Notice to Class Members was complete
              and constitutionally sound, because individual notices were mailed and/or
              emailed to all Class Members whose identities and addresses are reasonably
              known to the Parties, and Notice was published in accordance with this Court’s
              Preliminary Approval Order, and such notice was the best notice practicable.


     4. Cobell v. Salazar
         No. 96 CV 1285 (TFH) (D. D.C.)

         As part of the largest government class action settlement in our nation’s
         history, Ms. Keough worked with the U.S. Government to implement the
         administration program responsible for identifying and providing notice to the
         two distinct but overlapping settlement classes. As part of the notice outreach
         program, Ms. Keough participated in multiple town hall meetings held at Indian
         reservations located across the country. Due to the efforts of the outreach
         program, over 80% of all class members were provided notice. Additionally,
         Ms. Keough played a role in creating the processes for evaluating claims and
         ensuring the correct distributions were made. Under Ms. Keough’s supervision,
         the processing team processed over 480,000 claims forms to determine
         eligibility. Less than one half of one percent of all claim determinations made
         by the processing team were appealed. Ms. Keough was called upon to testify
         before the Senate Committee for Indian Affairs, where Senator Jon Tester of
         Montana praised her work in connection with notice efforts to the American
         Indian community when he stated: “Oh, wow. Okay… the administrator has
         done a good job, as your testimony has indicated, [discovering] 80 percent of
         the whereabouts of the unknown class members.” Additionally, when evaluating
         the Notice Program, Judge Thomas F. Hogan concluded (July 27, 2011):

              …that adequate notice of the Settlement has been provided to members of
              the Historical Accounting Class and to members of the Trust Administration
              Class…. Notice met and, in many cases, exceeded the requirements of F.R.C.P.
              23(c)(2) for classes certified under F.R.C.P. 23(b)(1), (b)(2) and (b)(3). The best
              notice practicable has been provided class members, including individual



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               notice where members could be identified through reasonable effort. The
               contents of that notice are stated in plain, easily understood language and
               satisfy all requirements of F.R.C.P. 23(c)(2)(B).


     5. Gulf Coast Claims Facility (GCCF)

          The GCCF was one of the largest claims processing facilities in U.S. history
          and was responsible for resolving the claims of both individuals and businesses
          relating to the Deepwater Horizon oil spill. The GCCF, which Ms. Keough
          helped develop, processed over one million claims and distributed more than
          $6 billion within the first year-and-a-half of its existence. As part of the GCCF,
          Ms. Keough and her team coordinated a large notice outreach program which
          included publication in multiple journals and magazines in the Gulf Coast
          area. She also established a call center staffed by individuals fluent in Spanish,
          Vietnamese, Laotian, Khmer, French, and Croatian.


     6.   Hernandez v. Experian Info. Solutions, Inc.
          No. 05-cv-1070 (C.D. Cal.)

          This case asserts claims in violation of the Fair Credit Reporting Act. The
          litigation dates back to 2005, when José Hernandez filed his original Class
          Action Complaint in Hernandez v. Equifax Info. Services, LLC, No. 05-cv-03996
          (N.D. Cal.), which was later transferred to C.D. Cal. and consolidated with several
          other related cases. In April 2009, a settlement agreement between Defendants
          and some Plaintiffs was reached that would provide payments of damage
          awards from a $45 million settlement fund. However, after being granted final
          approval by the Court, the agreement was vacated on appeal by the United
          States Circuit Court of Appeals for the Ninth Circuit. The parties resumed
          negotiations and reached an agreement in April 2017. The settlement provided
          both significant monetary (approximately $38.7 million in non‑reversionary cash)
          and non‑monetary benefits. Ms. Keough oversaw the notice and administration
          efforts for the entire litigation. In approving the settlement and responding
          to objections about notice and administration expenses, Honorable David O.
          Carter, stated (April 6, 2018):


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              The Court finds, however, that the notice had significant value for the Class,
              resulting in over 200,000 newly approved claims—a 28% increase in the
              number of Class members who will receive claimed benefits—not including
              the almost 100,000 Class members who have visited the CCRA section of the
              Settlement Website thus far and the further 100,000 estimated visits expected
              through the end of 2019. (Dkt. 1114-1 at 3, 6). Furthermore, the notice and
              claims process is being conducted efficiently at a total cost of approximately
              $6 million, or $2.5 million less than the projected 2009 Proposed Settlement
              notice and claims process, despite intervening increases in postage rates and
              general inflation. In addition, the Court finds that the notice conducted in
              connection with the 2009 Proposed Settlement has significant ongoing value
              to this Class, first in notifying in 2009 over 15 million Class members of their
              rights under the Fair Credit Reporting Act (the ignorance of which for most
              Class members was one area on which Class Counsel and White Objectors’
              counsel were in agreement), and because of the hundreds of thousands of
              claims submitted in response to that notice, and processed and validated by
              the claims administrator, which will be honored in this Settlement.


     7. In re Air Cargo Shipping Servs. Antitrust Litig.
         No. 06-md-1775 (JG) (VVP) (E.D.N.Y.)

         This antitrust settlement involved five separate settlements. As a result, many
         class members were affected by more than one of the settlements, Ms. Keough
         constructed the notice and claims programs for each settlement in a manner
         which allowed affected class members the ability to compare the claims
         data. Each claims administration program included claims processing, review
         of supporting evidence, and a deficiency notification process. The deficiency
         notification process included mailing of deficiency letters, making follow-
         up phone calls, and sending emails to class members to help them complete
         their claim. To ensure accuracy throughout the claims process for each of the
         settlements, Ms. Keough created a process which audited many of the claims
         that were eligible for payment.




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     8. In re Classmates.com
         No. C09-45RAJ (W.D. Wash.)

         Ms. Keough managed a team that provided email notice to over 50 million
         users with an estimated success rate of 89%. When an email was returned as
         undeliverable, it was re-sent up to three times in an attempt to provide notice to
         the entire class. Additionally, Ms. Keough implemented a claims administration
         program which received over 699,000 claim forms and maintained three email
         addresses in which to receive objections, exclusions, and claim form requests.
         The Court approved the program when it stated:

              The Court finds that the form of electronic notice… together with the published
              notice in the Wall Street Journal, was the best practicable notice under the
              circumstances and was as likely as any other form of notice to apprise potential
              Settlement Class members of the Settlement Agreement and their rights to opt
              out and to object. The Court further finds that such notice was reasonable,
              that it constitutes adequate and sufficient notice to all persons entitled to
              receive notice, and that it meets the requirements of Due Process...


     9. In re Equifax Inc. Customer Data Sec. Breach Litig.
         No. 17-md-2800-TWT (N.D. Ga.)

         JND was appointed settlement administrator, under Ms. Keough’s direction,
         for this complex data breach settlement valued at $1.3 billion with a class of
         147 million individuals nationwide. Ms. Keough and her team oversaw all aspects
         of claims administration, including the development of the case website which
         provided notice in seven languages and allowed for online claim submissions.
         In the first week alone, over 10 million claims were filed. Overall, the website
         received more than 200 million hits and the Contact Center handled well over
         100,000 operator calls. Ms. Keough and her team also worked closely with the
         Notice Provider to ensure that each element of the media campaign was executed
         in the time and manner as set forth in the Notice Plan.




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         Approving the settlement on January 13, 2020, Judge Thomas W. Thrash, Jr.
         acknowledged JND’s outstanding efforts:

              JND transmitted the initial email notice to 104,815,404 million class
              members beginning on August 7, 2019. (App. 4, ¶¶ 53-54). JND later sent
              a supplemental email notice to the 91,167,239 class members who had not
              yet opted out, filed a claim, or unsubscribed from the initial email notice. (Id.,
              ¶¶ 55-56). The notice plan also provides for JND to perform two additional
              supplemental email notice campaigns. (Id., ¶ 57)…JND has also developed
              specialized tools to assist in processing claims, calculating payments, and
              assisting class members in curing any deficient claims. (Id., ¶¶ 4, 21). As a
              result, class members have the opportunity to file a claim easily and have that
              claim adjudicated fairly and efficiently...The claims administrator, JND, is highly
              experienced in administering large class action settlements and judgments,
              and it has detailed the efforts it has made in administering the settlement,
              facilitating claims, and ensuring those claims are properly and efficiently
              handled. (App. 4, ¶¶ 4, 21; see also Doc. 739-6, ¶¶ 2-10). Among other
              things, JND has developed protocols and a database to assist in processing
              claims, calculating payments, and assisting class members in curing any
              deficient claims. (Id., ¶¶ 4, 21). Additionally, JND has the capacity to handle
              class member inquiries and claims of this magnitude. (App. 4, ¶¶ 5, 42). This
              factor, therefore, supports approving the relief provided by this settlement.


     10. In re General Motors Ignition Switch Litig.
         No. 2543 (MDL) (S.D.N.Y.)

         GM Ignition Switch Compensation Claims Resolution Facility

         Ms. Keough oversaw the creation of a Claims Facility for the submission of
         injury claims allegedly resulting from the faulty ignition switch. The Claims
         Facility worked with experts when evaluating the claim forms submitted. First,
         the Claims Facility reviewed thousands of pages of police reports, medical
         documentation, and pictures to determine whether a claim met the threshold




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         standards of an eligible claim for further review by the expert. Second, the
         Claims Facility would inform the expert that a claim was ready for its review.
         Ms. Keough constructed a database which allowed for a seamless transfer of
         claim forms and supporting documentation to the expert for further review.


     11. In re General Motors Ignition Switch Litig.
         No. 2543 (MDL) (S.D.N.Y.)

         Ms. Keough was also recently appointed the class action settlement administrator
         for the $120 million GM Ignition Switch settlement. On April 27, 2020, Honorable
         Jesse M. Furman approved the notice program designed by Ms. Keough and her
         team and the notice documents they drafted with the parties:

              The Court further finds that the Class Notice informs Class Members of the
              Settlement in a reasonable manner under Federal Rule of Civil Procedure
              23(e)(1)(B) because it fairly apprises the prospective Class Members of the
              terms of the proposed Settlement and of the options that are open to them in
              connection with the proceedings.

              The Court therefore approves the proposed Class Notice plan, and hereby
              directs that such notice be disseminated to Class Members in the manner set
              forth in the Settlement Agreement and described in the Declaration of the
              Class Action Settlement Administrator...

         Under Ms. Keough’s direction, JND has already mailed notice to nearly
         30 million potential class members.


     12. In re Mercedes-Benz Emissions Litig.
         No. 16-cv-881 (D.N.J.)

         JND Legal Administration was recently appointed as the Settlement Administrator
         in this $700 million plus settlement wherein Daimler AG and its subsidiary
         Mercedes-Benz USA reached an agreement to settle a consumer class action
         alleging that the automotive companies unlawfully misled consumers into
         purchasing certain diesel type vehicles by misrepresenting the environmental


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         impact of these vehicles during on-road driving. As part of its appointment, the
         Court approved Jennifer Keough’s proposed notice plan and authorized JND
         Legal Administration to provide notice and claims administration services.


     13. I n re Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of
          Mexico, on April 20, 2010
         No. 2179 (MDL) (E.D. La.)

         Following the closure of the Gulf Coast Claims Facility, the Deepwater Horizon
         Settlement claims program was created. There were two separate legal
         settlements that provided for two claims administration programs. One of the
         programs was for the submission of medical claims and the other was for the
         submission of economic and property damage claims. Ms. Keough played a key
         role in the formation of the claims program for the evaluation of economic
         and property damage claims. Additionally, Ms. Keough built and supervised
         the back-office mail and processing center in Hammond, Louisiana, which was
         the hub of the program. The Hammond center was visited several times by
         Claims Administrator Pat Juneau -- as well as by the District Court Judge and
         Magistrate -- who described it as a shining star of the program.


     14. In re Stryker Rejuvenate and ABG II Hip Implant Products Liab. Litig.
         No. 13-2441 (MDL) (D. Minn.)

         Ms. Keough and her team were designated as the escrow agent and claims
         processor in this $1 billion settlement designed to compensate eligible U.S.
         Patients who had surgery to replace their Rejuvenate Modular-Neck and/or ABG
         II Modular-Neck hip stems prior to November 3, 2014. As the claims processor,
         Ms. Keough and her team designed internal procedures to ensure the accurate
         review of all medical documentation received; designed an interactive website
         which included online claim filing; and established a toll-free number to allow class
         members to receive information about the settlement 24 hours a day. Additionally,
         she oversaw the creation of a deficiency process to ensure claimants were notified
         of their deficient submission and provided an opportunity to cure. The program



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         also included an auditing procedure designed to detect fraudulent claims and a
         process for distributing initial and supplemental payments. Approximately 95%
         of the registered eligible patients enrolled in the settlement program.


     15. In re The Engle Trust Fund
         No. 94-08273 CA 22 (Fla. 11th Jud. Cir. Ct.)

         Ms. Keough played a key role in administering this $600 million landmark case
         against the country’s five largest tobacco companies. Miles A. McGrane, III,
         Trustee to the Engle Trust Fund recognized Ms. Keough’s role when he stated:

              The outstanding organizational and administrative skills of Jennifer Keough
              cannot be overstated. Jennifer was most valuable to me in handling numerous
              substantive issues in connection with the landmark Engle Trust Fund matter.
              And, in her communications with affected class members, Jennifer proved to
              be a caring expert at what she does.


     16. In re Washington Mut. Inc., Sec. Litig.
         No. 08-md-1919 MJP (W.D. Wash.)

         Ms. Keough supervised the notice and claims administration for this securities
         class action, which included three separate settlements with defendants totaling
         $208.5 million. In addition to mailing notice to over one million class members,
         Ms. Keough managed the claims administration program, including the review
         and processing of claims, notification of claim deficiencies, and distribution. In
         preparation for the processing of claims, Ms. Keough and her team established
         a unique database to store the proofs of claim and supporting documentation;
         trained staff to the particulars of this settlement; created multiple computer
         programs for the entry of class member’s unique information; and developed
         a program to calculate the recognized loss amounts pursuant to the plan of
         allocation. The program was designed to allow proofs of claim to be filed by mail
         or through an online portal. A deficiency process was established in order to reach
         out to class members who submitted incomplete proof of claims. The deficiency
         process involved reaching out to claimants via letters, emails, and telephone calls.


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     17. In re Yahoo! Inc. Sec. Litig.
         No. 17-cv-373 (N.D. Cal.)

         Ms. Keough oversaw the notice and administration of this $80 million
         securities settlement. In approving the settlement, Judge Lucy H. Koh, stated
         (September 7, 2018):

              The Court hereby finds that the forms and methods of notifying the Settlement
              Class of the Settlement and its terms and conditions: met the requirements
              of due process, Rule 23 of the Federal Rules of Civil Procedure, and 15 U.S.C.
              § 78u-4(a)(7) (added to the Exchange Act by the Private Securities Litigation
              Reform Act of 1995); constituted the best notice practicable under the
              circumstances; and constituted due and sufficient notice to all persons and
              entities entitled thereto of these proceedings and the matters set forth herein,
              including the Settlement and Plan of Allocation.


     18. Linneman v. Vita-Mix Corp.
         No. 15-cv-748 (S.D. Ohio)

         Ms. Keough was hired by Plaintiff Counsel to design a notice program regarding
         this consumer settlement related to allegedly defective blenders. The Court
         approved Ms. Keough’s plan and designated her as the notice expert for this
         case. As direct notice to the entire class was impracticable due to the nature of
         the case, Ms. Keough proposed a multi-faceted notice program. Direct notice
         was provided by mail or email to those purchasers identified through data
         obtained from Vita-Mix and third parties, such as retailers, dealers, distributors,
         or restaurant supply stores. To reach the unknown class members, Ms. Keough
         oversaw the design of an extensive media plan that included: published notice
         in Cooking Light, Good Housekeeping, and People magazine and digital notice;
         placements through Facebook/Instagram, Twitter, and Conversant; and paid
         search campaign through Google and Bing. In addition, the program included
         an informational and interactive website where class members could submit
         claims electronically, and a toll-free number that provided information to class




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          members 24 hours a day. When approving the plan, Honorable Susan J. Dlott
          stated (May 3, 2018):

               JND Legal Administration, previously appointed to supervise and administer
               the notice process, as well as oversee the administration of the Settlement,
               appropriately issued notice to the Class as more fully set forth in the Agreement,
               which included the creation and operation of the Settlement Website and more
               than 3.8 million mailed or emailed notices to Class Members. As of March
               27, 2018, approximately 300,000 claims have been filed by Class Members,
               further demonstrating the success of the Court-approved notice program.


     19. Loblaw Card Program

          Jennifer Keough was selected by major Canadian retailer Loblaw and its
          counsel to act as program administrator in its voluntary remediation program.
          The program was created as a response to a price-fixing scheme perpetrated
          by some employees of the company involving bread products. The program
          offered a $25 gift card to all adults in Canada who purchased bread products
          in Loblaw stores between 2002 and 2015. Some 28 million Canadian residents
          were potential claimants. Ms. Keough and her team: (1) built an interactive
          website that was capable of withstanding hundreds of millions of “hits” in a
          short period of time; (2) built, staffed and trained a call center with operators
          available to take calls twelve hours a day, six days a week; (3) oversaw the
          vendor in charge of producing and distributing the cards; (4) was in charge of
          designing and overseeing fraud prevention procedures; and (5) handled myriad
          other tasks related to this high-profile and complex project.


     20. New Orleans Tax Assessor Project

          After Hurricane Katrina, the City of New Orleans began to reappraise properties
          in the area which caused property values to rise. Thousands of property owners
          appealed their new property values and the City Council did not have the
          capacity to handle all the appeals in a timely manner. As a result of the large
          number of appeals, the City of New Orleans hired Ms. Keough to design a



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          unique database to store each appellant’s historical property documentation.
          Additionally, Ms. Keough designed a facility responsible for scheduling and
          coordinating meetings between the 5,000 property owners who appealed
          their property values and real estate agents or appraisers. The database that
          Ms. Keough designed facilitated the meetings between the property owners
          and the property appraisers by allowing the property appraisers to review the
          property owner’s documentation before and during the appointment with them.


     21. USC Student Health Ctr. Settlement
          No. 18-cv-04258-SVW (C.D. Cal.)

          JND was approved as the Settlement Administrator in this important
          $215 million settlement that provides compensation to women who were
          sexually assaulted, harassed and otherwise abused by Dr. George M. Tyndall
          at the USC Student Health Center during a nearly 30-year period. Ms. Keough
          and her team designed a notice effort that included: mailed and email notice
          to potential Class members; digital notices on Facebook, LinkedIn, and Twitter;
          an internet search effort; notice placements in USC publications/eNewsletters;
          and a press release. In addition, her team worked with USC staff to ensure notice
          postings around campus, on USC’s website and social media accounts, and in
          USC alumni communications, among other things. Ms. Keough ensured the
          establishment of an all-female call center, whose operators were fully trained
          to handle delicate interactions, with the goal of providing excellent service
          and assistance to every woman affected. She also worked with the JND staff
          handling lien resolution for this case. Preliminarily approving the settlement,
          Honorable Stephen V. Wilson stated (June 12, 2019):

               The Court hereby designates JND Legal Administration (“JND”) as Claims
               Administrator. The Court finds that giving Class Members notice of the
               Settlement is justified under Rule 23(e)(1) because, as described above, the Court
               will likely be able to: approve the Settlement under Rule 23(e)(2); and certify the
               Settlement Class for purposes of judgment. The Court finds that the proposed




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               Notice satisfies the requirements of due process and Federal Rule of Civil
               Procedure 23 and provides the best notice practicable under the circumstances.


     22. Williams v. Weyerhaeuser Co.
          Civil Action No. 995787 (Cal. Super. Ct.)

          This landmark consumer fraud litigation against Weyerhaeuser Co. had over
          $100 million in claims paid. The action involved exterior hardboard siding
          installed on homes and other structures throughout the United States from
          January 1, 1981 to December 31, 1999 that was alleged to be defective and
          prematurely fail when exposed to normal weather conditions.

          Ms. Keough oversaw the administration efforts of this program, both when
          she was employed by Perkins Coie, who represented defendants, and later
          when she joined the legal administration firm handling the case. Operating for
          nine years, the claims program was extensive, subject to varying claims with
          varying claims deadlines depending on when the class member installed the
          original Weyerhaeuser siding. The program involved not just payments to class
          members, but an inspection component where a court-appointed inspector
          analyzed the particular claimant’s siding to determine the eligibility and award
          level. Class members received a check for their damages, based upon the total
          square footage of damaged siding, multiplied by the cost of replacing, or, in
          some instances, repairing, the siding on their homes. Ms. Keough oversaw the
          entirety of the program from start to finish.




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III.        JUDICIAL RECOGNITION
            Courts have favorably recognized Ms. Keough’s work as outlined above and by the
            sampling of judicial comments from JND programs listed below.


            1. Judge Jesus G. Bernal

                Noriesta v. Konica Minolta Bus. Solutions U.S.A., Inc., (October 22, 2020)
                No. 19-cv-00620 (C.D. Cal.):

                Rule 23(c)(2)(B) requires that the Court “direct to class members the best notice that is
                practicable under the circumstances, including individual notice to all members who can
                be identified through reasonable effort.” Fed. R. Civ. P. 23(c)(2)(B). Similarly, Rule 23(e)
                (1) requires that a proposed settlement may only be approved after notice is directed in
                a reasonable manner to all class members who would be bound by the agreement. Fed.
                R. Civ. P. 23(e)(1). In its MPA Order, the Court approved the notice sent to Settlement
                Class Members. (MPA Order at 13.) JND Legal Administration completed notice in
                accordance with the procedures approved by the Court. (See Keough Decl.) The Court
                therefore finds that notice to the Settlement Class was adequate.


            2. Honorable Dennis M. Cavanaugh, U.S.D.J. (Ret. Special Master)

                In re Mercedes-Benz Emissions Litig., (September 16, 2020)
                No. 16-cv-881 (D.N.J.):

                The Court finds that the content, format, and method of disseminating notice, as
                set forth in the Motion, Declaration of JND Legal Administration, the Class Action
                Agreement, and the proposed Long Form Notice, Short Form Notice, and Supplemental
                Notice of Class Benefits (collectively, the “Class Notice Documents”) – including direct
                First Class mailed notice to all known members of the Class deposited in the mail
                within the later of (a) 15 business days of the Preliminary Approval Order; or (b) 15
                business days after a federal district court enters the US-CA Consent Decree – is
                the best notice practicable under the circumstances and satisfies all requirements
                provided in Rule 23(c)(2)(B). The Court approves such notice, and hereby directs that


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         such notice be disseminated in the manner set forth in the Class Action Settlement to
         the Class under Rule 23(e)(1)…JND Legal Administration is hereby appointed as the
         Settlement Administrator and shall perform all duties of the Settlement Administrator
         set forth in the Class Action Settlement.


     3. Judge Susan O. Hickey

         Stuart v. State Farm Fire & Cas. Co., (June 2, 2020)
         No. 14-cv-04001 (W.D. Ark.):

         Plaintiffs and the Administrator have satisfactorily demonstrated that the Class
         Notice and Claim Form was mailed, that the Publication Notice was published, that
         the Postcard Notice was mailed, and that an automated toll-free telephone number
         and settlement website were established in accordance with the Stipulation and
         Preliminary Approval Order.


     4. Judge Susan R. Bolton

         In re Banner Health Data Breach Litig., (April 21, 2020)
         No. 16-cv-02696 (D. Ariz.):

         Prior to the Final Approval Hearing, Class Counsel filed the original and supplemental
         Declaration of Jennifer M. Keough Regarding Notice Administration, confirming that
         the Notice Program was completed in accordance with the Parties’ instructions and
         the Preliminary Approval Order. Therefore, the Court is satisfied that Settlement
         Class Members were properly notified of their right to appear at the Final Approval
         Hearing in support of, or in opposition to, the proposed Settlement, the award of
         attorneys’ fees, costs, and expenses, and the payment of Service Awards to the
         Class Representatives.




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     5. Honorable Virginia A. Phillips

         Sonner v. Schwabe North America, Inc., (April 7, 2020)
         No. 15-cv-01358 VAP (SPx) (C.D. Cal.):

         The Court orders the appointment of JND Legal Administration to implement and
         administrate the dissemination of class notice and administer opt-out requests pursuant
         to the proposed notice dissemination plan attached as Exhibit D to the Stipulation.


     6. Honorable Steven I. Locke

         Donnenfield v. Petro, Inc., (March 26, 2020)
         No. 17-cv-02310 (E.D.N.Y.):

         The Court holds that the Class Notice and notice plan as carried out satisfy
         therequirements of Fed. R. Civ. P. 23(e) and due process. This Court has previously
         held the Class Notice and notice plan to be reasonable and the best practicable under
         the circumstances in its Preliminary Approval Order dated December 5, 2019 (ECF
         No. 74) and Order Regarding Notice to Class and Related Matters dated February
         6, 2020 (ECF No. 77). The Court further finds that the direct-notice strategy as
         implemented has successfully and adequately reached the Class, thus constituting
         the bestpracticable notice and satisfying due process.


     7. Judge Joan B. Gottschall

         In re Navistar MaxxForce Engines Mktg., Sales Practices and Products, (January 3, 2020)
         No. 14-cv-10318 (N.D. Ill.):

         In accordance with PTO 29 and subsequent orders, the settlement administrator,
         a corporation for which Jennifer Keough (“Keough” or “settlement administrator”)
         speaks, filed several declarations updating the court on the notice, opt-out, and
         claims process… the court finds that the settlement is fair, reasonable, and adequate.




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     8. Judge Fernando M. Olguin

         Ahmed v. HSBC Bank USA, NA, (December 30, 2019)
         No. 15-cv-2057-FMO-SPx (N.D. Ill.):

         On June 21, 2019, the court granted preliminary approval of the settlement,
         appointed JND Legal Administration (“JND”) as settlement administrator… the court
         finds that the class notice and the notice process fairly and adequately informed the
         class members of the nature of the action, the terms of the proposed settlement,
         the effect of the action and release of claims, the class members’ right to exclude
         themselves from the action, and their right to object to the proposed settlement...
         the reaction of the class has been very positive.


     9. Honorable Steven I. Locke

         Donnenfield v. Petro, Inc., (December 4, 2019)
         No. 17-cv-02310 (E.D.N.Y.):

         WHEREAS, the Parties have agreed to use JND Legal Administration (“JND”), an
         experienced administrator of class action settlements, as the claims administrator
         for this Settlement and agree that JND has the requisite experience and expertise to
         serve as claims administrator; The Court appoints JND as the claims administrator
         for the Settlement.


     10. Judge Steven W. Wilson
         Amador v Baca, (November 7, 2019)
         No. 10-cv-1649 (C.D. Cal.):

         The Court approves the retention of JND Legal Administration (“JND”) as Class
         Administrator, to administer the distribution of the Class and Settlement Notice and
         publication of the Class and Settlement Notice, and to distribute the proceeds of the
         settlement to all eligible Class Members pursuant to the Plan set out in the Settlement
         Agreement (Exhibit A) should the Court grant final approval. Exhibit E (the Class
         Administrator bid) includes the qualifications of JND, which establishes to the Court’s
         satisfaction the qualifications of JND to act as the Class Administrator.



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     11. Honorable Amy D. Hogue

         Trepte v. Bionaire, Inc., (November 5, 2019)
         No. BC540110 (Cal. Super. Ct.):

         The Court appoints JND Legal Administration as the Class Administrator,.. The Court
         finds that the forms of notice to the Settlement Class regarding the pendency of the
         action and of this settlement, and the methods of giving notice to members of the
         Settlement Class… constitute the best notice practicable under the circumstances and
         constitute valid, due, and sufficient notice to all members of the Settlement Class.
         They comply fully with the requirements of California Code of Civil Procedure section
         382, California Civil Code section 1781, California Rules of Court 3.766 and 3.769,
         the California and United States Constitutions, and other applicable law.


     12. Judge Sarah D. Morrison

         Blasi v. United Debt Serv., LLC, (November 5, 2019)
         No. 14-cv-0083 (S.D. Ohio):

         JND Class Action Administration (“JND”), the claims administrator, mailed 166,597
         notices to the class and had 10,377 notices returned as undeliverable. Id. at 6. Of
         those, JND re-mailed 2,306 to updated addresses. Id. 7. In addition, the website
         hosted 3,606 users who registered 10,170 page views. Id. As of August 14, 2019,
         JND had received 11,178 claim forms that remained under review. Id. Not one
         objection was lodged, and no one sought exclusion. Id… Through the postcard mailing
         and the website, the Court finds that the Class Representatives have utilized the
         best possible yet reasonable means to effectuate notice. Consequently, the Court
         holds that the Settlement Notice is sufficient.


     13. Judge Cormac J. Carney

         In re ConAgra Foods Inc., (October 8, 2019)
         No. 11-cv-05379-CJC-AGR (C.D. Cal.):

         Following the Court’s preliminary approval, JND used a multi-pronged notice
         campaign to reach people who purchased Wesson Oils...As of September 19, 2019,
         only one class member requested to opt out of the settlement class, with another

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         class member objecting to the settlement. The reaction of the class has thus been
         overwhelmingly positive, and this factor favors final approval.


     14. Judge Teri L. Jackson

         Lee v. Hertz Corp., Dollar Thrifty Auto. Grp. Inc., (August 30, 2019)
         No. CGC-15-547520 (Cal. Super. Ct.):

         On April, 16, 2019, the Court issued Order Granting Plaintiffs’ Motion for Preliminary
         Approval of Class Action Settlement, in which the Court did the following…appointed
         JND Legal Administration as the Settlement Administrator…The manner and form
         of notice…was the best notice practicable under the circumstances, was valid, due,
         and sufficient notice to all members of the Settlement Class, and complied fully with
         California law and due process.


     15. Judge Barbara Jacobs Rothstein

         Wright v. Lyft, Inc., (May 29, 2019)
         No. 17-cv-23307-MGC 14-cv-00421-BJR (W.D. Wash.):

         The Court also finds that the proposed method of distributing relief to the class is
         effective. JND Legal Administration (“JND”), an experienced claims administrator,
         undertook a robust notice program that was approved by this Court…


     16. Judge J. Walton McLeod

         Boskie v. Backgroundchecks.com, (May 17, 2019)
         No. 2019CP3200824 (S.C. C.P.):

         The Court appoints JND Legal Administration as Settlement Administrator…The
         Court approves the notice plans for the HomeAdvisor Class and the Injunctive
         Relief Class as set forth in the declaration of JND Legal Administration. The Court
         finds the class notice fully satisfies the requirements of due process, the South
         Carolina Rules of Civil Procedure. The notice plan for the HomeAdvisor Class
         and Injunctive Relief Class constitutes the best notice practicable under the
         circumstances of each Class.



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     17. Honorable James Donato

         In re Resistors Antitrust Litig., (May 2, 2019)
         No. 15-cv-03820-JD (N.D. Cal.):

         The Court approves as to form and content the proposed notice forms, including
         the long form notice and summary notice, attached as Exhibits B and D to the
         Second Supplemental Declaration of Jennifer M. Keough Regarding Proposed
         Notice Program (ECF No. 534-3). The Court further finds that the proposed plan of
         notice – including Class Counsel’s agreement at the preliminary approval hearing
         for the KOA Settlement that direct notice would be effectuated through both U.S.
         mail and electronic mail to the extent electronic mail addresses can be identified
         following a reasonable search – and the proposed contents of these notices, meet
         the requirements of Rule 23 and due process, and are the best notice practicable
         under the circumstances and shall constitute due and sufficient notice to all persons
         entitled thereto.The Court appoints the firm of JND Legal Administration LLC as the
         Settlement Administrator.


     18. Honorable Leigh Martin May

         Bankhead v. First Advantage Background Serv. Corp., (April 30, 2019)
         No. 17-cv-02910-LMM-CCB (N.D. Ga.):

         The Court appoints JND Legal Administration as Settlement Administrator… The
         Court approves the notice plans for the Class as set forth in the declaration of
         the JND Legal Administration. The Court finds that class notice fully satisfies the
         requirements of due process of the Federal Rules of Civil Procedure. The notice plan
         constitutes the best notice practicable under the circumstances of the Class.


     19. Honorable P. Kevin Castel

         Hanks v. Lincoln Life & Annuity Co. of New York, (April 23, 2019)
         No. 16-cv-6399 PKC (S.D.N.Y.):

         The Court approves the form and contents of the Short-Form Notice and Long-Form
         Notice (collectively, the “Notices”) attached as Exhibits A and B, respectively, to the



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         Declaration of Jennifer M. Keough, filed on April 2, 2019, at Docket No. 120…The
         form and content of the notices, as well as the manner of dissemination described
         below, therefore meet the requirements of Rule 23 and due process, constitute
         the best notice practicable under the circumstances, and shall constitute due and
         sufficient notice to all persons and entities entitled thereto…the Court approves the
         retention of JND Legal Administration LLC (“JND”) as the Notice Administrator.


     20. Judge Cormac J. Carney

         In re ConAgra Foods Inc, (April 4, 2019)
         No. 11-cv-05379-CJC-AGR (C.D. Cal.):

         The bids were submitted to Judge McCormick, who ultimately chose JND Legal
         Administration to propose to the Court to serve as the settlement administrator.
         (Id. ¶ 65.) In addition to being selected by a neutral third party, JND Legal
         Administration appears to be well qualified to administer the claims in this case…
         The Court appoints JND Legal Administration as Settlement Administrator… JND
         Legal Administration will reach class members through a consumer media campaign,
         including a national print effort in People magazine, a digital effort targeting
         consumers in the relevant states through Google Display Network and Facebook,
         newspaper notice placements in the Los Angeles Daily News, and an internet search
         effort on Google. (Keough Decl. ¶ 14.) JND Legal Administration will also distribute
         press releases to media outlets nationwide and establish a settlement website and
         toll-free phone number. (Id.) The print and digital media effort is designed to reach
         70% of the potential class members. (Id.) The newspaper notice placements, internet
         search effort, and press release distribution are intended to enhance the notice’s
         reach beyond the estimated 70%. (Id.)


     21. Honorable William J. McGovern, III, J.S.C.

         Atl. Ambulance Corp. v. Cullum and Hitti, (March 29, 2019)
         No. MRS-L-264-12 (N.J. Super. Ct.):

         The Court finds that the manner and form of notice set forth in the Settlement
         Agreement (Class Notice) was provided to the Settlement Class Members and



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         Settlement Sub‑class Members by JND Legal Administration, the Court‑appointed
         Administrator of the Settlement…The Class Notice satisfied the requirements
         of due process and R. 4:32-2 and constitutes the best practicable notice under
         the circumstances.


     22. Judge Edward M. Chen

         In re MyFord Touch Consumer Litig., (March 28, 2019)
         No. 13-cv-3072 (EMC) (N.D. Ca.):

         The parties have justified their choice of JND as Settlement Administrator… And the
         Court finds that the language of the class notice is appropriate and that the means
         of notice is the “best notice...practicable under the circumstances.”


     23. Judge Jonathan Goodman

         Belanger v. RoundPoint Mortgage Servicing, (March 28, 2019)
         No. 17-cv-23307-MGC (S.D. Fla.):

         Class Counsel has filed with the Court a declaration from Jennifer M. Keough,
         Chief Executive Officer at JND Legal Administration, the independent third-party
         Settlement Administrator for the Settlement, establishing that the Mail Notice,
         Claim Form, and Claim Form Instructions were mailed to Noticed Class Members on
         December 12, 2018; the Settlement Website and IVR toll-free telephone number
         system were established on December 12, 2018; internet advertising was published
         beginning December 14, 2018; and the Publication Notice was published on
         January 7, 2019. Adequate Class Notice was given to the Noticed Class Members
         in compliance with the Settlement Agreement and the Preliminary Approval Order.


     24. Judge Steven P. Shreder

         Chieftain Royalty Co. v. Marathon Oil Co., (March 8, 2019)
         No. 17-cv-334 (E.D. Okla.):

         The Court also approves the efforts and activities of the Settlement Administrator,
         JND Legal Administration, and the Escrow Agent, Signature Bank, in assisting with



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         certain aspects of the administration of the Settlement, and directs them to continue
         to assist Class Representatives in completing the administration and distribution of
         the Settlement in accordance with the Settlement Agreement, this Judgment, any
         Plan of Allocation approved by the Court, and the Court’s other orders.


     25. Judge Thomas S. Zilly

         Connolly v. Umpqua Bank, (February 28, 2019)
         No. C15-517 (TSZ) (W.D. Wash.):

         Notice of the proposed class action settlement and of the final approval hearing
         scheduled for February 21, 2019, was sent to all members of the Class in the manner
         described in the Declaration of Jennifer M. Keough, the Chief Executive Officer of
         JND Legal Administration, which is the Settlement Administrator for this matter…
         the methods of transmitting notices to class members, along with the maintenance
         of a dedicated website, were the best notice practicable under the circumstances
         and comported with Federal Rule of Civil Procedure 23 and the Due Process Clause
         of the United States Constitution.


     26. Judge Kathleen M. Daily

         Podawiltz v. Swisher Int’l, Inc., (February 7, 2019)
         No. 16CV27621 (Or. Cir. Ct.):

         The Court appoints JND Legal Administration as settlement administrator…The
         Court finds that the notice plan is reasonable, that it constitutes due, adequate
         and sufficient notice to all persons entitled to receive notice, and that it meets the
         requirements of due process, ORCP 32, and any other applicable laws.


     27. Honorable Robert W. Lehrburger

         Hines v. CBS Television Studios, (February 5, 2019)
         No. 17-cv-7882 (PGG) (S.D.N.Y.):

         Class Members were provided with the best notice practicable under the
         circumstances. The Court further finds that the Notice and its distribution comported



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         with all constitutional requirements, including those of due process. No Cass Member
         opted out of or objected to the Settlement. Moreover, approximately 57% of Class
         Members returned the Claim form, which represents a substantial response from the
         Settlement Class…On August 24, 2018 the Court preliminary appointed JND as the
         Settlement Claims Administrator in this action. JND is an experienced administrator
         of Class Action settlements nationwide.


     28. Judge Naomi Reice Buchwald

         In re LIBOR-Based Fin. Instruments Antitrust Litig., (December 20, 2018)
         No. 11-md-2262 (NRB) (S.D.N.Y.):

         The Court hereby finds that the forms and methods of notifying the Lender Class of
         the Settlements and their terms and conditions met the requirements of the United
         States Constitution (including the Due Process Clause), Rule 23 of the Federal Rules
         of Civil Procedure, and all other applicable law and rules; constituted the best notice
         practicable under the circumstances; and constituted due and sufficient notice to
         all Lender Class Members entitled thereto of these proceedings and the matters set
         forth herein, including the Settlements and Plan of Distribution.


     29. Judge Kimberly E. West

         Reirdon v. Cimarex Energy Co., (December 18, 2018)
         No. 16-CIV-113 (KEW) (E.D. Okla.):

         The Court further finds that due and proper notice, by means of the Notice and
         Summary Notice, was given to the Settlement Class in conformity with the Settlement
         Agreement and Preliminary Approval Order…The Court also approves the efforts
         and activities of the Settlement Administrator, JND Legal Administration, and the
         Escrow Agent, Signature Bank, in assisting with certain aspects of the administration
         of the Settlement, and directs them to continue to assist Class Representative in
         completing the administration and distribution of the Settlement in accordance with
         the Settlement Agreement, this Judgment, any Plan of Allocation approved by the
         Court, and the Court’s other orders.




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     30. Honorable Kenneth J. Medel

         Huntzinger v. Suunto Oy, (December 14, 2018)
         No. 37-2018-27159 (CU) (BT) (CTL) (Cal. Super. Ct.):

         The Court finds that the Class Notice and the Notice Program implemented pursuant
         to the Settlement Agreement and Preliminary Approval Order constituted the best
         notice practicable under the circumstances to all persons within the definition of
         the Class and fully complied with the due process requirement under all applicable
         statutes and laws and with the California Rules of Court.


     31. Judge Mark H. Cohen

         Liotta v. Wolford Boutiques, LLC, (November 30, 2018)
         No. 16-cv-4634 (N.D. Ga.):

         The Notice Program included written mail notice via post-card pursuant to addresses
         determined from a look-up on the telephone numbers using a historic look-up
         process designed to identify the owner of the relevant telephone numbers on July
         7, 2016 and September 2, 2016. Keough Decl. ¶¶ 3-4. The Claims Administrator
         used multiple databases to determine addresses and names of the cellular telephone
         owners at the time the text messages were sent. Keough Decl. ¶ 3. The Parties’
         filed evidence that the Claims Administrator provided notice in conformance with
         the Notice Program approved by the Court. Id. ¶ 4 & Ex. A; Settlement Agreement
         § C.4; Prelim. Approval Order at 16-17. This notice constituted the most effective
         and best notice practicable under the circumstances of the Settlement Agreement
         and the fairness hearing. The notice constituted due and sufficient notice for all
         other purposes to all persons entitled to receive notice.


     32. Judge Kimberly E. West

         Cecil v. BP America Prod. Co., (November 19, 2018)
         No. 16-cv-410 (RAW) (E.D. Okla.):

         The form, content, and method of communicating the Notice of Settlement, together
         with the class settlement website referred to therein: (i) constituted the best notice



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         practicable under the circumstances; (ii) constituted notice reasonably calculated,
         under the circumstances, to apprise potential Class Members of the pendency of the
         Litigation, the proposed Settlement Agreement, their right to exclude themselves from
         the proposed Settlement Agreement and resulting Settlement, their right to object to
         the same of any part thereof, and their right to appear at the Final Fairness Hearing; (iii)
         was reasonable and constituted due, adequate, and sufficient notice to all persons and
         entities entitled to such notice; and (iv) met all applicable requirements of the Federal
         Rules of Civil Procedure, the Due Process Clause of the United States Constitution, the
         Due Process protection of the State of Oklahoma, and any other applicable law.


     33. Honorable Thomas M. Durkin
         In re Broiler Chicken Antitrust Litig., (November 16, 2018)
         No. 16-cv-8637 (N.D. Ill.):

         The notice given to the Class, including individual notice to all members of the Class
         who could be identified through reasonable efforts, was the best notice practicable
         under the circumstances. Said notice provided due and adequate notice of the
         proceedings and of the matters set forth therein, including the proposed settlement
         set forth in the Settlement Agreement, to all persons entitled to such notice, and said
         notice fully satisfied the requirements of Rules 23(c)(2) and 23(e)(1) of the Federal
         Rules of Civil Procedure and the requirements of due process.


     34. Honorable Beth Labson Freeman

         Wahl v. Yahoo! Inc., (November 15, 2018)
         No. 17-cv-2745 (BLF) (N.D. Cal.):

         The Settlement Class was provided with adequate notice of the settlement and
         an opportunity to object or opt out. The notice satisfied all applicable legal
         requirements, including those under Federal Rule of Civil Procedure 23 and the
         United States Constitution.




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     35. Honorable Tanya Walton Pratt

         Pierce v Anthem Ins. Cos., (November 13, 2018)
         No. 15-cv-00562-TWP-TAB (S. D. Ind.):

         The Court hereby finds and concludes that Notice and the Supplemental Notice
         was disseminated to members of the Settlement Class in accordance with the terms
         of the Agreement and that the Notice and its dissemination were in compliance
         with the Agreement and this Court’s Preliminary Approval. The Court further finds
         and concludes that the Notice implemented pursuant to the Settlement Agreement
         constitutes the best practicable notice; is notice that is reasonably calculated, under
         the circumstances, to apprise Class Members of the pendency of the Action, their
         right to accept, object to or exclude themselves from the proposed settlement and to
         appear at the fairness hearing; constitutes reasonable, due, adequate and sufficient
         notice to all persons entitled to receive notice; and meets all applicable requirements
         of the Federal Rules of Civil Procedure, the Due Process Clause of the United States
         Constitution and any Rules of the Court.


     36. Judge Maren E. Nelson

         Granados v. County of Los Angeles, (October 30, 2018)
         No. BC361470 (Cal. Super. Ct.):

         JND’s Media Notice plan is estimated to have reached 83% of the Class. The
         overall reach of the Notice Program was estimated to be over 90% of the Class.
         (Keough Decl., at ¶12.). Based upon the notice campaign outlined in the Keough
         Declaration, it appears that the notice procedure was aimed at reaching as many
         class members as possible. The Court finds that the notice procedure satisfies due
         process requirements.




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     37. Judge Maren E. Nelson

         McWilliams v. City of Long Beach, (October 30, 2018)
         No. BC361469 (Cal. Super. Ct.):

         It is estimated that JND’s Media Notice plan reached 88% of the Class and the
         overall reach of the Notice Program was estimated to be over 90% of the Class.
         (Keough Decl., at ¶12.). Based upon the notice campaign outlined in the Keough
         Declaration, it appears that the notice procedure was aimed at reaching as many
         class members as possible. The Court finds that the notice procedure satisfies due
         process requirements.


     38. Judge Cheryl L. Pollak

         Dover v. British Airways, PLC (UK), (October 9, 2018)
         No. 12-cv-5567 (E.D.N.Y.), in response to two objections:

         JND Legal Administration was appointed as the Settlement Claims Administrator,
         responsible for providing the required notices to Class Members and overseeing the
         claims process, particularly the processing of Cash Claim Forms…the overwhelmingly
         positive response to the Settlement by the Class Members, reinforces the Court’s
         conclusion that the Settlement is fair, adequate, and reasonable.


     39. Judge Edward J. Davila

         In re Intuit Data Litig., (October 4, 2018)
         No. 15-CV-1778-EJD (N.D. Cal.):

         The Court appoints JND Legal Administration (“JND”) to serve as the Settlement
         Administrator…The Court approves the program for disseminating notice to Class
         Members set forth in the Agreement and Exhibit A thereto (herein, the “Notice
         Program”). The Court approves the form and content of the proposed forms of notice,
         in the forms attached as Attachments 1 through 3 to Exhibit A to the Agreement. The
         Court finds that the proposed forms of notice are clear and readily understandable
         by Class Members. The Court finds that the Notice Program, including the proposed
         forms of notice, is reasonable and appropriate and satisfies any applicable due



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         process and other requirements, and is the only notice to the Class Members of the
         Settlement that is required.


     40. Judge Michael H. Watson

         O’Donnell v. Fin. American Life Ins. Co., (August 24, 2018)
         No. 14-cv-01071 (S.D. Ohio):

         The Court finds that the Class Notice and the notice methodology implemented
         pursuant to this Settlement Agreement (as evidenced by the Declaration of Settlement
         Administrator Keough, JND Legal Administration): (1) constituted the best practicable
         notice; (2) constituted notice that was reasonably calculated, under the circumstances,
         to apprise Class Members of the terms of the Proposed Settlement, the available relief,
         the release of claims, their right to object or exclude themselves from the proposed
         Settlement, and their right to appear at the fairness hearing; (3) were reasonable and
         constitute due, adequate, and sufficient notice to all persons entitled to receive notice;
         and (4) met all applicable requirements of the Federal Rules of Civil Procedure, the
         Class Action Fairness Act, the United States Constitution (including the Due Process
         Clause), the Rules of the Court, and any other applicable law.


     41. Judge Timothy J. Corrigan

         Finerman v. Marriott Ownership Resorts, Inc., (August 15, 2018)
         No. 14-cv-1154-J-32MCR (M.D. Fla.):

         Notice was given by Mail in accordance with the Settlement Agreement and the
         Preliminary Approval Order. The Class Notice, Claim Form, Preliminary Approval Order,
         Petition for Attorney’s Fees, and Settlement Agreement (without exhibits) were also
         posted on the Settlement Website at www.cruisefaresettlement.com. These forms of
         class notice fully complied with the requirements of Rule 23(c)(2)(B) and due process,
         constituted the best notice practicable under the circumstances, and were due and
         sufficient notice to all persons entitled to notice of the settlement of this lawsuit.




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     42. Honorable Kenneth J. Medel

         Huntzinger v. Suunto Oy, (August 10, 2018)
         No. 37-2018-27159 (CU) (BT) (CTL) (Cal. Super. Ct.):

         The Court finds that the notice to the Class Members regarding settlement of this
         Action, including the content of the notices and method of dissemination to the Class
         Members in accordance with the terms of Settlement Agreement, constitute the best
         notice practicable under the circumstances and constitute valid, due and sufficient
         notice to all Class Members, complying fully with the requirements of California
         Code of Civil Procedure § 382, California Civil Code § 1781, California Rules of
         Court Rules 3.766 and 3.769(f), the California and United States Constitutions, and
         any other applicable law.


     43. Honorable Thomas M. Durkin

         In re Broiler Chicken Antitrust Litig., (June 22, 2018)
         No. 16-cv-8637 (N.D. Ill.):

         The proposed notice plan set forth in the Motion and the supporting declarations
         comply with Rule 23(c)(2)(B) and due process as it constitutes the best notice that is
         practicable under the circumstances, including individual notice vial mail and email
         to all members who can be identified through reasonable effort. The direct mail
         and email notice will be supported by reasonable publication notice to reach class
         members who could not be individually identified.


     44. Honorable Stanley R. Chesler

         Muir v. Early Warning Services, LLC, (June 13, 2018)
         No. 16-cv-00521 (D.N.J.):

         Notice to the Class required by Rule 23(e) of the Federal Rules of Civil Procedure
         has been provided in accordance with the Court’s Preliminary Approval Order,
         and such notice has been given in an adequate and sufficient manner; constitutes
         the best notice practicable under the circumstances; and satisfies Rule 23(e) and
         due process. The Court is informed the Mail Notice was sent by first class mail to



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         approximately 211 Settlement Class Members by JND Legal Administration, the
         third-party Settlement Administrator.


     45. Honorable Lewis A. Kaplan

         Cline v. TouchTunes Music Corp., (May 24, 2018)
         No. 14-CIV-4744 (LAK) (S.D.N.Y.):

         The Court finds that the Notice Program has been implemented by the Claims
         Administrator and Parties, and that such Notice Program, including of the utilized
         Notice Form, constitutes the best notice practicable under the circumstances and
         fully satisfied due process, the requirements of Rule 23 of the Federal Rules of Civil
         Procedure, and all other applicable laws.


     46. Judge Janet T. Neff

         Sullivan v. Wenner Media LLC, (May 22, 2018)
         No. 16−cv−00960−JTN−ESC (W.D. Mich.):

         The Settlement Administrator completed the delivery of Class Notice according to
         the terms of the Agreement. The Class Notice given by the Settlement Administrator
         to the Settlement Class, which set forth the principal terms of the Agreement and
         other matters, was the best practicable notice under the circumstances.


     47. Judge Maren E. Nelson

         Djoric v. Justin Brands, Inc., (March 12, 2018)
         No. BC574927 (Cal. Super. Ct.):

         Based on the number of claims submitted the Court concludes that the notice was
         adequate and the best available means under the circumstances.




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     48. Judge Federico A. Moreno

         Brna v. Isle of Capri Casinos and Interblock USA, LLC, (February 20, 2018)
         No. 17-cv-60144 (FAM) (S.D. Fla.):

         Class Counsel has filed with the Court a Declaration from JND Legal Administration,
         the independent third-party Settlement Administrator for the Settlement,
         establishing the Settlement Notice and Claim Form were delivered by email and
         mail to the class members on November 27, 2017 and December 4, 2017, the
         Settlement website was established on November 27, 2017, and Claim Forms
         were also available electronically on the website. Adequate notice was given to the
         Settlement Class Members in compliance with the Settlement Agreement and the
         preliminary approval order.


     49. Honorable Percy Anderson

         Nozzi v. Housing Authority for the City of Los Angeles, (February 15, 2018)
         No. CV 07-380 PA (FFMx) (C.D. Cal.):

         The notice given in this case was reasonably calculated to reach the Damages Class…
         Finally, a notice was published in the L.A. Times for three consecutive weeks on
         August 18, 2017, August 25, 2017, and September 1, 2017, and a 30-day internet
         advertising campaign was launched on Facebook, Instagram, and Twitter to inform
         Class Members about the settlement. (Keough Decl. ¶ 12.) The Court therefore
         concludes that the notice procedures satisfied the requirements of Due Process and
         Federal Rule of Civil Procedure 23(e).


     50. Judge Ann D. Montgomery

         In re Wholesale Grocery Prod. Antitrust Litig., (November 16, 2017)
         No. 9-md-2090 (ADM) (TNL) (D. Minn.):

         Notice provider and claims administrator JND Legal Administration LLC provided
         proof that mailing conformed to the Preliminary Approval Order in a declaration
         filed contemporaneously with the Motion for Final Approval of Class Settlement.
         This notice program fully complied with Fed. R. Civ. P. 23, satisfied the requirements



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   of due process, is the best notice practicable under the circumstances, and constituted due and
   adequate notice to the Class of the Settlement, Final Approval Hearing and other matters referred
   to in the Notice.


51. Honorable Robert S. Lasnik

   Gragg v. Orange Cab Co., (October 5, 2017)
   No. C12-0576RSL (W.D. Wash.):

   The Settlement Administrator completed the delivery of Class Notice according to the terms of the
   Agreement. The Class Notice given by the Settlement Administrator to the Settlement Class, which set
   forth the principal terms of the Agreement and other matters, was the best practicable notice under the
   circumstances…The Class Notice given to the Settlement Class Members satisfied the requirements of
   Federal Rule of Civil Procedure 23 and the requirements of constitutional due process.


52. Honorable Philip S. Gutierrez

   Harris v. Amgen, Inc., (April 4, 2017)
   No. CV 07-5442 PSG (PLAx) (C.D. Cal.):

   Class counsel retained JND to provide notice and administration services for this litigation. See generally
   Keough Decl. JND mailed 13,344 class action notices to class members by first-class mail on January
   14, 2017. See Keough Decl., ¶ 6. If the mailings returned undeliverable, JND used skip tracing to
   identify the most updated addresses for class members. Id. To date, JND reports than only 179 notices
   are undeliverable. Id. ¶ 7. Moreover, as of March 21, 2017, the deadline for filing objections, JND had
   received no objections to the final settlement agreement. The lack of objections is an indicator that
   class members find the settlement to be fair, reasonable, and adequate.




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IV.        CASE EXPERIENCE
           Ms. Keough has played an important role in hundreds of matters throughout her career.
           A partial listing of her notice and claims administration case work is provided below.

            CASE NAME                                      CASE NUMBER            LOCATION

            Adair v. Michigan Pain Specialist, PLLC        14-28156-NO            Mich. Cir.

            Adkins v. EQT Prod. Co.                        10-cv-00037-JPJ-PMS    W.D. Va.

            Adzhikosyan v. Denver Mgmt.                    BC648100               Cal. Super. Ct.

            Ahmed v. HSBC Bank USA, NA                     15-cv-2057-FMO-SPx     N.D. Ill.

            Allagas v. BP Solar Int’l, Inc.                14-cv-00560 (SI)       N.D. Cal.

            Amador v. Baca                                 10-cv-1649             C.D. Cal.

            Amin v. Mercedes-Benz USA, LLC                 17-cv-01701-AT         N.D. Ga.

            Andreas-Moses v. Hartford Fire Ins. Co.        17-cv-2019-Orl-37KRS   M.D. Fla.

            Anger v. Accretive Health                      14-cv-12864            E.D. Mich.

            Arthur v. Sallie Mae, Inc.                     10-cv-00198-JLR        W.D. Wash.

            Atkins v. Nat’l. Gen. Ins. Co.                 16-2-04728-4           Wash. Super. Ct.

            Atl. Ambulance Corp. v. Cullum & Hitti         MRS-L-264-12           N.J. Super. Ct.

            Backer Law Firm, LLC v. Costco Wholesale Corp. 15-cv-327 (SRB)        W.D. Mo.

            Baker v. Equity Residential Mgmt., LLC         18-cv-11175            D. Mass.

            Bankhead v. First Advantage Background         17-cv-02910-LMM-CCB    N.D. Ga.
            Services Corp.
            Barclays Dark Pool Sec. Litig.                 14-cv-5797 (VM)        S.D.N.Y.

            Barrett v. Nestle USA, Inc.                    18-cv-167-DPM          E.D. Ark.

            Belanger v. RoundPoint Mortgage Servicing      17-cv-23307-MGC        S.D. Fla.

            Beltran v. InterExchange, Inc.                 14-cv-3074             D. Colo.

            Bergman v. Thelen LLP                          08-cv-05322-LB         N.D. Cal.

            Bey v. Encore Health Res.                      19-cv-00060            E.D. Tex.

            BlackRock Core Bond Portfolio v. Wells Fargo   65687/2016             N.Y. Super. Ct.

            Blasi v. United Debt Serv., LLC                14-cv-0083             S.D. Ohio

            Blocher v. Landry's Inc.                       14-cv-03213-MSS-JSS    M.D. Fla.

            Bobo v. LM Wind Power Blades (ND), Inc.        18-cv-230-DPM          E.D. Ark.




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      CASE NAME                                       CASE NUMBER              LOCATION

      Bollenbach Enters. Ltd. P’ship. v. Oklahoma     17-cv-134                W.D. Okla.
      Energy Acquisitions
      Boskie v. Backgroundchecks.com                  2019CP3200824            S.C. C.P.

      Boyd v. RREM Inc., d/b/a Winston                2019-CH-02321            Ill. Cir. Ct.

      Bradley v. Honecker Cowling LLP                 18-cv-01929-CL           D. Or.

      Briones v. Patelco Credit Union                 RG 16805680              Cal. Super. Ct.

      Brna v. Isle of Capri Casinos                   17-cv-60144 (FAM)        S.D. Fla.

      Broussard v. Stein Mart, Inc.                   16-cv-03247              S.D. Tex.

      Browning v. Yahoo!                              C04-01463 HRL            N.D. Cal.

      Call v. Shutterstock                            SCV-262841               Cal. Super. Ct.

      Calvert v. Xcel Energy                          17-cv-02458-RBJ          D. Colo.

      Cambridge v. Sheetz, Inc.                       17-cv-01649-JEJ          M.D. Pa.

      Careathers v. Red Bull North America, Inc.      13-cv-369 (KPF)          S.D.N.Y.

      Carmack v. Amaya Inc.                           16-cv-1884               D.N.J.

      Carson v. Cheers                                17-2-29644-9             Wash. Super. Ct.

      Castro v. Cont’l Airlines, Inc.                 14-cv-00169              C.D. Cal.

      Cecil v. BP America Prod. Co.                   16-cv-410 (RAW)          E.D. Okla.

      Chamblee v. TerraForm Power, Inc.               16 MD 2742 (PKC)(AJP)    S.D.N.Y.

      Chanve c. E.I. Du Pont De Nemours               16-cv-00376-MAC-ZJH      E.D. Tex.

      Chavez v. Our Lady of Lourdes Hosp.             12-2-50575-9             Wash. Super. Ct.

      Chester v. TJX Cos.                             15-cv-1437 (ODW) (DTB)   C.D. Cal.

      Chieftain Royalty Co. v. Marathon Oil Co.       17-cv-334                E.D. Okla.

      Chieftain Royalty Co. v. Newfield Exploration   17-cv-00336-KEW          E.D. Okla.
      Mid-Continent Inc.
      Chieftain Royalty Co. v. XTO Energy, Inc.       11-cv-00029-KEW          E.D. Okla.

      City of Los Angeles v. Bankrate, Inc.           14-cv-81323 (DMM)        S.D. Fla.

      Cline v Sunoco, Inc.                            17-cv-313-JAG            E.D. Okla.

      Cline v. TouchTunes Music Corp.                 14-CIV-4744 (LAK)        S.D.N.Y.

      Cobell v. Salazar                               96-cv-1285 (TFH)         D.D.C.

      Common Ground Healthcare Coop. v. United States 17-877C                  F.C.C.

      Connolly v. Umpqua Bank                         C15-517 (TSZ)            W.D. Wash.

      Corona v. Sony Pictures Entm’t Inc.             14−CV−09600−RGK−E        C.D. Cal.




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      CASE NAME                                      CASE NUMBER                      LOCATION

      Courtney v. Avid Tech., Inc.                   13-cv-10686-WGY                  D. Mass.

      DASA Inv., Inc. v. EnerVest Operating LLC      18-cv-00083-SPS                  E.D. Okla.

      Davis v. Carfax, Inc.                          CJ-04-1316L                      D. Okla.

      Dearth v. Hartford Fire Ins. Co.               16-cv-1603-Orl-37LRH             M.D. Fla.

      DeFrees v. Kirkland and U.S. Aerospace, Inc.   CV 11-04574                      C.D. Cal.

      del Toro Lopez v. Uber Techs., Inc.            14-cv-6255                       N.D. Cal.

      Delgado v. America's Auto Auction              2019-CH-04164                    Ill. Cir. Ct.

      Delkener v. Cottage Health Sys.                30-2016-847934 (CU) (NP) (CXC)   Cal. Super. Ct.

      DeMarco v. AvalonBay Communities, Inc.         15-cv-00628-JLL-JAD              D.N.J.

      De Santiago v. California Respite Care, Inc.   CIVDS1807688                     Cal. Super. Ct.

      Diaz v. Lost Dog Pizza, LLC                    17-cv-02228-WJM-NYW              D. Colo.

      Diel v Salal Credit Union                      19-2-10266-7 KNT                 Wash. Super. Ct.

      Dixon v. Grunt Style, LLC                      2019 CH 01981                    Ill. Cir. Ct.

      Dixon v. Zabka                                 11-cv-982                        D. Conn.

      Djoric v. Justin Brands, Inc.                  BC574927                         Cal. Super. Ct.

      Doan v. CORT Furniture Rental Corp.            30-2017-00904345-CU-BT-CXC       Cal. Super. Ct.

      Doan v. State Farm Gen. Ins. Co.               1-08-cv-129264                   Cal. Super. Ct.

      Donnenfield v. Petro, Inc.                     17-cv-02310                      E.D.N.Y.

      Dougherty v. Barrett Bus. Serv., Inc.          17-2-05619-1                     Wash. Super. Ct.

      Doughtery v. QuickSIUS, LLC                    15-cv-06432-JHS                  E.D. Pa.

      Dover v. British Airways, PLC (UK)             12-cv-5567                       E.D.N.Y.

      Dozier v. Club Ventures Invs. LLC              17BK10060                        S.D.N.Y.

      Duran v. DirecTV                               4850 (1-14-CV-274709)            Cal. Super. Ct.

      Dwyer v. Snap Fitness, Inc.                    17-cv-00455-MRB                  S.D. Ohio

      Easley v. The Reserves Network, Inc.           16-cv-544                        N.D. Ohio

      Edwards v. Arkansas Cancer Clinic, P.A.        35CV-18-1171                     Ark. Cir. Ct.

      Edwards v. Hearst Commc’ns., Inc.              15-cv-9279 (AT) (JLC)            S.D.N.Y.

      EEOC v. Patterson-UTI Drilling Co. LLC         5-cv-600 (WYD) (CBS)             D. Colo.

      Erica P. John Fund, Inc. v. Halliburton Co.    02-cv-1152                       N.D. Tex.

      Espenshade v. Wilcox & Wilcox                  BC647489                         Cal. Super. Ct.

      Essex v. The Children's Place, Inc.            15-cv-5621                       D.N.J.

      Expedia Hotel Taxes & Fees Litig.              05-2-02060-1 (SEA)               Wash. Super. Ct.




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      CASE NAME                                       CASE NUMBER                  LOCATION

      Family Med. Pharmacy LLC v. Impax Labs., Inc.   17-cv-53                     S.D. Ala.

      Family Med. Pharmacy LLC v. Trxade Group Inc. 15-cv-00590-KD-B               S.D. Ala.

      Farmer v. Bank of Am.                           11-cv-00935-OLG              W.D. Tex.

      Felix v. WM. Bolthouse Farms, Inc.              19-cv-00312-AWI-JLT          E.D. Cal.

      Fielder v. Mechanics Bank                       BC721391                     Cal. Super. Ct.

      Finerman v. Marriott Ownership Resorts, Inc.    14-cv-1154-J-32MCR           M.D. Fla.

      Fitzgerald v. Lime Rock Res.                    CJ-2017-31                   Okla. Dist. Ct.

      Folweiler v. Am. Family Ins. Co.                16-2-16112-0                 Wash. Super. Ct.

      Fosbrink v. Area Wide Protective, Inc.          17-cv-1154-T-30CPT           M.D. Fla.

      Fresno County Employees Ret. Assoc. v.          16-cv-1820 (JGK)             S.D.N.Y.
      comScore Inc.
      Frost v. LG Elec. MobileComm U.S.A., Inc.       37-2012-00098755-CU-         Cal. Super. Ct.
                                                      PL-CTL

      FTC v. Consumerinfo.com                         SACV05-801 AHS (MLGx)        C.D. Cal.

      Gazda v. Serve U Brands, Inc.                   E2019009233                  N.Y. Super. Ct.

      Gehrich v. Howe                                 37-2018-00041295-CU-SL-CTL   N.D. Ga.

      Gervasio v. Wawa, Inc.                          17-cv-245 (PGS) (DEA)        D.N.J.

      Gonzalez-Tzita v. City of Los Angeles           16-cv-00194                  C.D. Cal.

      Gormley v. magicJack Vocaltec Ltd.              16-cv-1869                   S.D.N.Y.

      Gragg v. Orange Cab Co.                         C12-0576RSL                  W.D. Wash.

      Granados v. County of Los Angeles               BC361470                     Cal. Super., Ct.

      Grant v. Ballard Mgmt, Inc.                     18-2-54890-0 SEA             Wash. Super. Ct.

      Hahn v. Hanil Dev., Inc.                        BC468669                     Cal. Super. Ct.

      Hall v. Dominion Energy                         18-cv-00321-JAG              E.D. Va.

      Halperin v. YouFit Health Clubs                 18-cv-61722-WPD              S.D. Fla.

      Hanks v. Lincoln Life & Annuity Co. of New York 16-cv-6399 PKC               S.D.N.Y.

      Harris v. Amgen, Inc.                           CV 07-5442 PSG (PLAx)        C.D. Cal.

      Harris v. Chevron U.S.A., Inc.                  15-cv-00094                  W.D. Okla.

      Harrison v. Strategic Experiential Group        RG16 807555                  Cal. Super. Ct.

      Hayes v. Saddle Creek Corp.                     19-cv-01143-SMY              S.D. Ill.

      Health Republic Ins. Co. v. United States       16-259C                      F.C.C.

      Hernandez v. Experian Info. Solutions, Inc.     05-cv-1070 (DOC) (MLGx)      C.D. Cal.

      Hernandez v. Great Western Pacific Inc.         18-2-08788-1 SEA             Wash. Super. Ct.



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      CASE NAME                                                   CASE NUMBER                     LOCATION

      Hernandez v. United States Cold Storage of                  S-1500-CV-282297-SPC            Cal. Super. Ct.
      California, Inc.
      Hines v. CBS Television Studios                             17-cv-7882 (PGG)                S.D.N.Y.

      Holt v. Murphy Oil USA, Inc.                                17-cv-911                       N.D. Fla.

      Hopwood v. Nuance Commc’n, Inc.                             4:13-cv-02132-YGR               N.D. Cal.

      Howard v. Southwest Gas Corp.                               18-cv-01035-JAD-VCF             D. Nev.

      Howell v. Checkr, Inc.                                      17-cv-4305                      N.D. Cal.

      Huntzinger v. Suunto Oy                                     37-2018-27159 (CU) (BT) (CTL)   Cal. Super. Ct.

      Ilano v. Wells Fargo                                        30-2019-0199146-CU-OE-CXC       Cal. Super. Ct.

      In re Air Cargo Shipping Servs. Antitrust Litig.            06-md-1775 (JG) (VVP)           E.D.N.Y.

      In re Akorn, Inc. Sec. Litig.                               15-c-1944                       N.D. Ill.

      In re Am. Express Fin. Advisors Sec. Litig.                 04 Civ. 1773 (DAB)              S.D.N.Y.

      In re AMR Corp. (American Airlines Bankr.)                  1-15463 (SHL)                   S.D.N.Y.

      In re Auction Houses Antitrust Litig.                       00-648 (LAK)                    S.D.N.Y.

      In re AudioEye, Inc. Sec. Litig.                            15-cv-163 (DCB)                 D. Ariz.

      In re Banner Health Data Breach Litig.                      16-cv-02696                     D. Ariz.

      In re Broiler Chicken Antitrust Litig.                      16-cv-08637                     N.D. Ill.

      In re Classmates.com                                        C09-45RAJ                       W.D. Wash.

      In re ConAgra Foods Inc.                                    11-cv-05379-CJC-AGR             C.D. Cal.

      In re CRM Holdings, Ltd. Sec. Litig.                        10-cv-00975-RPP                 S.D.N.Y.

      In re Equifax Inc. Customer Data Sec. Breach Litig. 17-md-2800-TWT                          N.D. Ga.

      In re General Motors LLC Ignition Switch Litig.             2543 (MDL)                      S.D.N.Y.

      In re Global Tel*Link Corp. Litig.                          14-CV-5275                      W.D. Ark.

      In re GoPro, Inc. Shareholder Litig.                        CIV537077                       Cal. Super. Ct.

      In re Guess Outlet Store Pricing                            JCCP No. 4833                   Cal. Super. Ct.

      In re Initial Pub. Offering Sec. Litig. (IPO Sec. Litig.)   No. 21-MC-92                    S.D.N.Y.

      In re Intuit Data Litig.                                    15-CV-1778-EJD                  N.D. Cal.

      In re J.P. Morgan Stable Value Fund ERISA Litig.            12-cv-02548-VSB                 S.D.N.Y.

      In re Legacy Reserves LP Preferred Unitholder Litig. 2018-225 (JTL)                         Del. Ch.

      In re LIBOR-Based Fin. Instruments Antitrust Litig.         11-md-2262 (NRB)                S.D.N.Y.

      In re Mercedes-Benz Emissions Litig.                        16-cv-881 (KM) (ESK)            D.N.J.

      In re MyFord Touch Consumer Litig.                          13-cv-3072 (EMC)                N.D. Cal.




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      CASE NAME                                            CASE NUMBER              LOCATION

      In re Navistar MaxxForce Engines Mktg., Sales        14-cv-10318              N.D. Ill.
      Practices and Products
      In re Oil Spill by the Oil Rig “Deepwater Horizon”   2179 (MDL)               E.D. La.
      in the Gulf of Mexico, on April 20, 2010
      In re PHH Lender Placed Ins. Litig.                  12-cv-1117 (NLH) (KMW)   D.N.J.

      In re Pokémon Go Nuisance Litig.                     16-cv-04300              N.D. Cal.

      In re Polyurethane Foam Antitrust Litig.             10-md-196 (JZ)           N.D. Ohio

      In re Pre-Filled Propane Tank Antitrust Litig.       14-md-02567              W.D. Mo.

      In re Processed Egg Prod. Antitrust Litig.           08-MD-02002              E.D. Pa.

      In re Resistors Antitrust Litig.                     15-cv-03820-JD           N.D. Cal.

      In re Resonant Inc. Sec. Litig.                      15-cv-1970 (SJO) (MRW)   C.D. Cal.

      In re Sheridan Holding Co. I, LLC                    20-31884 (DRJ)           Bankr. S.D. Tex.

      In re Stericycle, Inc. Sec. Litig.                   16-cv-07145              N.D. Ill.

      In re Stryker Rejuvenate and ABG II Hip Implant 13-md-2441                    D. Minn.
      Products Liab. Litig.
      In re SunTrust Banks, Inc. ERISA Litig.              08-cv-03384-RWS          N.D. Ga.

      In re Tenet Healthcare Corp. Sec.                    CV-02-8462-RSWL (Rzx)    C.D. Cal.

      In re The Engle Trust Fund                           94-08273 CA 22           Fla. 11th Cir. Ct.

      In re Ubiquiti Networks Sec. Litig.                  18-cv-01620 (VM)         S.D.N.Y.

      In re Unilife Corp. Sec. Litig.                      16-cv-3976 (RA)          S.D.N.Y.

      In re Washington Mut. Inc. Sec. Litig.               8-md-1919 (MJP)          W.D. Wash.

      In re Webloyalty.com, Inc. Mktg. & Sales             06-11620-JLT             D. Mass.
      Practices Litig.
      In re Wholesale Grocery Prod. Antitrust Litig.       9-md-2090 (ADM) (TNL)    D. Minn.

      In re Williams Sec. Litig.                           02-CV-72-SPF (FHM)       N.D. Okla.

      In re Yahoo! Inc. Sec. Litig.                        17-cv-373                N.D. Cal.

      Ivery v. RMH Illinois, LLC and RMH Franchise         17-CIV-1619              N.D. Ill.
      Holdings, Inc.
      Jerome v. Elan 99, LLC                               2018-02263               Tx. Dist. Ct.

      Jeter v. Bullseye Energy, Inc.                       12-cv-411 (TCK) (PJC)    N.D. Okla.

      Johnson v. MGM Holdings, Inc.                        17-cv-00541              W.D. Wash.

      Jones v. Encore Health Res.                          19-cv-03298              S.D. Tex.

      Jordan v. Things Remembered, Inc.                    114CV272045              Cal. Super. Ct.

      Kellgren v. Petco Animal Supplies, Inc.              13-cv-644 (L) (KSC)      S.D. Cal.




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      CASE NAME                                            CASE NUMBER              LOCATION

      Kent v. R.L. Vallee, Inc.                            617-6-15                 D. Vt.

      Kissel v. Code 42 Software Inc.                      15-1936 (JLS) (KES)      C.D. Cal.

      Komesar v. City of Pasadena                          BC 677632                Cal. Super. Ct.

      Konecky v Allstate                                   CV-17-10-M-DWM           D. Mont.

      Kramer v. DuPont, USA                                17L2                     Ill. Cir. Ct.

      Krueger v. Ameriprise Fin., Inc.                     11-cv-02781 (SRN/JSM)    D. Minn.

      Langan v. Johnson & Johnson Consumer Co.             13-cv-01471              D. Conn.

      Lee v. Hertz Corp., Dollar Thrifty Auto. Grp. Inc.   CGC-15-547520            Cal. Super. Ct.

      Linderman v. City of Los Angeles                     BC650785                 Cal. Super. Ct.

      Lindsay v. Cutter Wireline Serv., Inc.               7-cv-01445 (PAB) (KLM)   D. Colo.

      Linneman v. Vita-Mix Corp.                           15-cv-748                S.D. Ohio

      Lion Biotechnologies Sec. Litig.                     17-cv-02086-SI           N.D. Cal.

      Liotta v. Wolford Boutiques, LLC                     16-cv-4634               N.D. Ga.

      Lippert v. Baldwin                                   10-cv-4603               N.D. Ill.

      Lloyd v. CVB Fin. Corp.                              10-cv-6256 (CAS)         C.D. Cal.

      Loblaw Card Program                                  Remediation Program

      Mabrey v. Autovest                                   CGC-18-566617            Cal. Super. Ct.

      Machado v. Endurance Int'l Grp. Holdings Inc.        15-cv-11775-GAO          D. Mass.

      Malin v. Ambry Gentics Corp.                         30-2018-00994841-CU-     Cal. Super. Ct.
                                                           SL-CXC

      Martinez v. Rial de Minas, Inc.                      16-cv-01947              D. Colo.

      McClellan v. Chase Home Fin.                         12-cv-01331-JGB-JEM      C.D. Cal.

      McClintock v. Continuum Producer Serv., LLC          17-cv-00259-JAG          E.D. Okla.

      McFarland v. Swedish Med. Ctr.                       18-2-02948-1 SEA         Wash. Super. Ct.

      McGann v. Schnuck Markets Inc.                       1322-CC00800             Mo. Cir. Ct.

      McKibben v. McMahon                                  14-2171 (JGB) (SP)       C.D. Cal.

      McKnight Realty Co. v. Bravo Arkoma, LLC             17-CIV-308 (KEW)         E.D. Okla.

      McNeal v. AccentCare, Inc.                           4:15cv03304              N.D. Cal.

      McNeill v. Citation Oil & Gas Corp.                  17-CIV-121 (KEW)         E.D. Okla.

      McWilliams v. City of Long Beach                     BC361469                 Cal. Super. Ct.

      Mild v. PPG Indus., Inc.                             18-cv-04231              C.D. Cal.

      Millien v. Madison Square Garden                     17-cv-04000              S.D.N.Y.




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      CASE NAME                                         CASE NUMBER                LOCATION

      Milstead v. Robert Fiance Beauty Sch., Inc.       CAM-L-328-16               N.J. Super. Ct.

      Moeller v. Advance Magazine Publishers, Inc.      15-cv-05671 (NRB)          S.D.N.Y.

      Mohamed v. SkyHop Global LLC                      18-2-54565-0-KNT           Wash. Super. Ct.

      Mojica v. Securus Techs., Inc.                    14-cv-5258                 W.D. Ark.

      Molnar v. 1-800-Flowers Retail, Inc.              BC 382828                  Cal. Super. Ct.

      Monteleone v. Nutro Co.                           14-cv-00801-ES-JAD         D.N.J.

      Moodie v. Maxim HealthCare Servs.                 14-cv-03471-FMO-AS         C.D. Cal.

      Morel v. Lions Gate Entm’t Inc.                   16-cv-1407 (JFC)           S.D.N.Y.

      Moss v. United Airlines                           16-cv-08496                N.D. Ill.

      Muir v. Early Warning Services, LLC               16-cv-00521                D.N.J.

      Mylan Pharm., Inc. v. Warner Chilcott Pub. Ltd.   12-3824                    E.D. Pa.

      Nasseri v. Cytosport, Inc.                        BC439181                   Cal. Super. Ct.

      Nesbitt v. Postmates, Inc.                        CGC-15-547146              Cal. Super. Ct.

      New Orleans Tax Assessor Project                  Tax Assessment Program

      New York v. Steven Croman                         450545/2016                N.Y. Super. Ct.

      NMPA Late Fee Program Groups I-IVA                Remediation Program        CRB

      Noland-Moore v. City of Cleveland                 18-cv-2730                 N.D. Ohio

      Nozzi v. Housing Authority of the City of Los Angeles CV 07-0380 PA (FFMx)   C.D. Cal.

      Nwabueza v. AT&T                                  C 09-01529 SI              N.D. Cal.

      Nwauzor v. GEO Group, Inc.                        17-cv-05769                W.D. Wash.

      Ortega v. Borton & Sons, Inc.                     17-2-03005-39              Wash. Super. Ct.

      O'Donnell v. Fin. American Life Ins. Co.          14-cv-01071                S.D. Ohio

      Ortez v. United Parcel Serv., Inc.                17-cv-01202 (CMA) (SKC)    D. Colo.

      Paggos v. Resonant, Inc.                          15-cv-01970-SJO            C.D. Cal.

      Palazzolo v. Fiat Chrysler Auto. NV               16-cv-12803                E.D. Mich.

      Palmateer v. Les Schwab                           17CV22189                  Or. Cir. Ct.

      Parker v. Time Warner Entm’t Co.                  239 F.R.D. 318             E.D.N.Y.

      Parker v. Universal Pictures                      16-cv-1193-CEM-DCI         M.D. Fla.

      Parmelee v. Santander Consumer USA Holdings Inc. 16-cv-783-K                 N.D. Tex.

      Pauley v. CF Ent.                                 13-CV-08011-RGK-CW         C.D. Cal.

      Pemberton v. Nationstar Mortgage LLC              14-cv-1024-BAS (MSB)       S.D. Cal.

      Perez v. DIRECTV                                  8:16-cv-01440-JLS-DFM      C.D. Cal.




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      CASE NAME                                        CASE NUMBER                      LOCATION

      Petersen v. Costco Wholesale Co.                 13-cv-01292-DOC-JCG              C.D. Cal.

      Pickett v. Simos Insourcing Solutions Corp.      1:17-cv-01013                    N.D. Ill.

      Pierce v Anthem Ins. Cos.                        15-cv-00562-TWP-TAB              S. D. Ind.

      Podawiltz v. Swisher Int’l, Inc.                 16CV27621                        Or. Cir. Ct.

      Press v. J. Crew Group, Inc.                     56-2018-512503 (CU) (BT) (VTA)   Cal. Super. Ct.

      Purcell v. United Propane Gas, Inc.              14-CI-729                        Ky. 2nd Cir.

      Ralph v. Get Fresh Produce, Inc.                 2019-CH-02324                    Ill. Cir. Ct.

      Ramos v. Hopele of Fort Lauderdale, LLC          17-cv-62100                      S.D. Fla.

      Reirdon v. Cimarex Energy Co.                    16-CIV-113 (KEW)                 E.D. Okla.

      Rhea v. Apache Corp.                             14-cv-00433-JH                   E.D. Okla.

      Rice v. Insync                                   30-2014-00701147-CU-NP-CJC       Cal. Super. Ct.

      Rice-Redding v. Nationwide Mut. Ins. Co.         18-cv-01203                      N.D. Ga.

      Rich v. EOS Fitness Brands, LLC                  RIC1508918                       Cal. Super. Ct.

      Rollo v. Universal Prop. & Cas. Ins.             2018-027720-CA-01                Fla. Cir. Ct.

      Roman v. Antelope Valley Newspapers, Inc.        BC382639                         Cal. Super. Ct.

      Rotatori v. TGI Fridays                          14-0081-B                        Mass. Super. Ct.

      Roth v. Bellevue Club                            19-2-07780-8                     Wash. Super. Ct.

      Routh v. SEIU Healthcare 775NW                   14-cv-00200                      W.D. Wash.

      Rozeboom v. Dietz & Watson                       17-cv-01266-RAJ                  W.D. Wash.

      Ruppel v. Consumers Union of United States, Inc. 16-cv-2444 (KMK)                 S.D.N.Y.

      Saccoccio v. JP Morgan Chase                     13-cv-21107                      S.D. Fla.

      San Antonio Fire & Police Pension Fund v. Dole   15-cv-1140 (LPS)                 E.D. Del.
      Food Co.
      Sanders v. Global Research Acquisition, LLC      18-cv-00555                      M.D. Fla.

      Sanders v The CJS Solutions Group, LLC           17-cv-03809                      S.D.N.Y.

      Schlesinger v. Ticketmaster                      BC304565                         Cal. Super. Ct.

      Schourup v. Private Label Nutraceuticals, LLC    2015cv01026                      C.D. Cal.

      Schwartz v. Intimacy in New York, LLC            13-cv-5735 (PGG)                 S.D.N.Y.

      Schwartz v. Opus Bank                            16-cv-7991 (AB) (JPR)            C.D. Cal.

      SEB Inv. Mgmt. AB v. Endo Int'l PLC              17-cv-3711-TJS                   E.D. Pa.

      Seegert v. P.F. Chang's China Bistro             37-2017-00016131-CU-MC-CTL       Cal. Super. Ct.

      Soderstrom v. MSP Crossroads Apartments LLC      16-cv-233 (ADM) (KMM)            D. Minn.




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      CASE NAME                                       CASE NUMBER               LOCATION

      Solano v. Amazon Studios LLC                    17-cv-01587 (LGS)         S.D.N.Y.

      Sonner v. Schwabe North America, Inc.           15-cv-01358 VAP (SPx)     C.D. Cal.

      Soto v. Diakon Logistics (Delaware), Inc.       08-cv-33-L(WMC)           S.D. Cal.

      Speed v. JMA Energy Co., LLC                    CJ-2016-59                Okla. Dist. Ct.

      Stanley v. Capri Training Ctr.                  ESX-L-1182-16             N.J. Super. Ct.

      Steele v. PayPal, Inc.                          05-CV-01720 (ILG) (VVP)   E.D.N.Y.

      Stewart v. Early Warning Serv., LLC             18-cv-3277                D.N.J.

      Stillman v. Clermont York Assocs. LLC           603557/09E                N.Y. Super. Ct.

      Stretch v. Montana                              DV-04-713 (A)             Mont. 11th Dist. Ct.

      Strickland v. Carrington Mortgage Services, LLC 16-cv-25237               S.D. Fla.

      Strougo v. Lannett Co.                          18-cv-3635                E.D. Pa.

      Stuart v. State Farm Fire & Cas. Co.            14-cv-04001               W.D. Ark.

      Sudunagunta v. NantKwest, Inc.                  16-cv-01947-MWF-JEM       C.D. Cal.

      Sullivan v Wenner Media LLC                     16−cv−00960−JTN−ESC       W.D. Mich.

      Swinton v. SquareTrade, Inc.                    18-CV-00144-SMR-SBJ       S.D. Iowa

      Szafarz v. United Parcel Serv., Inc.            SUCV2016-2094-BLS2        Mass. Super. Ct.

      Terrell v. Costco Wholesale Corp.               16-2-19140-1-SEA          Wash. Super. Ct.

      Timberlake v. Fusione, Inc.                     BC 616783                 Cal. Super. Ct.

      Tkachyk v. Traveler’s Ins.                      16-28-m (DLC)             D. Mont.

      T-Mobile Remediation Program                    Remediation Program

      Tolliver v. Avvo, Inc.                          16-2-5904-0 (SEA)         Wash. Super. Ct.

      Townes, IV v. Trans Union, LLC                  04-1488-JJF               D. Del.

      Townsend v. G2 Secure Staff                     18STCV04429               Cal. Super. Ct.

      Trepte v. Bionaire, Inc.                        BC540110                  Cal. Super. Ct.

      Tschosik v. Diamond Freight Sys.                16-2-01247-1              Wash. Super. Ct.

      Tyus v. Gen. Info. Solutions LLC                2017CP3201389             S.C. C.P.

      United States v. City of Austin                 14-cv-00533-LY            W.D. Tex.

      United States v. City of Chicago                16-c-1969                 N.D. Ill.

      United States v. Consol. City of Jacksonville   170-17M-393               U.S. D.O.J.

      United States v. Greyhound Lines, Inc.          16-67-RGA                 D. Del.

      USC Student Health Ctr. Settlement              18-cv-04258-SVW           C.D. Cal.

      Viesse v. Saar's Inc.                           17-2-7783-6 (SEA)         Wash. Super. Ct.




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      CASE NAME                                  CASE NUMBER               LOCATION

      Wahl v. Yahoo! Inc.                        17-cv-2745 (BLF)          N.D. Cal.

      Walton v. AT&T Servs., Inc.                15-cv-3653 (VC)           N.D. Cal.

      Weber v. KASA Delivery LLC                 16-2-13761-0 SEA          Wash. Super. Ct.

      WellCare Sec. Litig.                       07-cv-01940-VMC-EAJ       M.D. Fla.

      Williams v. Children's Mercy Hosp.         1816-CV 17350             Mo. Cir. Ct.

      Williams v. Naples Hotel Group, LLC        18-cv-422-Orl-37-DCI      M.D. Fla.

      Williams v. Weyerhaeuser Co.               995787                    Cal. Super. Ct.

      Wills v. Starbucks Corp.                   17-cv-03654               N.D. Ga.

      Wilson v. LSB Indus., Inc.                 15-cv-07614-RA-GWG        S.D.N.Y.

      Wood v. AmeriHealth Caritas Serv.          19-2194                   E.D. Pa.

      Wornicki v. Brokerpriceopinion.com, Inc.   13-cv-03258 (PAB) (KMT)   D. Colo.

      Wright v. Lyft, Inc.                       14-cv-00421-BJR           W.D. Wash.

      Young v. World Wide Tech., LLC             2019-L-001728             Ill. 13th Cir. Ct.




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                    EXHIBIT B
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     Blue Cross Blue Shield Settlement
               NOTICE PLAN
    NOTICE PLAN OBJECTIVE
The objective of the proposed Notice Plan is to provide the best notice practicable, consistent with
the methods and tools employed in other court-approved notice programs. The Federal Judicial
Center’s (FJC) Judges’ Class Action Notice and Claims Process Checklist and Plain Language
Guide considers a Notice Plan with a high reach (above 70%) effective. 1


    CLASS DEFINITION
The Settlement Agreement provides for two proposed Settlement Classes, a Damages Class
(which includes a Self-Funded Sub-Class) and an Injunctive Relief Class (referred to collectively
as the “Class Members”).

     •    Damages Class: Includes all Individual Members (excluding dependents and
          beneficiaries), Insured Groups (including employees, but excluding non-employee
          Members), and Self-Funded Accounts (including employees, but excluding non-employee
          Members) that purchased or were enrolled in a Blue-Branded Commercial Health Benefit
          Product (unless the person’s or entity’s only Blue-Branded Commercial Health Benefit
          Product during the Settlement Class Period was a stand-alone vision or dental product)
          sold, underwritten, insured, administered, or issued by any Settling Individual Blue Plan
          from February 7, 2008 through October 16, 2020 (“Settlement Class Period”), except for
          members of the Self-Funded Sub-Class, for whom the Class Period is September 1, 2015
          through October 16, 2020.
          Excluded from the Damages Class are Government Accounts (and individuals covered
          under them), Medicare Accounts of any kind, Settling Defendants themselves, and any
          parent or subsidiary of any Settling Defendant (and their covered or enrolled employees).
          Also excluded from the Damages Class are Opt Outs, the Judge presiding over this matter,
          and any members of his judicial staff, to the extent such staff were covered by a
          Commercial Health Benefit Product not purchased by a Government Account during the
          Settlement Class Period.
     •    Self-Funded Sub-Class: Includes Self-Funded Accounts and their employees. It
          encompasses any account, employer, health benefit plan, ERISA plan, non-ERISA plan,
          or group, including all sponsors, administrators, fiduciaries, and Members thereof, that
          purchased, was covered by, participated in, or was enrolled in a Self-Funded Health
          Benefit Plan from September 1, 2015 through October 16, 2020 (“Sub-Class Settlement

1Reach is the percentage of a specific population group exposed to a media vehicle or a combination of media vehicles
containing a notice at least once over the course of a campaign. Reach factors out duplication, representing total
different/net persons.

                                                         1
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        Class Period"). A Self-Funded Health Benefit Plan is any Commercial Health Benefit
        Product other than Commercial Health Insurance, including administrative services only
        (“ASO”) contracts or accounts, administrative services contracts or accounts (“ASC”), and
        jointly administered administrative services contracts or accounts (“JAA”).
   •    For associational entities (e.g., trade associations, unions, etc.), this includes any member
        entity which is covered by, enrolled in, or included in the associational entity's Blue-
        Branded Commercial Health Benefit Product. A Self-Funded Account that purchases a
        Blue-Branded Self-Funded Health Benefit Plan and Blue-Branded stop-loss coverage
        remains a Self-Funded Account. For clarity, a Self-Funded Account also excludes all
        Government Accounts.
   •    Injunctive Relief Class: Includes all Individual Members, Insured Groups, Self-Funded
        Accounts, and Members that purchased or were enrolled in a Blue-Branded Commercial
        Health Benefit Product sold, underwritten, insured, administered, or issued by any Settling
        Individual Blue Plan during the applicable Settlement Class Period.


 CLASS INFORMATION
JND’s proposed Notice Plan was designed based on the following information:
   1. The precise number of Class Members is currently unknown but is estimated at tens of
      millions of members.
   2. Settling Defendants will be providing JND with direct contact information, where
      available, for the Damages Class. This contact information will be produced in accord
      with Paragraph 5 of the Settlement Agreement.
   3. A comprehensive media effort will effectively reach all Class Members.



 MEDIA RESOURCES

JND utilizes the most reputable advertising media research tools to ensure that the best media is
selected and that our reach calculations can withstand the most critical review and challenge. The
media research tools we utilized in our analysis and will use to implement the Notice Plan include:

   •    MRI | Simmons (MRI): JND uses MRI data to analyze the demographics and media
        usage of Class Members, as well as to determine the reach of our proposed print effort.
        MRI is a nationally accredited research firm that provides consumer demographics,
        product and brand usage, and audience/exposure in all forms of advertising media. MRI
        is the leading producer of media and consumer research in the United States.
   •    Comscore, Inc. (Comscore): JND uses Comscore data to not only analyze where Class
        Members are on the internet, but more importantly, for calculating the reach of our
        proposed digital effort. Comscore’s multi-reach platform allows us to analyze unduplicated
        audiences across desktop, smartphone, and tablet devices and to assess the efficiency
        and effectiveness of our proposed media plans by reducing waste and improving
        campaign performance across all devices.



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     •    Google Active View: At the time of implementation, our digital media placement experts
          will take the necessary steps to ensure that all notice placements appear exactly as
          planned, meeting our high standards of quality and positioning. Verification and monitoring
          will be used to enhance the digital buy ― For instance, Google Active View is accredited
          by the Media Rating Council (MRC) and will be used to measure viewable impressions
          across the web and in apps. Google Active View supports the Interactive Advertising
          Bureau (IAB) and MRC definition of viewability ― a minimum of 50% of the ad is in view
          for a minimum of one second for display ads.
     •    Trust Metrics: In addition to Google Active View, Trust Metrics will be used during the
          digital effort implementation process to ensure that the banner impressions are not served
          to poor quality sites and are only displayed on brand safe websites, further ensuring the
          greatest degree of visibility and dissemination to the Class Members. Sites that are
          deemed “unsafe” are blocked during implementation, using brand safety parameters such
          as site content and keywords.
     •    Nielsen: JND uses Nielsen to measure the reach of our tv and radio efforts. Nielsen
          currently manages more television audience measurement (TAM) panel households than
          any other international television audience ratings provider. Nielsen is the definitive source
          for comprehensive audio metrics and insights. Using a combination of listener panels and
          electronic measurement technology, Nielsen has been measuring radio tune-in since
          1936 and has been amplifying its capabilities ever since.


    TARGET ANALYSIS 2

JND analyzed the demographics and media usage of Class Members to determine how best to
reach them. MRI data was studied among adults 18 years of age or older (“Adults 18+”) who have
Blue Cross or Blue Shield medical insurance (“BCBS Insurance Members”).

MRI data indicates that most BCBS Insurance Members are: 25 years of age or older
(90%―however, given the class period, an even greater percentage are older today); white (83%);
homeowners (75%); from higher income households (73% have a household income of $60,000+);
educated (69% attended college or beyond); working full time (61%); and married (61%).

JND considered these key demographics when selecting media. For instance, Better Homes &
Gardens extends reach to homeowners, Sirius XM radio extends reach among the higher income
and educated demographic segments, and network morning news extends reach among older
age groups. Other media were selected for their broad-based reach offering (People, Google),
while others were selected to extend reach to a narrow audience (e.g., Spanish digital/radio,
syndicated radio in top African American markets, industry media).

MRI data also indicated that BCBS Insurance Members are active internet users, with 92% using
the internet and 69% visiting Facebook in a 30-day period. In terms of devices, 85% use their
cellphone or smartphone to access the internet.

Considering this data and the large diverse Class, a Notice Plan that uses multiple channels and
sources was created.

2
 Researching and analyzing the demographics and media usage of likely class members to assist in
determining the best media strategies for reaching them.

                                                    3
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 NOTICE PLAN STRATEGIES
Direct notice will be sent to all Damages Class Members for whom contact information is available.
Email notice will be sent to Damages Class Members who have provided their email addresses
to the Settling Defendants in the ordinary course of business with Damages Class Members.
Postcard notice will be sent to Damages Class Members for whom the Class Member Data does
not contain such an email address or for whom the email notice was deemed ultimately
undeliverable.
In addition to the direct notice effort, an extensive media campaign has been designed to reach
85% of all Settlement Class Members on its own. The media reach campaign includes digital,
print, radio and television:

   1. Digital: Digital ads will be served on the leading digital network (Google Display – “GDN”)
      and the top social network platform (Facebook).
   2. Print: Notice will be published in color once each in two popular consumer magazines
      (People and Better Homes & Gardens).
   3. Radio: ~9,700 30-second radio spots will broadcast through Sirius XM satellite radio, two
      premiere radio networks (iHeart Radio – Scope and Spectrum networks), highly rated
      syndicated programming in the top ten African American markets (e.g., Rickey Smiley,
      Steve Harvey), and two leading Spanish providers (Spanish Broadcasting System “SBS”
      and Univision Radio) in the top ten Hispanic markets. Additional audio streaming will be
      placed through Pandora and Spotify.
   4. Television: ~969 30-second television spots will broadcast on a variety of cable and
      syndicated networks, as well as network morning news programming.
A supplemental industry media campaign will extend reach beyond the 85% media reach plan,
particularly among entity Class Members. The proposed industry media includes the leading
professional social media platform (LinkedIn); digital ads served with top business websites and
two leading HR websites; and multiple placements in e-Newsletters targeting both business
owners and the HR industry.
Additional efforts include a third-party outreach effort, an internet search campaign and a
multichannel news release. A link to the settlement website will also be placed on BCBSA.com.
These efforts will extend notice beyond the 85% media reach plan.
The deliverable success rate of the Notice Program will be monitored, and data subsequently will
be used for a claims stimulation effort consisting of a targeted digital effort and a content update
to the multichannel news release. These efforts will remind Class Members of the approaching
claims deadline. The claims stimulation effort may be bolstered, if necessary.

      DIRECT NOTICE EFFORT                                       DETAILS

                                          •   Send email notice to Damages Class Members where
                                              the Settling Defendants have been provided email
                                              addresses in the ordinary course of business

                                          •   Send postcard notice to Damages Class Members for
                                              whom an email address is not in the data produced by
                                              the Settling Defendants or for whom email notice is
                                              returned as undeliverable


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            DIGITAL EFFORT                                                DETAILS

                                                •    Largest digital network comprised of more than two
                                                     million websites reaching 90% of internet users
                                                     worldwide
                                                •    Efficient at reaching vast audiences
                                                •    Targeting Adults 18+
                                                •    10% of impressions allocated to Spanish language
                                                     sites
                                                •    Served across all devices (desktop, laptop, tablet and
                                                     mobile), with an emphasis on mobile
                                                •    398 million impressions

                                                •    World's largest social networking site
                                                •    Over 223 million accounts in the U.S.
                                                •    Targeting Adults 18+
                                                •    10% of impressions allocated to Spanish speaking
                                                     accounts
                                                •    100% mobile newsfeed placements
                                                •    Served across mobile devices
                                                •    30 million impressions

                                                ~428 million impressions 3 over 10 weeks
 TOTAL
                                                (~ 10% allocated to Spanish)



             PRINT EFFORT                                                 DETAILS

                                                •   Weekly entertainment magazine
                                                •   Largest consumer magazine with a circulation of over
                                                    3.4 million and a readership of over 34.9 million
                                                •   Reaches 14% of Adults 18+
                                                •   Extends reach to a broad demographic segment,
                                                    including those who may not frequent the internet,
                                                    particularly older consumers
                                                •   One Full page color insertion


                                                •   Monthly lifestyle magazine
                                                •   Provides a circulation of over 7.6 million and a
                                                    readership of over 29.8 million
                                                •   Reaches 13% of Adults 18+
                                                •   Extends reach to older women, including those who
                                                    may not frequent the internet
                                                •   One Full page color insertion

 TOTAL                                          TWO Full page color insertions



3 Impressions or Exposures are the total number of opportunities to be exposed to a media vehicle or combination of

media vehicles containing a notice. Impressions are a gross or cumulative number that may include the same person
more than once. As a result, impressions can and often do exceed the population size.

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     RADIO EFFORT                                  DETAILS

                           •   One of the largest subscription service radio providers
                           •   Offers over 32.7 million subscribers, reaching over 65.4
                               million radio listeners
                           •   Includes programming such as Fox News, MSNBC,
                               HLN, Fox Business, Howard Stern, ESPN, NFL, Mad
                               Dog, Road Dog Trucking, Today Show, Comedy
                               Central Radio, Jeff & Larry's Comedy Roundup
                           •   ~1,100 spots

                           •   Top radio syndicator in the U.S.
                           •   245 million monthly listeners
                           •   THE SCOPE: ~575+ Station Affiliates; Dominant
                               Formats: AC/Adult Hits/Country; M-Su 5a-8p; 50%
                               Male / 50% Female; 28M Weekly Listenership
                           •   SPECTRUM: ~800+ Station Affiliates; Dominant
                               Formats: Country, as well as Urban Contemporary,
                               Gospel, Hip Hop, Jazz, Rhythmic CHR; M-Sun 6a-
                               12mid; 55% Male / 45% Female; 30M Weekly
                               Listenership
                           •   ~8,250 spots

                           •   Top music streaming service provider
                           •   96 million total U.S. subscribers
                           •   Listeners can tune into established genre stations,
                               other users' stations or create their own stations based
                               on their musical interests
                           •   Provides an interactive service whereas the user can
                               give a "thumbs up" or "thumbs down" to a musical track
                               which will determine whether similar songs should be
                               played, or even eliminate an artist from their station
                               altogether
                           •   ~5 million impressions

                           •   A leading digital music streaming service provider
                           •   Provides access to millions of songs, podcasts and
                               videos from artists all over the world
                           •   90 million monthly active users in the U.S. and 58.5
                               million ad supported users
                           •   ~5 million impressions

                           •   Targets top ten African Americans markets
                           •   Includes programming such as Rickey Smiley (stand-
                               up comedian and radio personality) and Steve Harvey
                               (host of his own morning show)
                           •   ~100 spots




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                             •   Target top ten Hispanic markets
                             •   Includes two dominant Hispanic radio providers (SBS
                                 and Univision Radio)
                             •   Broadcasts will be in Spanish
                             •   ~250 spots

                             ~9,700 :30 Broadcast Radio Spots
TOTAL
                             10 million audio impressions (Pandora/Spotify)




    TELEVISION EFFORT                                DETAILS




                             •   Cable TV spots purchased on a variety of networks
                             •   Includes a variety of news, sports, entertainment and
                                 lifestyle programming on leading cable networks
                             •   Broadens reach to a variety of demographic segments
                             •   ~925 spots




                             •   Syndicated television spots airing on a variety of shows
                                 such as Wheel of Fortune, Family Feud, Wendy
                                 Williams Show, Tamron Hall
                             •   Broadens reach to the African American population
                             •   ~20 spots




                             •   Network morning news spots purchased on leading
                                 morning news shows such as Good Morning America,
                                 Today Show and CBS This Morning
                             •   Extends reach to older segment of the Class
                             •   ~24 spots



TOTAL                        ~969 :30 Television Spots




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      ENTITY DIGITAL EFFORT 4                                         DETAILS

                                             •    Leading professional social network platform
                                             •    Targeting two key professional groups – HR
                                                  employees and executive staff
                                             •    Target #1:
                                                  o Job Seniority: Senior, Manager, Director, VP
                                                  o Member Skills: HR Consulting
                                                  o Member Groups: HR Specialist, HR Professionals,
                                                      Employee Benefits & HR, Employee Health &
                                                      Wellness, Insurance
                                                  o Company Industries: Human Resources
                                                  o Job Functions: Human Resources
                                             •    Target #2: CEO, Owner, and Partners
                                             •    Ads will be placed on the right-hand side or top of the
                                                  desktop feed
                                             •    Text ads serving 915,000 impressions

                                             •    Ads will be placed on leading business websites, e.g.:
                                                  o Yahoo Business
                                                  o CNBC.com
                                                  o FastCompany.com
                                                  o Forbes.com
                                                  o Bloomberg.com
                                                  o Entrepeneur.com
                                                  o WJS.com
                                                  o BusinessInsider.com
                                                  o AllBusiness.com
                                             •    Banner ads serving 1,000,000 impressions

                                             •    News and information source for the franchising
                                                  industry
                                             •    Popular features include franchisor and franchisee
                                                  success stories, family business matters and
                                                  interviews with celebrities involved in franchising
                                             •    4 digital placements in Franchise Times e-Newsletter
                                                  (issued 2x/month) – 26K sends each, 104,000 total
                                                  sends

                                             •    Connects with business owners, creators and thought
                                                  leaders building exciting ventures and reshaping
                                                  entire industries
                                             •    Helps entrepreneurs grow their businesses through
                                                  inspiring stories of real people, valuable resources,
                                                  how-to content, books, podcasts, videos, coaching and
                                                  more
                                             •    4 digital placements in Entrepreneur Daily
                                                  e-Newsletter – 145K sends each, 580,000 total sends


4
 Industry media is limited in terms of availability. Publishers also have a right of refusal when it comes to
ad placements. If industry media is unavailable or they do not accept our ad at the time of placement, JND
will seek comparable alternatives.


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                           •   Reaches senior business strategists who have power,
                               influence, and potential
                           •   4 digital placements in Harvard Business Review
                               Management Tip of the day e-Newsletter (issued
                               Monday-Friday) – 100K sends each, 400K total sends


                           •   The Society for Human Resource Management
                               (SHRM) is the largest human resources organization
                           •   More than 275,000 members worldwide
                           •   Dedicated to HR management and the needs of HR
                               professionals
                           •   Provides information on benefits, compensation,
                               employee and labor relations and other HR policies
                           •   Banner ads serving 100,000 impressions on shrm.org
                           •   4 digital placements in SHRM HR Weekly e-
                               Newsletter (issued Mondays) - 430,000 sends each,
                               1,720,000 total sends

                           •   Written for Vice Presidents and Directors of human
                               resources
                           •   Provides key decision-makers with news, profiles of
                               HR visionaries and success stories of human resource
                               innovators
                           •   Banner ads serving 100,000 impressions on
                               hrexecutive.com home page and 50,000 impressions
                               on the benefit category page
                           •   4 digital placements in HRE Benefits e-Newsletter –
                               100K sends each, 400K total sends

                           •   The National Association of African Americans in
                               Human Resources (NAAAHR) is a career
                               development and networking powerhouse for Black
                               and African American human resources practitioners
                           •   Provides networking, career opportunities, educational
                               and professional development, mentorship and
                               coaching and tools, tips and resources
                           •   Over 15,000 HR members and affiliates
                           •   Operates over 25 chapters and interest groups
                               throughout the nation
                           •   Banner ads serving 7,300 impressions on
                               NAAAHR.org
                           •   TWO digital placements in NAAAHR e-Newsletter
                               (issued first Tuesday of month) – 13K sends each
                               month, 26K total sends




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                             •   Primary media resource that benefit professionals rely
                                 on to navigate the complexities of employee benefit
                                 planning and delivery
                             •   Serves senior-level benefits decision-makers,
                                 including HR executives and benefits Directors whose
                                 responsibility includes health plans
                             •   4 digital placements in Employee Benefit News
                                 Healthcare e-Newsletter (issued Tuesdays) – 22K
                                 sends each, 88K total sends

                             •   Provides benefits brokers/consultants, benefits
                                 managers and retirement advisors with news,
                                 resources, and tools
                             •   4 digital placements in Benefits Pro Daily e-
                                 Newsletter – 59K sends each, 236K total sends

                             •   Provides in-depth insight into the news and trends
                                 shaping healthcare.
                             •   Covers topics such as health IT, policy & regulation,
                                 insurance, digital health, payer-provider partnerships,
                                 value-based care and more
                             •   4 digital placements in Healthcare Dive Top Payer e-
                                 Newsletter and Email Blast (daily) – 14K sends each,
                                 56K total sends

                             ~2.1 million impressions
TOTAL
                             ~3.6 million e-Newsletter sends




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       ADDITIONAL EFFORTS                                         DETAILS

                                          •   Purchase list of companies (main headquarters) that
                                              employee individuals with an HR/Employee Benefit
                                              title (150K postal addresses, 55K emails)
                                          •   Purchase list of companies (main headquarters) that
                                              employee individuals with Health and Accident
                                              Insurance Broker related titles (396 postal
                                              addresses, 904 emails)
                                          •   Send notice about the Settlement

                                          •   Google is by far the most popular search engine (78%
                                              market share worldwide), followed by Bing (8% market
                                              share worldwide)
                                          •   Web browsers frequently default to a search engine
                                              page, making search engines a common source to get
                                              to a specific website (i.e., as opposed to typing the
                                              desired URL in the navigation bar)
                                          •   When purchased keywords related to this Settlement
                                              are searched, a paid search ad with a hyperlink to the
                                              case website may appear on the search engine results
                                              page
                                          •   Efforts will be monitored and optimized

                                          •   Multichannel News Release
                                          •   Launched at the start of the campaign
                                          •   Distributed into newsrooms, online syndication, and PR
                                              Newswire for Journalists, an exclusive members-only
                                              community of more than 41,000 influential journalists
                                              and bloggers
                                          •   Encourages journalists to visit a microsite and review
                                              the press release, television spot, radio spot and other
                                              information about the Settlement.


 CLAIMS STIMULATION EFFORT

The claims stimulation is designed to remind Damages Class Members of the approaching claims
deadline. Prior to the claims deadline, JND’s team will initiate a wide-ranging media effort to
encourage Class Members to submit claims and to remind them of the impending deadline.

The claims stimulation effort will include a digital campaign consisting of (1) an audience custom
list, (2) retargeting and (3) look-alike targeting. An audience custom list will be derived from emails
of Damages Class Members who have not yet opted out or filed a claim. The emails will be
matched with Facebook and Instagram accounts and ads will be served across Facebook and
Instagram to active matched accounts. Digital banner ads will also be served to Damages Class
Members who visited the Settlement website but did not complete a claim submission
(retargeting), as well as to individuals who demographically/geographically match with those
Damages Class Members who have already filed online claims (look-alike targeting).




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In addition to these efforts, the multichannel news release will be updated to include a claim
deadline reminder message.

Based on the success of the initial media campaign, television and radio spots may be added and
broadcast to key markets with high claims filing results. Additional print insertions may also be
published.

The claims stimulation message will deliver a simple reminder of the approaching claims deadline.

 PLAN DELIVERY

The media campaign alone is designed to reach 85% of Class Members.
The 85% reach will be further extended by:
   1. the direct notice effort,
   2. the supplemental industry media,
   3. the additional efforts, including the third-party outreach effort, internet search campaign,
      the multichannel news release, and
   4. the claims stimulation effort.
The proposed notice effort exceeds that of other court approved programs and meets the high-
end of the reach standard set forth by the FJC.




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                    EXHIBIT C
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        UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF ALABAMA SOUTHERN DIVISION

                 If you purchased or were enrolled in a
             Blue Cross or Blue Shield health insurance or
          administrative services plan between 2008 and 2020,
            a $2.67 billion Settlement may affect your rights
                     Para una notificación en español, visite www.BCBSsettlement.com/espanol

                   A federal court authorized this Notice. This is not a solicitation from a lawyer.

    •   Class Representatives (“Plaintiffs”) and the Blue Cross Blue Shield Association (“BCBSA”) and Settling
        Individual Blue Plans reached a Settlement in a class action antitrust lawsuit called In re: Blue Cross Blue
        Shield Antitrust Litigation MDL 2406, N.D. Ala. Master File No. 2:13-cv-20000-RDP (the “Settlement”). 1
        BCBSA and Settling Individual Blue Plans are called “Settling Defendants.”

    •   Plaintiffs allege that Settling Defendants violated antitrust laws by entering into an agreement not to
        compete with each other and to limit competition among themselves in selling health insurance and
        administrative services for health insurance.

    •   Settling Defendants deny all allegations of wrongdoing and assert that their conduct results in lower
        healthcare costs and greater access to care for their customers.

    •   The Court has not decided who is right or wrong. Instead, Plaintiffs and Settling Defendants have agreed
        to a Settlement to avoid the risk and cost of further litigation.

    •   The Court certified two Settlement Classes in this case―a Damages Class and an Injunctive Relief Class.
        These Classes are further defined in Question 5.

    •   If approved by the Court, the Settlement will establish a $2.67 billion Settlement Fund. Settling
        Defendants will also agree to make changes in the way they do business that will increase the opportunities
        for competition in the market for health insurance.

    •   Your legal rights are affected whether you act or do not act. Please read this Notice carefully.




1
  All capitalized terms used in this Notice shall have the same meaning as provided for in the Settlement Agreement, unless stated
otherwise.
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             YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT
                       •   File a claim for payment online or by mail.
  FILE A CLAIM                                                                        Submit online or
                       •   Be bound by the Settlement.
(DAMAGES CLASS                                                                      postmarked by Month
                       •   Give up your right to sue or continue to sue Settling          x, 202x
     ONLY)
                           Defendants for the claims in this case.
   ASK TO BE
                       •   Remove yourself from the Class.
   EXCLUDED                                                                         Postmarked or received
                       •   Receive no payment.
  (“OPT OUT”)                                                                                by
                       •   Keep your right to sue or continue to sue Settling           Month x, 202x
(DAMAGES CLASS
                           Defendants for the claims in this case.
     ONLY)
                                                                                    Postmarked or received
     OBJECT            •   Write to the Court about why you do not like the                  by
                           Settlement.                                                  Month x, 202x

    ATTEND THE         •   Ask to speak to the Court about the fairness of the          Month x, 202x
     HEARING               Settlement.                                                   at x:xx, xx

                       •   Receive no payment
                       •   Be bound by the Settlement.
    DO NOTHING
                       •   Give up your right to sue or continue to sue Settling
                           Defendants for the claims in this case.

•    These rights and options—and the deadlines to exercise them—are explained in this Notice. The
     deadlines may be changed, so please check the Settlement Website, www.BCBSsettlement.com, for
     updates and further details.
•    The Court in charge of this case still has to decide whether to approve the Settlement. Payments will be
     made if the Court approves the Settlement and after any appeals are resolved. Please be patient.




     Questions? Visit www.BCBSsettlement.com or call toll-free at (888) 681-1142

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                                               WHAT THIS NOTICE CONTAINS

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   8. How much can Damages Class Members get from the Settlement?
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       Questions? Visit www.BCBSsettlement.com or call toll-free at (888) 681-1142

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                                                 BASIC INFORMATION
1. Why was this Notice issued?
The Court authorized this Notice because you have a right to know about the proposed Settlement of certain
claims against Settling Defendants in this class action lawsuit and about your options before the Court decides
whether to approve the Settlement. If the Court approves the Settlement, and after objections and appeals are
resolved, you will be bound by the judgment and terms of the Settlement. This Notice explains the lawsuit, the
Settlement, and your legal rights and options, and the deadlines for you to exercise your rights.

2. What is this lawsuit about?
This class action is called In re: Blue Cross Blue Shield Antitrust Litigation MDL 2406, N.D. Ala., Master File
No. 2:13-cv-20000-RDP and is pending in the United States District Court for the Northern District of Alabama
Southern Division. U.S. District Court Judge R. David Proctor is overseeing this class action.
Plaintiffs allege that Settling Defendants violated antitrust laws by entering into an agreement where the
Settling Defendants agreed not to compete with each other in selling health insurance and administration of
Commercial Health Benefit Products in the United States and Puerto Rico, as well as agreeing to other means
of limiting competition in the market for health insurance and administration of Commercial Health Benefit
Products. Settling Defendants deny all allegations of wrongdoing. They assert that their conduct results in
lower healthcare costs and greater access to care for their customers. The Court has not decided who is right
or wrong. Instead, Plaintiffs and Settling Defendants have agreed to a Settlement to avoid the risk and cost of
further litigation.

3. What is a class action, and who is involved?
In a class action lawsuit, one or more people or businesses called class representatives sue on behalf of others
who have similar claims. All of the people or businesses who have similar claims together are a “class” or
“class members” if the class is certified by the Court. Individual class members do not have to file a lawsuit to
participate in the class action settlement or be bound by the judgment in the class action. One court resolves
the issues for everyone in the class, except for those who exclude themselves from the class.

4. Why is there a Settlement?
The Court did not decide in favor of the Plaintiffs or Settling Defendants. Instead, both sides have agreed to
the Settlement. Both sides want to avoid the risk and cost of further litigation. The Plaintiffs and their attorneys
think the Settlement is best for the Settlement Classes.
                                    WHO IS IN THE SETTLEMENT CLASSES?
5. Am I part of the Settlement Classes?
The Court certified two Settlement Classes in this case―a Damages Class and an Injunctive Relief Class.
    •   The Damages Class includes all Individuals, Insured Groups (and their employees), and Self-
        Funded Accounts (and their employees), that purchased, were covered by, or were enrolled in a Blue-
        Branded Commercial Health Benefit Product 2 sold, underwritten, insured, administered, or issued by
        any Settling Individual Blue Plan during the respective class periods. The class period for the fully
2
 Unless the person’s or entity’s only Blue-Branded Commercial Health Benefit Product during the class periods was a stand-alone
vision or dental product.

        Questions? Visit www.BCBSsettlement.com or call toll-free at (888) 681-1142
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           insured Individuals and Insured Groups (and their employees) is from February 7, 2008, through
           October 16, 2020 (“Settlement Class Period”). The class period for the Self-Funded Accounts (and
           their employees) is from September 1, 2015 through October 16, 2020 (“Self-Funded Settlement Class
           Period”). Dependents, beneficiaries (including minors), and non-employees are NOT included in the
           Damages Class.
           Self-Funded Accounts encompass any account, employer, health benefit plan, ERISA plan, non-
           ERISA plan, or group, including all sponsors, administrators, fiduciaries, and Members thereof, that
           purchased, were covered by, participated in, or were enrolled in a Self-Funded Health Benefit Plan
           during the Self-Funded Settlement Class Period. A Self-Funded Health Benefit Plan is any Commercial
           Health Benefit Product other than Commercial Health Insurance, including administrative services
           only (“ASO”) contracts or accounts, administrative services contracts or accounts (“ASC”), and jointly
           administered administrative services contracts or accounts (“JAA”).
           For associational entities (e.g., trade associations, unions, etc.), the Self-Funded Account includes any
           member entity which was covered by, enrolled in, or included in the associational entity’s Blue-
           Branded Commercial Health Benefit Product. A Self-Funded Account that purchased a Blue-Branded
           Self-Funded Health Benefit Plan and Blue-Branded stop-loss coverage remains a Self-Funded
           Account.
           Excluded from the Damages Class are:
           o Government Accounts 3;
           o Medicare and Medicaid Accounts;
           o Settling Defendants themselves, and any parent or subsidiary of any Settling Defendant (and their
              covered or enrolled employees);
           o Individuals or entities that file an exclusion or opt out from the Settlement; and
           o The judge presiding over this matter, and any members of his judicial staff, to the extent such staff
              were covered by a Commercial Health Benefit Product not purchased by a Government Account
              during the Settlement Class Period.
      •    The Injunctive Relief Class includes all Individuals, Insured Groups, Self-Funded Accounts, and
           Members that purchased, were covered by, or were enrolled in a Blue-Branded Commercial Health
           Benefit Product sold, underwritten, insured, administered, or issued by any Settling Individual Blue
           Plan during the applicable Settlement Class Period. Dependents, beneficiaries (including minors), and
           non-employees are included in the Injunctive Relief Class.

6. I am still not sure if I am included.
If you are still not sure if you are included in the Settlement Classes, please review the detailed information
contained in the Settlement Agreement, available for download at www.BCBSsettlement.com. You may also
contact the Claims Administrator at info@BCBSsettlement.com or call toll-free at (888) 681-1142.




3
    Additional information about Government Accounts is in the Settlement Agreement.

          Questions? Visit www.BCBSsettlement.com or call toll-free at (888) 681-1142
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                                         SETTLEMENT BENEFITS
7. What does the Settlement provide?
The Settlement provides monetary payments to Damages Class Members who submit a valid claim by Month,
x, 202x. Settling Defendants also agreed to make changes in the way they do business to increase the
opportunities for competition in the market for health insurance (“injunctive relief”) that benefits Injunctive
Relief Class Members. You may be included in both Settlement Classes.
If the Court approves the Settlement, in exchange for Class Members’ release of the Released Claims, a $2.67
billion Gross Settlement Fund will be established. The money remaining in the Settlement Fund, after paying
the Attorneys’ Fee and Expense Awards not to exceed $667.5 million and the Notice and Settlement
Administration costs of $100 million, is called the “Net Settlement Fund.” The Net Settlement Fund is
estimated to be approximately $1.9 billion and will be distributed to Damages Class Members. This Net
Settlement Fund will be split as described below:
   Monetary Damages:
   •   93.5% of the Net Settlement Fund (approximately $1.78 billion) will be allocated to the Fully Insured
       (FI) Class Members as a “FI Net Settlement Fund.” The FI Net Settlement Fund will be distributed to
       FI Authorized Claimants, which include:
           o Individuals (“FI Individual Policyholders”);
           o Insured Groups (“FI Groups”); and
           o Insured Group Employees (“FI Employees”)
       who submit a valid claim by Month, x, 202x.
   •   The remaining 6.5% of the Net Settlement Fund (approximately $120million) will be set up as a “Self-
       Funded Net Settlement Fund.” The Self-Funded Net Settlement Fund will be distributed to Self-
       Funded Authorized Claimants, which include:
          o Self-Funded Accounts (“Self-Funded Groups”); and
          o Self-Funded Account Employees (“Self-Funded Employees”)
       who submit a valid claim by Month, x, 202x.
   •   The FI Net Settlement Fund and Self-Funded Net Settlement Fund are separate funds for FI Authorized
       and Self-Funded Authorized Claimants, respectively. If the claim rate is lower in one fund than the
       other, the payment to the Authorized Claimants will be proportionately increased in that fund only, and
       not to all Authorized Claimants overall.
   Injunctive Relief:
   •   Settling Defendants have agreed to make changes in the way they do business that will increase the
       opportunities for competition in the market for health insurance. As part of the Injunctive Relief (the
       changes in the way the Settling Defendants do business), a Monitoring Committee will be established
       for five years to mediate any disputes resulting from the implementation of the Injunctive Relief. If
       the Monitoring Committee Process approves any systems or rules, that information will be included in
       the Release. It will also be posted in a report of Monitoring Committee Actions on the Settlement
       Website.     Additional information is detailed in the Settlement Agreement, available at
       www.BCBSsettlement.com




       Questions? Visit www.BCBSsettlement.com or call toll-free at (888) 681-1142
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8. How much can Damages Class Members get from the Settlement?
Damages Class Members who submit a valid approved claim (“Authorized Claimants”) will receive a payment
from either the FI Net Settlement Fund or the Self-Funded Net Settlement Fund, if the Settlement is approved.
Distribution of the FI Net Settlement Fund
FI Authorized Claimants qualify for a payment based on the total amount of estimated premiums they paid
to the Settling Defendants (“Total Premiums Paid”) during the Settlement Class Period. Payments will be
distributed on a proportional basis across all FI Authorized Claimants based on their estimated premiums.
The payment amount (i.e. claim payment) to FI Authorized Claimants will be determined by the following
formula:

                               Total Premiums Paid During the Settlement Class Period
                                           by FI Authorized Claimant A
                                                         Divided by
                               Total Premiums Paid during the Settlement Class Period
                                 by all FI Authorized Claimants who submit claims
                                                       Multiplied by
                                         Total dollars in FI Net Settlement Fund
                                     = Claim payment of FI Claimant A’s claim

                         For Example 4:

                                                            $1000
                                                         Divided by
                                                     $10,000,000,000
                                                       Multiplied by
                                                      $1,780,000,000
                                                           = $178



FI Individual Policyholders – Total Premiums Paid for FI Individual Policyholders will be based on data
provided by Settling Defendants. In most cases that data should allow for the calculation of Total Premiums
Paid without requiring the FI Authorized Claimant to submit any premium data.
FI Groups and FI Employees – Total Premiums Paid for FI Groups and FI Employees will be based on (a) data
provided by the Settling Defendants showing the total amount of premiums paid by any FI Group and (b) a
process for allocating the Total Premiums Paid between each specific FI Group and any FI Employees of that
FI Group who submit a claim.



4
 These numbers are provided for example only. The numbers do not show actual premiums or an anticipated actual ratio of
premiums paid by a Claimant to the Total Premiums Paid by all Claimants.

       Questions? Visit www.BCBSsettlement.com or call toll-free at (888) 681-1142
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Because FI Groups and FI Employees typically share the economic burden of premium payments, the Plan of
Distribution allocates premiums between the two. When filing a claim, FI Groups and FI Employees may
choose a Default or Alternative Option for determining the allocation of Total Premiums Paid between the
employer and any employee of that FI group that file a claim. To efficiently process claims, the Plan of
Distribution sets a Default allocation as follows: (1) 15% of an employee’s premium for single coverage is
deemed to have been paid by the employee (with the remainder to the employer) and (2) 34% of an employee’s
premium for family coverage is deemed to have been paid by the employee (with the remainder to the
employer). The Alternative option allows the claimant to submit data or records supporting a contribution
higher than the Default. The below scenarios are examples of how an estimated premium may be calculated
for use in determining a claimant’s proportional share of the FI Net Settlement Fund. In any case where an FI
Group makes a claim, it will receive credit for any premiums not otherwise allocated to claiming employees.

    IF…                                                                THEN…

    •   FI Group files a claim                                         •   FI Group’s share will be calculated from full
    •   No FI Employees for that FI Group file a claim                     premium paid by that FI Group

    •   FI Group files a claim and accepts Default
                                                                       •   For each claiming FI Employee, the Default %
        option
                                                                           will be used to calculate their premiums paid,
    •   One or more of its FI Employees files a claim
                                                                           with remainder allocated to FI Group
        and accepts Default option

    •   FI Group files a claim and selects Alternative
                                                                       •   Allocation between the FI Group and claiming FI
        Option and provides relevant data or records to
                                                                           Employees will be based on the relevant data or
        support a contribution % higher than the Default
                                                                           materials provided by each (dependent on a
        %
                                                                           review process)
    •   FI Employee files a claim
                                                                       •   Allocation between the FI Employees who select
    •   FI Group files a claim and accepts Default                         the Alternative Option and for the related FI
        option                                                             Group with regard to these employees will be
    •   One or more FI Employees for that FI Group                         based on the relevant data or materials provided
        files a claim and selects the Alternative Option                   by each (dependent on a review process)
    •   One or more FI Employees for that FI Group                     •   Default % will be used to calculate premiums for
        files a claim and accepts Default option                           the claimants who accept the Default option

    •   FI Employee files a claim and does not select                  •   The FI Employee’s premium will be calculated
        the Alternative Option                                             based on the Default % as seen above
    •   FI Group(s) does not file a claim
    •   FI Employee files a claim and selects the
        Alternative Option and provides relevant data or               •   The FI Employee will receive an allocation
        records to support a contribution % higher than                    based on the relevant data or materials he or she
        the Default %                                                      provides (dependent on a review process)
    •   FI Group(s) does not file a claim
Employer Groups: Purchasing Entities and Covered Entities are both eligible to file a claim. 5

5
    Information about the plan of allocation for Employer Groups can be found in the Plan of Distribution.

          Questions? Visit www.BCBSsettlement.com or call toll-free at (888) 681-1142
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Distribution of Self-Funded Net Settlement Fund
Self-Funded Authorized Claimants are eligible for compensation for Total Self-Funded Fees Paid to the
Settling Defendants during the Self-Funded Settlement Class Period. Payments will be distributed on a
proportional basis across all Self-Funded Authorized Claimants.
The amount of each claim submitted by any given Self-Funded Authorized Claimant will be determined by
the following formula:

               Total Administrative Fees Paid During the Self-Funded Settlement Class
                                               Period
                                     by Self-Funded Claimant B
                                              Divided by
               Total Administrative Fees Paid during the Self-Funded Settlement Class
                                               Period
                     by all Self-Funded Authorized Claimants who submit claims
                                            Multiplied by
                           Total dollars in Self-Funded Net Settlement Fund
                       = Claim payment of Self-Funded Claimant B’s claim


Total Administrative Fees Paid will be based upon (a) the data provided by the Settling Defendants showing
the total amount of Administrative fees paid by any Self-Funded Group and (b) an allocation process to split
the Total Self-Funded Fees Paid between each specific Self-Funded Group and any Self-Funded Employees
of that Self-Funded Group who submit claims. The Self-Funded Groups/Employees will have the same
opportunity to choose either the Default or Alternative option, as outlined in the chart on page 8 for the FI
Group and FI Employees.
The Self-Funded Default Option allocation is: (1) 18% of an employee’s administrative fee for single coverage
is deemed to have been paid by the employee (with the reminder to the employer); and (2) 25% of an
employee’s administrative fee for family coverage is deemed to have been paid by the employee (with the
reminder to the employer). The Alternative option allows the claimant to submit data or records supporting a
contribution higher than the Default.
Minimum Claim Payment
If the total payment for any Damages Class Member is equal to or less than $5.00 (“minimum claim payment”),
no payment will be made to the Damages Class Member. The claimant will be notified that there will be no
distribution given the minimum claim payment.
No distributions will be made until there is a final resolution of all determinations and disputes that could
potentially impact the Claims Payments.
Claimant Review
Authorized Claimants will be able to review the Total Premiums Paid and/or Total Administrative Fees Paid
used to calculate their award before the distribution of the Net Settlement Fund. If an Authorized Claimant
disagrees with their Total Premiums Paid and/or Total Administrative Fees, they must provide the necessary
documentation to support the amount they believe it should be. The Claims Administrator will review any data



      Questions? Visit www.BCBSsettlement.com or call toll-free at (888) 681-1142
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submitted and determine whether to change the Total Premiums Paid and/or Total Administrative Fees for that
Authorized Claimant.

9. How do I get a Payment?
To make a claim and receive a payment, you must file a claim form online or by mail postmarked by Month
x, 202x. Claims may be submitted online at www.BCBSsettlement.com or by mail to:
                                 Blue Cross Blue Shield Antitrust Litigation
                                       c/o JND Legal Administration
                                               PO Box 91390
                                             Seattle, WA 98111
If you select the Alternative Option, you must submit relevant data or records showing a higher contribution
percentage. Otherwise the Default Option will be used. Instructions for submitting your claim are on the claim
form and on the Settlement Website. When required, sufficient documentation shall include an attestation
signed under penalty of perjury when other documentation is no longer available.

10. What am I giving up by staying in the Settlement Classes?
Unless you exclude yourself, you remain in the Settlement Classes. This means that you cannot sue, continue
to sue, or be part of any other lawsuit against Settling Defendants that makes claims based on the facts and
legal theories involved in this case or any of the business practices the Settling Defendants adopt pursuant to
the Settlement Agreement. It also means that all of the Court’s orders will apply to you and legally bind you.
The Released Claims are detailed in the Settlement Agreement, available at www.BCBSsettlement.com.

11. What happens if I do nothing at all?
If you do nothing, you will remain a member of the Settlement Classes and be bound by the Settlement.
However, if you had been entitled to share in the Settlement proceeds, you will not get a payment.
                        EXCLUDING YOURSELF FROM THE DAMAGES CLASS
12. How do I exclude myself from the Damages Class ?
If you are a member of the Damages Class, do not want the monetary benefits, and do not want to be legally
bound by the terms of the Settlement, or if you wish to pursue your own separate lawsuit against Settling
Defendants, you must exclude yourself from the Damages Class. This requires submitting a written request to
the Claims Administrator stating your intent to exclude yourself from the Damages Class (an “Exclusion
Request”). Your Exclusion Request must include the following: (a) your name, including the name of your
business (if your business purchased health insurance from a Blue Cross or Blue Shield entity during the Class
Period for employees), address, and telephone number; (b) a statement that you want to be excluded from the
Damages Class in In re: Blue Cross Blue Shield Antitrust Litigation; and (c) your personal, physical signature
(electronic signatures, including Docusign, or PDF signatures are not permitted and will not be considered
personal signatures). Requests signed solely by your lawyer are not valid. You must mail or email your
Exclusion Request, postmarked or received by Month x, 202x, to:
                                 Blue Cross Blue Shield Antitrust Litigation
                              c/o JND Legal Administration – Exclusion Dpt.
                                               PO Box 91393
                                             Seattle, WA 98111
                                       or info@BCBSsettlement.com


       Questions? Visit www.BCBSsettlement.com or call toll-free at (888) 681-1142
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13. If I do not exclude myself, can I sue Settling Defendants for the same thing later?
No. Unless you exclude yourself, you give up the right to sue Settling Defendants for any claims that are
released by the Settlement Agreement. If you have a current lawsuit against the Settling Defendants, speak to
your lawyer in that lawsuit immediately to determine whether you must exclude yourself from the Settlement
Classes to continue your own lawsuit against Settling Defendants.

                                   OBJECTING TO THE SETTLEMENT
14. How do I tell the Court that I do not like the Settlement?
If you are a Settlement Class Member and have not excluded yourself from the Settlement, you can object to
the Settlement if you do not like part or all of it. The Court will consider your views.
To object, you must send a letter or other written statement saying that you object to the Settlement in In re:
Blue Cross Blue Shield Antitrust Litigation and the reasons why you object to the Settlement. This letter
must include:
   •   The name of the Action – In re: Blue Cross Blue Shield Antitrust Litigation
   •   Description of your objections, including any applicable legal authority and any supporting evidence
       you wish the Court to consider;
   •   Your full name, address, email address, telephone number, and the plan name under which Blue Cross
       Blue Shield was provided and dates of such coverage;
   •   Whether the objection applies only to you, a specific Settlement Class or subset of a Settlement Class,
       or both Settlement Classes;
   •   The identity of all counsel who represent you, including former or current counsel who may be entitled
       to compensation for any reason related to the objection, along with a statement of the number of times
       in which that counsel has objected to a class action within five years preceding the submission of the
       objection, the caption of the case for each prior objection, and a copy of any relevant orders addressing
       the objection;
   •   Any agreements that relate to the objection or the process of objecting between you, your counsel,
       and/or any other person or entity;
   •   Your (and your attorney’s) signature on the written objection;
   •   A statement indicating whether you intend to appear at the Final Fairness Hearing (either personally or
       through counsel); and
   •   A declaration under penalty of perjury that the information provided is true and correct.
Do not send your written objection to the Court or the judge. Instead, mail the objection to the Claims
Administrator with copies to Co-Lead Counsel and Counsel for Settling Defendants at the addresses listed below.




       Questions? Visit www.BCBSsettlement.com or call toll-free at (888) 681-1142
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Your objection must be postmarked by Month x, 202x.
 Claims Administrator:                 Plaintiffs’ Co-Lead Counsel:         Counsel for Settling Defendants:
 Blue Cross Blue Shield Antitrust       x                                   xxx
 Litigation                             BLUE CROSS BLUE SHIELD              KIRKLAND & ELLIS LLP
 c/o JND Legal Administration          ANTITRUST LITIGATION                 x
 PO Box 91393                           C/O HAUSFELD LLP.                   x
 Seattle, WA 98111                      600 Montgomery Street NW            (xxx) xxx-xxxx
 (888) 681-1142                         Suite 3200
                                        San Francisco, CA 94111
                                        (415) 633-1908
                                        BCBSsettlement@hausfeld.com

                                       x
                                       BLUE CROSS BLUE SHIELD
                                       ANTITRUST LITIGATION
                                       BOIES SCHILLER FLEXNER LLP
                                       X
                                       x
                                       (xxx) xxx-xxx


15. What is the difference between excluding myself and objecting?
Objecting is telling the Court that you do not like something about the Settlement. You can object only if you
do not exclude yourself from the Settlement Classes. Excluding yourself is telling the Court that you do not
want to be part of the Settlement Classes or the lawsuit as outlined in question 14. If you exclude yourself, you
are no longer a member of the Settlement Classes and you do not have a right to share in the Settlement’s
proceeds or to object because the Settlement no longer affects you.
                                  THE LAWYERS REPRESENTING YOU
16. Do I have a lawyer in this case?
The Court has appointed (1) Michael Hausfeld of Hausfeld LLP and (2) David Boies of Boies Schiller Flexner
LLP as Co-Lead Counsel on behalf of the Plaintiffs and Settlement Class Members. Their contact information
is provided above in Question 14.
You do not need to hire a lawyer because Co-Lead Counsel is working on your behalf.
If you wish to pursue your own lawsuit separate from this one, or if you exclude yourself from the Settlement
Classes, these lawyers will no longer represent you. You will need to hire a lawyer if you wish to pursue your
own lawsuit against Settling Defendants.

17. How will the lawyers be paid?
Settlement Class Counsel may submit an application(s) to the Court (“Fee and Expense Application”) for: (i)
an award of attorneys’ fees plus (ii) reimbursement of expenses and costs, up to a combined total of 25% of
the $2.67 billion fund (i.e., $667,500,000) created by the Settlement. This fee will include Self-Funded Class
Counsel’s application. You will not have to pay any fees or costs.




       Questions? Visit www.BCBSsettlement.com or call toll-free at (888) 681-1142
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                                  THE COURT’S FAIRNESS HEARING
18. When and where will the Court decide whether to approve the Settlement?
The Court will hold a hearing to decide whether to approve the Settlement. You may attend and you may ask
to speak, but you do not have to. The Court will hold a Fairness Hearing at x:xx a.m. on Month x, 202x, at the
United States District Court for the Northern District of Alabama, Hugo L. Black United States Courthouse,
1729 5th Avenue North, Birmingham, Alabama 35203, in Courtroom x. At this hearing, the Court will consider
whether the Settlement is fair, reasonable, and adequate. The Court will also consider whether to approve
attorneys’ fees and expenses up to $667.5 million and $101 million for additional costs and service awards. If
there are objections, the Court will consider them. The Court will listen to people who have asked to speak at
the hearing. After the hearing, the Court will decide whether to approve the Settlement. We do not know how
long these decisions will take.

19. Do I have to come to the hearing?
No. Co-Lead Counsel will attend the hearing and answer any questions the Court may have. However, you are
welcome to come at your own expense. If you send an objection, you do not have to come to the hearing to
talk about it. As long as you mailed your written objection on time, the Court will consider it. You may also
pay your own lawyer to attend, but it is not necessary.

20. May I speak at the hearing?
You may ask to speak at the Fairness Hearing. To do so, you must send a letter saying that it is your “Notice
of Intention to Appear in In re: Blue Cross Blue Shield Antitrust Litigation.” Be sure to include your name,
including the name of your business (if applicable), current mailing address, telephone number, and signature.
Your Notice of Intention to Appear must be postmarked by Month x, 202x, and it must be sent to the Clerk of
the Court, Co-Lead Counsel, and Defense Counsel. The address for the Clerk of the Court is: Clerk of Court,
United States District Court for the Northern District of Alabama, Hugo L. Black United States Courthouse,
1729 5th Avenue North, Birmingham, Alabama 35203. The addresses for Co-Lead Counsel and Defense
Counsel are provided in Question 14. You cannot ask to speak at the hearing if you excluded yourself from
the Settlement.

                                    GETTING MORE INFORMATION
21. How do I get more information about the Settlement?
This Notice summarizes the proposed Settlement. More details are in the Settlement Agreement. You can find
a copy of the Settlement Agreement, other important documents, and information about the current status of
the case by visiting www.BCBSsettlement.com. You may contact the Claims Administrator at
info@BCBSsettlement.com or toll-free at (888) 681-1142. You may also contact Co-Lead Counsel at the
address, phone number, and email address provided in Question 14.


               PLEASE DO NOT CONTACT THE COURT REGARDING THIS NOTICE.




      Questions? Visit www.BCBSsettlement.com or call toll-free at (888) 681-1142
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                    EXHIBIT D
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       Blue Cross Blue Shield Settlement

       CLAIM FORM
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Must be postmarked by         BLUE CROSS BLUE SHIELD SETTLEMENT
mail no later than               C/O JND LEGAL ADMINISTRATION
Month Day, 2021                           PO BOX 91390
                                       SEATTLE, WA 98111
                                     www.BCBSsettlement.com



             BLUE CROSS BLUE SHIELD CLAIM FORM
   You may be eligible to receive a cash payment if you are an Individual, Insured Group
   (and their employees) or Self-Funded Account (and their employees) that purchased
   or were enrolled in a Blue Cross or Blue Shield (BCBS) health insurance or
   administrative services plan during one of the two Settlement Class Periods.

   The Settlement Class Period for Individuals and Insured Groups (and their employees)
   is from February 7, 2008, through October 16, 2020. The Settlement Class Period for
   Self-Funded Accounts (and their employees) is from September 1, 2015 through
   October 16, 2020. Dependents, beneficiaries (including minors), and non-employees are
   NOT eligible to receive payment.

             The Easiest Way to File is Online at www.BCBSsettlement.com.


           INSTRUCTIONS FOR COMPLETING THIS CLAIM FORM

      1.    Please provide below, and on page 8, the Unique ID contained in the email
            or on the postcard notice that you received. If you did not receive an email or
            postcard, or if you cannot locate your email/postcard, write “unavailable.”


                     UNIQUE ID:


      2.            If you are a company/business/entity that purchased a BCBS health
                    insurance or administrative services plan from a BCBS company,
                    please complete Section A.

      3.            If you are an individual who purchased BCBS health insurance directly
                    from a BCBS company (and NOT an employee enrolled through a
                    company/business/entity), please complete Section B.

      4.            If you are an individual who was enrolled in a BCBS health insurance or
                    administrative services plan through your employer or an individual that
                    otherwise purchased a BCBS health insurance or administrative services
                    plan through another group entity such as a union or member association
                    (but NOT directly from a BCBS company), please complete Section C.




  Questions? Visit www.BCBSsettlement.com or call (888) 681-1142               Page 1 of 10
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Must be postmarked by          BLUE CROSS BLUE SHIELD SETTLEMENT
mail no later than                C/O JND LEGAL ADMINISTRATION
Month Day, 2021                            PO BOX 91390
                                        SEATTLE, WA 98111
                                      www.BCBSsettlement.com




                              INSTRUCTIONS CONTINUED

      5.   If you are an individual who purchased BCBS health insurance directly from a
           BCBS company AND also were enrolled in a BCBS health insurance or
           administrative services plan through your employer or other entity, you must
           complete Sections B and C of this claim form.

      6.   Review Section D if you filled out Section A or Section C. Otherwise you may
           skip to Section E.

      7.   All claimants must complete Section E, regarding payment election.

      8.   You must sign the claim form certification in Section F and mail it to the address
           below, postmarked by _________, in order for your claim to be considered. Or
           you can quickly complete this claim form online at www.BCBSsettlement.com.

                              Blue Cross Blue Shield Settlement
                                C/O JND Legal Administration
                                       PO Box 91390
                                     Seattle, WA 98111

      9.   ONLY complete the chart on page 9 if you had more than one health plan or
           administrative services plan or if you were enrolled in BCBS health insurance
           or administrative services plans through more than one employer.

      10. Please consult the checklist on page 10 before submitting your claim.

   By submission of this claim form, you are consenting to the disclosure of your
   information for use by the Claims Administrator and the Settlement Administrator in the
   claims administration process. The information you provide us on this claim is
   confidential and will be used solely to contact you and to process your claim. It will not
   be used for any other purpose.

   Failure to submit your claim form by [DATE] will subject your claim to rejection and will
   preclude you from being eligible to receive any money in connection with the Settlement.
   Do not mail or deliver your claim form to the Court.




  Questions? Visit www.BCBSsettlement.com or call (888) 681-1142                Page 2 of 10
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                                        SECTION A: BUSINESSES
                 To be Completed Only on Behalf of Companies/Businesses/Entities That Purchased
                 BCBS Health Insurance or Administrative Services Plans from a BCBS Company.

    1. FULL NAME OF COMPANY:

                                                  Street Address Line 1
    2. PRIMARY HEADQUARTERS
       MAILING ADDRESS:
                                                  Street Address Line 2



                                                  City                                      State      Zip



                                                  First                              M.I.   Last
    3. COMPANY CONTACT
       (NAME AND TITLE):
                                                  Title



                                                                                                               Ext.
    4. OFFICE PHONE NUMBER:


    5. EMAIL ADDRESS:

    6. NAME OF CONTRACTED
       BLUE CROSS OR BLUE
       SHIELD BRANDED HEALTH
       PLAN 1:

    7. BLUE CROSS OR BLUE
       SHIELD GROUP #:
                                                  Start Date                                End Date
    8. COVERAGE START AND
       END DATES: (MM/YYYY)

    9. FOR PLANS PURCHASED                         Check this box if your company/business/entity acquired its health
       THROUGH A PURCHASING                               plan through another purchasing entity, such as a PEO. Please state
       ENTITY                                             the name of the purchasing entity:


                                                           ____________________________________________________

                                                   Check this box if you are a Professional Employer
                                                          Organization (“PEO”), Union or Trade Association, or other
                                                          associational entity that collected payment for, contracted with or
                                                          purchased a BCBS health insurance or administrative services plan
                                                          on behalf of your client companies, customers or members directly
                                                          from a BCBS company.



1   If you had multiple health insurance or administrative services plans, complete the chart on page 9 instead of fields 6 through 8.

      Questions? Visit www.BCBSsettlement.com or call (888) 681-1142                                             Page 3 of 10
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                                 SECTION B: INDIVIDUAL MEMBERS
                  To be Completed Only by Individuals Who Purchased Health Insurance
                  Directly from a BCBS Company.

                                                First                             M.I.    Last
    1. SUBSCRIBER
       FULL NAME:
                                                Street Address Line 1
    2. MAILING ADDRESS:


                                                Street Address Line 2




                                                City                                       State        Zip




    3. PHONE NUMBER:


    4. EMAIL ADDRESS:


    5. NAME OF BLUE CROSS
       OR BLUE SHIELD
       BRANDED HEALTH
       PLAN 2:
    6. BLUE CROSS OR BLUE
       SHIELD GROUP #:

    7. SUBSCRIBER ID:

                                                Start Date                               End Date
    8. COVERAGE START AND
       END DATES: (MM/YYYY)




2   If you had multiple health insurance plans, complete the chart on page 9 instead of fields 5 through 8.

      Questions? Visit www.BCBSsettlement.com or call (888) 681-1142                                          Page 4 of 10
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                                          SECTION C: EMPLOYEES
                 To be Completed Only by Individuals Who Were Enrolled in BCBS Health
                 Insurance or Administrative Services Plans Through Their Employers or Who
                 Otherwise Purchased BCBS Health Insurance or Administrative Services Plans
                 Through Other Group Entities.

                                                  First                            M.I.      Last
  1. SUBSCRIBER
     FULL NAME:
                                                  Street Address Line 1
  2. MAILING ADDRESS:

                                                  Street Address Line 2



                                                  City                                      State           Zip




  3. PHONE NUMBER:


  4. EMAIL ADDRESS:


  5. NAME OF EMPLOYER
     THROUGH WHICH YOU
     WERE PROVIDED BLUE
     CROSS OR BLUE SHIELD
     INSURANCE 3:

  6. MAILING ADDRESS OF
     EMPLOYER:

  7. NAME OF BLUE CROSS OR
     BLUE SHIELD BRANDED
     HEALTH PLAN 4:

  8. BLUE CROSS OR BLUE
     SHIELD GROUP #:

  9. SUBSCRIBER ID:

                                                  Start Date                               End Date
  10. COVERAGE START AND
      END DATES: (MM/YYYY)



3 If you purchased BCBS health insurance or administrative services plans through more than one employer, complete the chart

on page 9 instead of fields 5 and 6.
4 If you had multiple health insurance or administrative services plans, complete the chart on page 9 instead of fields 7 through 10.



   Questions? Visit www.BCBSsettlement.com or call (888) 681-1142                                             Page 5 of 10
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               SECTION D: EXPLANATION OF
        EMPLOYER/EMPLOYEE PREMIUM PERCENTAGES
         This Section Only Applies to claimants who filled out Section A OR Section C.



The Settlement provides that payments will be based, in part, on premiums paid for
BCBS health insurance or administrative services plans during the relevant periods
between 2008 and 2020.

The Settlement further provides default formulas for the Claims Administrator to use
when determining what percentage of the premium was paid by an employer/entity and
what percentage was contributed by its employees/members.
     100% of premiums for employees who do not file claims are allocated to the claiming employer.
     When an employee does claim, their premium share is determined through the default formulas,
     which provide that employees with single coverage are allocated 15% (for fully-insured health
     insurance) or 18% (for administrative plans) of the total premium paid on their behalf by their
     employer, and employees with family coverage are allocated 34% (for fully-insured health
     insurance) or 25% (for administrative plans), with the remainder allocated to the employer. For
     a full discussion of how these formulas will be used in calculating claims, please refer to the
     Plan of Distribution on the Settlement Website.

DEFAULT OPTION
 •   If you accept the Default Option, you are NOT required to provide any additional
     data or evidence in support of your claim at this time.

 •   If another claimant’s filing affects your claim, you will be provided with an opportunity
     to respond at a later date.

ALTERNATIVE OPTION
 •   If you would like to apply for an alternative contribution percentage instead of
     using the assigned Default Option, you must complete the table on page 7.

 •   If you select this option, you must also provide data or evidence to support the
     percentages you list in the table.

 •   For any time period for which supporting data or evidence is not provided, the above
     Default Option will be applied.

 •   Selection of the Alternative Option does not ensure a contribution percentage
     higher than or equal to the Default Option. Your percentage will be dependent on
     a review process that includes a review of all materials submitted pertaining to
     your premium.




Questions? Visit www.BCBSsettlement.com or call (888) 681-1142                            Page 6 of 10
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                           SECTION D CONTINUED


STOP: If you want to use the DEFAULT OPTION, DO NOT FILL OUT THIS SECTION.

If you would like to use the ALTERNATIVE OPTION instead of receiving the Default
Option, please state the percentage contribution you believe you contributed for each
year that you were enrolled in a BCBS health insurance or administrative services plan.

                    Year                                   Percentage (%)

                   2008
                   2009
                   2010
                   2011
                   2012
                   2013
                   2014
                   2015
                   2016
                   2017
                   2018
                   2019
                   2020

REMINDER: If you choose to apply for an alternative contribution percentage you
must supply documentation with this claim form supporting the percentage you
claim to have contributed. If you fill out this chart to apply for an alternative
contribution percentage without providing additional documentation, the above
Default Option will be applied to your claim.




Questions? Visit www.BCBSsettlement.com or call (888) 681-1142              Page 7 of 10
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                        SECTION E: PAYMENT ELECTION

Please let us know how you would like to receive your settlement payment if your claim is
deemed valid. You may only check one box below.
Final determinations of claim amounts will not be made until after processing by the Claims Administrator is
complete. Claims will not be paid if the value is less than $5.00.
Claimants who submit valid, approved claims shall receive a pro-rata percentage of the Net Settlement Fund
allocated to their type of coverage (fully-insured or self-funded) based upon their estimated proportion of the
cumulative total of premiums and/or administrative fees paid by all claimants.


I would like to receive my payment…

         By Venmo                   Username: ____________________________________

         By PayPal                  Email: ________________________________________

         By Pre-paid Card

         By Check


  YOU MUST SIGN AND DATE YOUR CLAIM FORM BELOW IN ORDER
        TO BE ELIGIBLE TO BE PAID IN THIS SETTLEMENT


                                 SECTION F: SIGNATURE

I affirm under the laws of the United States and the laws of my State of residence that the
information supplied in this Claim Form by the undersigned is true and correct to the best
of my recollection, and that this form was executed on the date set forth below.
I understand that I may be asked to provide supplemental information to the Claims
Administrator and/or Settlement Administrator before my claim will be considered complete
and valid.


                      UNIQUE ID:


Signature:                                             Dated:



Print Name:                                            Title (if signing on behalf of company/business/entity):




Questions? Visit www.BCBSsettlement.com or call (888) 681-1142                                Page 8 of 10
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               INFORMATION FOR ADDITIONAL HEALTH PLANS/EMPLOYERS
        To be Completed Only if You Participated in Multiple BCBS Health Insurance or Administrative Services Plans
 or if You Were Enrolled in BCBS Health Insurance or Administrative Services Plans Through Multiple Employers/Entities.
     If you require more space than the chart below provides, you should file online at www.BCBSsettlement.com.
                                      Or, you may make multiple copies of this page.

                                                     Name of
     Name of         Blue Cross    Subscriber        employer                                        Coverage    Coverage
Blue Cross or Blue       or          ID (For      through which            Mailing address             Start       End
 Shield Branded      Blue Shield   Individuals       you were               of employer                Date        Date
   Health Plan        Group #         Only)          provided                                       (MM/YYYY)   (MM/YYYY)
                                                    insurance




                Questions? Visit www.BCBSsettlement.com or call (888) 681-1142               Page 9 of 10
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                                   CHECKLIST


         Did you include your Unique ID on page 1 and page 8?
          Or, if you do not have a Unique ID, did you write
          “unavailable”?

         Did you complete all fields in Section A, B or C,
          as applicable?

         If you elected the Alternative Option in Section D, did you
          include supporting documentation or information?

         Did you complete Section E and tell us how you want to
          receive payment?

         Did you sign and date the claim form at Section F?


         Did you mail your form prior to the deadline?


          If any of your contact information changes, you must
       promptly notify us by emailing info@BCBSsettlement.com.


         Please note that Settlement benefits will be distributed
         after the Settlement is approved by the Court and final.
                           Please be patient.




Questions? Visit www.BCBSsettlement.com or call (888) 681-1142   Page 10 of 10
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                    EXHIBIT E
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To: [Class Member Email Address]
From: Blue Cross Blue Shield Claims Administrator (Notice@BCBSsettlement.com)
Subject: Blue Cross Blue Shield Settlement Notice

Dear [Class Member Name]:




      If you purchased or were enrolled in
       a Blue Cross or Blue Shield health
   insurance or administrative services plan
     between 2008 and 2020, a $2.67 billion
        Settlement may affect your rights.

          YOUR UNIQUE ID:

                 PLEASE SAVE THIS NUMBER TO FILE A CLAIM


      Para una notificación en español, visite www.BCBSsettlement.com/espanol

You are not being sued. A federal court authorized this notice to you. It affects your
rights. Please read it carefully.

On DATE, 2020, the Honorable R. David Proctor of the U.S. District Court for the Northern
District of Alabama granted preliminary approval of this class action Settlement. The
Court directed the parties to send this notice. Blue Cross and/or Blue Shield’s records
show that you may be a Settlement Class Member. You may be eligible to receive
a payment from the Settlement in the In re: Blue Cross Blue Shield Antitrust Litigation
MDL 2406, N.D. Ala. Master File No. 2:13-cv-20000-RDP.

Please visit www.BCBSsettlement.com for more information.




             To unsubscribe from this list, please click on the following link: Unsubscribe
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                               What is the lawsuit about?
Plaintiffs claim that the Blue Cross Blue Shield Association and Settling Individual Blue
Plans (collectively, “Settling Defendants”) violated antitrust laws by entering into an
agreement not to compete with each other and to limit competition among themselves in
selling health insurance and administrative services for health insurance. Settling
Defendants deny all claims. The Settling Defendants have asserted that their conduct
results in lower healthcare costs and greater access to care for their customers. The
Court has not decided who is right.

                                      Who Is affected?
You may be eligible to receive payment if you are an Individual, Insured Group (and
their employees) or Self-Funded Account (and their employees) that purchased or
were enrolled in a Blue Cross or Blue Shield health insurance or administrative services
plan during one of the two Settlement Class Periods. Government accounts are
excluded from the Class.
The Settlement Class Period for Individuals and Insured Groups is from February 7, 2008,
through October 16, 2020. The Settlement Class Period for Self-Funded Accounts is from
September 1, 2015 through October 16, 2020. Dependents, beneficiaries (including minors),
and non-employees are NOT eligible to receive payment.
All Individuals, Insured Groups, and Self-Funded Accounts that purchased or were
enrolled in a Blue Cross or Blue Shield health insurance or administrative services plan
during the applicable Class Period will also benefit from the parts of the Settlement
requiring Settling Defendants to change certain of their practices that were alleged to be
anticompetitive. Dependents, beneficiaries (including minors), and non-employees will
benefit from this part of the Settlement.
For more details about who is affected visit www.BCBSsettlement.com.

                     What can you get from the Settlement?
Class Members who submit valid claims may receive a cash payment from the Net
Settlement Fund. The Net Settlement Fund is estimated to be approximately $1.9 billion.
This is after deducting attorneys’ fees, administration expenses and other costs from the
$2.67 billion Settlement Fund. For more details on the Plan of Distribution, read the Long
Form Notice available at www.BCBSsettlement.com. You can also call (888) 681-1142.
Settling Defendants also agreed to make changes in the way they do business to
increase the opportunities for competition in the market for health insurance.




             To unsubscribe from this list, please click on the following link: Unsubscribe
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                             How do you get a payment?
You must submit a valid claim online at www.BCBSsettlement.com or postmarked by mail
no later than [Month Day, Year]. Claim Forms are available at www.BCBSsettlement.com
or may be requested by calling (888) 681-1142.


                                       FILE A CLAIM



                            What are your other options?
If you do not want to be legally bound by the Settlement, you may send a request for
exclusion (“opt out”). You will receive no money, but you will keep your right to sue
Settling Defendants for the claims in this case. If you do not exclude yourself, you may
object to the Settlement. You will still be bound by the Settlement if your objection is
rejected. For details on how to opt out or object, read the Long Form Notice available at
www.BCBSsettlement.com. You can also call (888) 681-1142.
Opt outs and objections must be postmarked by Month x, 202x. The Court will hold a
Fairness Hearing on [Month Day, Year] at [Time], to consider whether the Settlement
is fair, reasonable, and adequate. The Court will also decide whether to approve
attorneys’ fees and expenses up to $667.5 million and $101 million for additional costs
and service awards, which will be deducted from the $2.67 billion Settlement Fund. You
may ask to appear at the Fairness Hearing, on your own behalf or through counsel, but
you don’t have to do so.

             Please Do Not Contact The Court Regarding This Notice.

                                         Questions?


        Visit www.BCBSsettlement.com, or email info@BCBSsettlement.com,


        call (888) 681-1142, or

        write Blue Cross Blue Shield Settlement c/o JND Legal Administration,
        P.O. Box 91390, Seattle, WA 98111.




            To unsubscribe from this list, please click on the following link: Unsubscribe
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                    EXHIBIT F
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   A federal court authorized this Notice.     Blue Cross Blue Shield Settlement
   This is not a solicitation from a lawyer.   c/o JND Legal Administration
                                               P.O. BOX 91390
                                               Seattle, WA 98111




     If you purchased or were
    enrolled in a Blue Cross or                Class Member Name
         Blue Shield health                    Class Member Address
   insurance or administrative                 Class Member City/State/Zip
       services plan between
           2008 and 2020,
     a $2.67 billion Settlement
       may affect your rights.

       Para una notificación en español,
  visite www.BCBSsettlement.com/espanol

  Questions? Call (888) 681-1142 or
   Visit www.BCBSsettlement.com
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     YOUR                                                           What is this notice?
   UNIQUE ID:                          On DATE, 2020, the Honorable R. David Proctor of the U.S. District Court
                                       for the Northern District of Alabama granted preliminary approval of this class
    PLEASE SAVE THIS NUMBER
                                       action Settlement. The Court directed the parties to send this notice. Blue
        TO FILE A CLAIM
                                       Cross and/or Blue Shield’s records show that you may be a Settlement Class
  Member. You may be eligible to receive a payment from the Settlement in the In re: Blue Cross Blue Shield
  Member
  Antitrust Litigation MDL 2406, N.D. Ala. Master File No. 2:13-cv-20000-RDP.
                                             What is the lawsuit about?
  Plaintiffs claim that the Blue Cross Blue Shield Association and Settling Individual Blue Plans (collectively,
  “Settling Defendants”) violated antitrust laws by entering into an agreement not to compete with each other and
  to limit competition among themselves in selling health insurance and administrative services for health insurance.
  Settling Defendants deny all claims. The Settling Defendants have asserted that their conduct results in lower
  healthcare costs and greater access to care for their customers. The Court has not decided who is right.
                                                  Who is affected?
  You may be eligible to receive payment if you are an Individual, Insured Group (and their employees) or
  Self-Funded Account (and their employees) that purchased or were enrolled in a Blue Cross or Blue Shield
  health insurance or administrative services plan during one of the two Settlement Class Periods. Government
  accounts are excluded from the Class.
  The Settlement Class Period for Individuals and Insured Groups is from February 7, 2008, through October 16, 2020.
  The Settlement Class Period for Self-Funded Accounts is from September 1, 2015 through October 16, 2020.
  Dependents, beneficiaries (including minors), and non-employees are NOT eligible to receive payment.
  All Individuals, Insured Groups, and Self-Funded Accounts that purchased or were enrolled in a Blue Cross
  or Blue Shield health insurance or administrative services plan during the applicable Class Period will also benefit
  from the parts of the Settlement requiring Settling Defendants to change certain of their practices that were alleged
  to be anticompetitive. Dependents, beneficiaries (including minors), and non-employees will benefit from this part
  of the Settlement.
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                                        What can you get from the Settlement?
  Class Members who submit valid claims may receive a cash payment from the Net Settlement Fund. The Net Settlement
  Fund is estimated to be approximately $1.9 billion. This is after deducting attorneys’ fees, administration expenses and
  other costs from the $2.67 billion Settlement Fund. For more details on the Plan of Distribution, read the Long Form Notice
  available at www.BCBSsettlement.com. You can also call (888) 681-1142. Settling Defendants also agreed to make
  changes in the way they do business to increase the opportunities for competition in the market for health insurance.

                                               How do you get a payment?
  You must submit a valid claim online at www.BCBSsettlement.com or postmarked by mail no later than [Month Day, Year].
  Claim Forms are available at www.BCBSsettlement.com or may be requested by calling (888) 681-1142.

                                              What are your other options?
  If you do not want to be legally bound by the Settlement, you may send a request for exclusion (“opt out”). You will not
  receive any money, but you will keep your right to sue Settling Defendants for the claims in this case. If you do not
  exclude yourself, you may object to the Settlement. You will still be bound by the Settlement if your objection is rejected.
  For details on how to opt out or object, read the Long Form Notice available at www.BCBSsettlement.com.
  Opt outs and objections must be postmarked by Month x, 202x. The Court will hold a Fairness Hearing to consider
  whether the Settlement is fair, reasonable, and adequate. The Fairness Hearing is on [Month Day, Year] at [Time]. The
  Court will also decide whether to approve attorneys’ fees and expenses up to $667.5 million and $101 million for
  additional costs and service awards. These amounts will be deducted from the $2.67 billion Settlement Fund. You may
  ask to attend the Fairness Hearing, on your own or through counsel, but you do not have to do so.
                 Please Do Not Contact The Court Regarding This Notice.

  QUESTIONS? Visit www.BCBSsettlement.com, email info@BCBSsettlement.com,
  call (888) 681-1142, or write Blue Cross Blue Shield Settlement c/o JND Legal
  Administration, P.O. Box 91390, Seattle, WA 98111.
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  Carefully separate this Address Change Form at the perforation
  Name: _________________________________________
                                                                                  Place
  Current Address: __________________________________                             Stamp
   ______________________________________________                                  Here
   ______________________________________________
  Address Change Form
  To make sure your information remains up-to-date in our records,
  please confirm your address by filling in the above information
  and depositing this postcard in the U.S. Mail.




                                        JND Legal Administration
                                        Attn: Blue Cross Blue Shield Settlement
                                        P.O. BOX 91390
                                        Seattle, WA 98111
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                    EXHIBIT G
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Facebook Ad Example
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Banner Ad Examples
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                    EXHIBIT H
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                                                             LEGAL NOTICE


                                       If you purchased or were enrolled in a Blue Cross
                                       or Blue Shield health insurance or administrative
                                       services plan between 2008 and 2020, a
                                       $2.67 billion Settlement may affect your rights.
                    Para una notiﬁcación en español, visite www.BCBSsettlement.com/espanol
On [DATE], 2020, the Honorable R. David Proctor of the U.S. District Court for the Northern District of Alabama granted
preliminary approval of the Settlement in the In re: Blue Cross Blue Shield Antitrust Litigation MDL 2406, N.D. Ala. Master
File No. 2:13-cv-20000-RDP.
                                   Please visit www.BCBSsettlement.com for more information.

              What is the lawsuit about?                                             How do you get a payment?
Plaintiffs claim that the Blue Cross Blue Shield Association and       You must submit a valid claim online at www.BCBSsettlement.com
Settling Individual Blue Plans (collectively, “Settling Defendants”)   or postmarked by mail no later than [Month Day, Year]. Claim Forms
violated antitrust laws by entering into an agreement not to compete   are available at www.BCBSsettlement.com or may be requested by
with each other and to limit competition among themselves in           calling (888) 681 1142.
selling health insurance and administrative services for health
insurance. Settling Defendants deny all claims. The Settling                        What are your other options?
Defendants have asserted that their conduct results in lower
healthcare costs and greater access to care for their customers.       If you do not want to be legally bound by the Settlement, you may
The Court has not decided who is right.                                send a request for exclusion (“opt out”). You will not receive any
                                                                       money, but you will keep your right to sue Settling Defendants for
                     Who is affected?                                  the claims in this case. If you do not exclude yourself, you may object
                                                                       to the Settlement. You will still be bound by the Settlement if your
You may be eligible to receive payment if you are an Individual,       objection is rejected. For details on how to opt out or object, read the
Insured Group (and their employees) or Self Funded Account             Long Form Notice available at www.BCBSsettlement.com.
(and their employees) that purchased or were enrolled in a Blue
Cross or Blue Shield health insurance or administrative services       Opt outs and objections must be postmarked by Month x, 202x.
plan during one of the two Settlement Class Periods. Government        The Court will hold a Fairness Hearing to consider whether the
accounts are excluded from the Class.                                  Settlement is fair, reasonable, and adequate. The Fairness
                                                                       Hearing is on [Month Day, Year] at [Time]. The Court will also
The Settlement Class Period for Individuals and Insured Groups is      decide whether to approve attorneys’ fees and expenses up to
from February 7, 2008, through October 16, 2020. The Settlement        $667.5 million and $101 million for additional costs and service
Class Period for Self-Funded Accounts is from September 1, 2015        awards. These amounts will be deducted from the $2.67 billion
through October 16, 2020. Dependents, beneﬁciaries (including          Settlement Fund. You may ask to attend the Fairness Hearing, on
minors), and non-employees are NOT eligible to receive payment.        your own or through counsel, but you do not have to do so.
All Individuals, Insured Groups, and Self-Funded Accounts that             Please Do Not Contact The Court Regarding This Notice.
purchased or were enrolled in a Blue Cross or Blue Shield health
insurance or administrative services plan during the applicable                                   Questions?
Class Period will also beneﬁt from the parts of the Settlement
requiring Settling Defendants to change certain of their
                                                                                  Visit www.BCBSsettlement.com,
practices that were alleged to be anticompetitive. Dependents,
beneﬁciaries (including minors), and non-employees will beneﬁt                    email info@BCBSsettlement.com,
from this part of the Settlement.
                                                                                  call (888) 681-1142, or
For more details about who is affected visit www.BCBSsettlement.com.
                                                                                  write Blue Cross Blue Shield Settlement
     What can you get from the Settlement?                                        c/o JND Legal Administration,
                                                                                  P.O. Box 91390, Seattle, WA 98111.
Class Members who submit valid claims may receive a cash
payment from the Net Settlement Fund. The Net Settlement
Fund is estimated to be approximately $1.9 billion. This is after
deducting attorneys’ fees, administration expenses and other
costs from the $2.67 billion Settlement Fund. For more details
on the Plan of Distribution, read the Long Form Notice available
                                                                                                  www.BCBSsettlement.com
at www.BCBSsettlement.com. You can also call (888) 681-1142.
Settling Defendants also agreed to make changes in the way they                                   (888) 681-1142
do business to increase the opportunities for competition in the
market for health insurance.
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LinkedIn Examples
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Entity Banner Examples
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Search Ad Examples
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                    EXHIBIT K
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If you purchased or were enrolled in a Blue Cross or Blue Shield
    health insurance or administrative services plan between
 2008 and 2020, a $2.67 billion Settlement may affect your rights
                   Para una notificación en español, visite www.BCBSsettlement.com/espanol
Seattle / DATE /
On DATE, 2020, the Honorable R. David Proctor of the U.S. District Court for the Northern District of
Alabama granted preliminary approval of the class action Settlement in the In re: Blue Cross Blue Shield
Antitrust Litigation MDL 2406, N.D. Ala. Master File No. 2:13-cv-20000-RDP.

                                     What is the lawsuit about?
Plaintiffs claim that the Blue Cross Blue Shield Association and Settling Individual Blue Plans (collectively,
“Settling Defendants”) violated antitrust laws by illegally entering into an agreement not to compete with
each other and to restrict competition among themselves in selling health insurance and administrative
services for health insurance. Settling Defendants deny all claims and have asserted that their conduct
results in lower health care costs and greater access to care for its customers. The Court has not decided
who is right.

                                           Who Is affected?
You may be eligible to receive payment if you are an Individual, Insured Group (and their employees)
or Self-Funded Account (and their employees) that purchased or were enrolled in a Blue Cross or Blue
Shield health insurance or administrative services plan during one of the two Settlement Class Periods.
Government accounts are excluded from the Class.
The Settlement Class Period for Individuals and Insured Groups is from February 7, 2008 through
October 16, 2020. The Settlement Class Period for Self-Funded Accounts is from September 1, 2015
through October 16, 2020. Dependents, beneficiaries (including minors), and non-employees
are NOT eligible to receive payment.
All Individuals, Insured Groups, and Self-Funded Accounts that purchased or were enrolled in a Blue
Cross or Blue Shield health insurance or administrative services plan from February 7, 2008
through October 16, 2020 will also benefit from the provisions of the Settlement requiring Settling
Defendants to change certain of their practices that were alleged to be anticompetitive. Dependents,
beneficiaries (including minors), and non-employees will benefit from this part of the Settlement.
For more details about who is affected visit www.BCBSsettlement.com.
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                            What can you get from the Settlement?
Class Members who submit valid claims may receive cash benefits from the Net Settlement Fund. That
Fund is estimated to be approximately $1.9 billion, after deducting attorneys’ fees, administration expenses
and other costs from the $2.67 billion Settlement Fund. For more details on the Plan of Distribution, read
the Long Form Notice available at www.BCBSsettlement.com. You can also call (888) 681-1142. Settling
Defendants also agreed to changes in the way they do business to increase the opportunities for
competition in the market for health insurance.

                                      How do you get a payment?
You must submit a valid claim online at www.BCBSsettlement.com or postmarked by mail no later than
[Month Day, Year]. Claim Forms are available at www.BCBSsettlement.com or may be requested by
calling (888) 681-1142.

                                            FILE A CLAIM


                                   What are your other options?
If you do not want to be legally bound by the Settlement, you may send a request for exclusion (“opt out”).
You will receive no money, but you will keep your right to sue Settling Defendants for the claims in this
case. If you do not exclude yourself, you may object to the Settlement. You will still be bound by the
Settlement if your objection is rejected. For details on how to opt out or object, read the Long Form Notice
available at www.BCBSsettlement.com. You can also call (888) 681-1142.

Opt outs and objections must be postmarked by Month x, 202x. The Court will hold a Fairness Hearing
on [Month Day, Year] at [Time] to consider whether the Settlement is fair, reasonable, and adequate. The
Court will also decide whether to approve attorneys’ fees and expenses up to $667.5 million and
$101 million for additional costs and service awards, which will be deducted from the $2.67 billion
Settlement Fund. You may ask to appear at the Fairness Hearing, on your own behalf or through counsel,
but you don’t have to do so.

                     Please Do Not Contact The Court Regarding This Notice.

                                              Questions?

            Visit www.BCBSsettlement.com,
            or email info@BCBSsettlement.com,

            call (888) 681-1142, or

            write Blue Cross Blue Shield Settlement
            c/o JND Legal Administration, P.O. Box 91390,
            Seattle, WA 98111.
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      TV SPOT                                     RADIO SPOT
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 Reminder Banner Ad Examples
Web Banners
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 Reminder Banner Ad Examples
Facebook Ads
